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                                                             WELLS FARGO BANK, N.A.,
                                                           6 successor by merger with Wells Fargo
                                                             Bank Southwest, N.A., f/k/a Wachovia
                                                           7 Mortgage, FSB, f/k/a World Savings
                                                             Bank, FSB (“Wells Fargo”) (erroneously
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                                                           8 sued as Wells Fargo, N.A.)
                                                           9                                   UNITED STATES DISTRICT COURT
                                                          10                                 CENTRAL DISTRICT OF CALIFORNIA
                                                          11
                                                          12 KWADWO HWENSO ASARE-ANTWI,                                 CASE NO.: 8:19-cv-00887-JVS-KES
                                                                                                                        [Related to 5:19-cv-00928-JVS-KES]
                                                          13                      Plaintiff,
                                                                                                                        Assigned to Hon. James V. Selna
                                                          14             v.
                                                                                                                        DEFENDANT WELLS FARGO’S
                                                          15 WELLS FARGO, N.A.; QUALITY                                 NOTICE OF MOTION AND
                                                             LOAN SERVICE CORPORATION;                                  MOTION TO DISMISS FIRST
                                                          16 CLEAR RECON CORP; DOES 1                                   AMENDED COMPLAINT;
                                                             through 5 inclusive,                                       MEMORANDUM OF POINTS
                                                          17                                                            AND AUTHORITIES
                                                                          Defendants.
                                                          18                                                            Date: July 15, 2019
                                                                                                                        Time: 1:30 p.m.
                                                          19                                                            Dept.: 10C
                                                          20             TO PLAINTIFF AND HIS COUNSEL OF RECORD:
                                                          21             PLEASE TAKE NOTICE that on July 15, 2019 at 1:30 p.m. in Courtroom
                                                          22 10C of the above-referenced court located at 411 West Fourth Street, Santa Ana,
                                                          23 CA 92701-4516, the Honorable James V. Selna presiding, defendant Wells Fargo
                                                          24 Bank, N.A., successor by merger with Wells Fargo Bank, Southwest, N.A. f/k/a
                                                          25 Wachovia Mortgage, FSB f/k/a/ World Savings Bank, FSB, (erroneously sued as
                                                          26 Wells Fargo, N.A.) (“Wells Fargo”) will move to dismiss each claim for relief in
                                                          27 the first amended complaint.
                                                          28
                                                                                                                                           8:19-CV-00887-JVS-KES
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                                                           1             The grounds for this motion to dismiss under Fed. R. Civ. P. 8 and 12(b)(6)
                                                           2 are listed below (and more fully explained in the memorandum of points and
                                                           3 authorities):
                                                           4             First Claim: Declaratory and Injunctive Relief
                                                           5             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                           6 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) the claim is barred
                                                           7 by the applicable statute of limitations; (3) California courts do not authorize
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                                                           8 preemptive judicial actions to challenge the authority of a beneficiary to initiate
                                                           9 and pursue foreclosure; (4) Wells Fargo acquired the beneficial interest in
                                                          10 plaintiff’s loans through a name change and merger; (5) to the extent the claim
                                                          11 challenges the terms of a Pick-A-Payment loan, plaintiff has released the claim;
                                                          12 (6) to the extent the claim challenges the terms of a Pick-A-Payment loan, res
                                                          13 judicata bars the claim; (7) the request for injunctive relief cannot stand because
                                                          14 plaintiff has not alleged a tender of the indebtedness.
                                                          15             Second Claim: Intentional Misrepresentation
                                                          16             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                          17 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) the claim is barred
                                                          18 by the applicable statute of limitations; (3) to the extent the claim challenges the
                                                          19 terms of a Pick-A-Payment loan, plaintiff has released the claim; (4) to the extent
                                                          20 the claim challenges the terms of a Pick-A-Payment loan, res judicata bars the
                                                          21 claim; and (5) plaintiff has not pled a duty to disclose.
                                                          22             Third Claim: Cancellation of Instruments
                                                          23             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                          24 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) California courts
                                                          25 do not authorize preemptive judicial actions to challenge the authority of a
                                                          26 beneficiary to initiate and pursue foreclosure; (3) Wells Fargo acquired the
                                                          27 beneficial interest in plaintiff’s loans through a name change and merger;
                                                          28 (4) plaintiff has not stated a claim under Civil Code § 3412 because he has not pled
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                                                           1 noncompliance with Civil Code § 2924f; and (5) plaintiff has not stated a claim
                                                           2 under Civil Code § 3412 because he cannot plead reasonable apprehension of
                                                           3 injury.
                                                           4             Fourth Claim: Violation of Civil Code §2924
                                                           5             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                           6 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) California courts
                                                           7 do not authorize preemptive judicial actions to challenge the authority of a
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                                                           8 beneficiary to initiate and pursue foreclosure; (3) Wells Fargo acquired the
                                                           9 beneficial interest in plaintiff’s loans through a name change and merger; and
                                                          10 (4) plaintiff has not alleged facts establishing the violation of the statute nor
                                                          11 resulting injury.
                                                          12             Fifth Claim: Slander of Title
                                                          13             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                          14 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) California courts
                                                          15 do not authorize preemptive judicial actions to challenge the authority of a
                                                          16 beneficiary to initiate and pursue foreclosure; (3) Wells Fargo acquired the
                                                          17 beneficial interest in plaintiff’s loans through a name change and merger;
                                                          18 (4) plaintiff has not stated a claim under Civil Code § 3412 because he has not pled
                                                          19 noncompliance with Civil Code § 2924f; and (5) plaintiff has not pled a false
                                                          20 statement that was made without privilege or justification, nor pecuniary loss, nor
                                                          21 malice.
                                                          22             Sixth Claim: Breach of Contract/Estoppel
                                                          23             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                          24 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) plaintiff has not
                                                          25 pled an actionable contractual duty, breach, causation, or damages; (3) to the extent
                                                          26 the claim is premised on the failure to disclose loan terms, it is barred by the
                                                          27 applicable statute of limitations.
                                                          28             Seventh Claim: Violation of Business and Professions Code §17200 et seq.
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                                                           1             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                           2 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) plaintiff has failed
                                                           3 to plead facts to establish an unfair business practice; (3) to the extent the claim is
                                                           4 based on failure to disclose loan terms, it is barred by the statute of limitations; and
                                                           5 (4) plaintiff has not pled an injury in fact to establish his standing to assert a claim
                                                           6 under the UCL.
                                                           7             Eighth Claim: Violation of Homeowners Bill Of Rights
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                                                           8             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                           9 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) Wells Fargo
                                                          10 corrected and remedied any violation premised on failure to communicate with
                                                          11 plaintiff regarding foreclosure avoidance alternatives; (3) plaintiff has not alleged a
                                                          12 violation based on information concerning a denial decision; (4) plaintiff has not
                                                          13 alleged a violation of Civil Code § 2923.6(g); (5) plaintiff has not alleged material
                                                          14 violations.
                                                          15             Ninth Claim: Breach Of Implied Covenant of Good Faith And Fair Dealing.
                                                          16             Plaintiff fails to state a claim for relief because: (1) the claim is preempted
                                                          17 by the Home Owners Loan Act (HOLA), 12 C.F.R. § 560.2; (2) plaintiff has not
                                                          18 tethered the alleged breaches to any term of the contracts; and (3) plaintiff has not
                                                          19 alleged causation or damages.
                                                          20             The motion is based on this notice, the memorandum of points and
                                                          21 authorities, the complaint, the request for judicial notice, and on Wells Fargo’s
                                                          22 argument at the hearing on the motion.
                                                          23 / / /
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                                                           1             This motion is made in compliance with Local Rule 7-3 after a telephonic
                                                           2 conference of counsel that occurred on June 4, 2019.
                                                           3
                                                           4
                                                           5 Dated: June 13, 2019                          Respectfully submitted,
                                                                                                           ANGLIN, FLEWELLING, RASMUSSEN,
                                                           6
                                                                                                              CAMPBELL & TRYTTEN LLP
                                                           7
                                                                                                           By:                /s/ Leigh O. Curran
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                                                           8
                                                                                                                    Attorneys for Defendant WELLS FARGO
                                                           9                                                        BANK, N.A., successor by merger with Wells
                                                                                                                    Fargo Bank Southwest, N.A., f/k/a Wachovia
                                                          10
                                                                                                                    Mortgage, FSB, f/k/a World Savings Bank,
                                                          11                                                        FSB) (erroneously sued as Wells Fargo, N.A.)
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                                                            1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                            2 1.          INTRODUCTION.
                                                            3             Plaintiff is a sophisticated real estate investor who owns a portfolio of
                                                            4 income properties. In late 2007, plaintiff purchased two properties using “Pick-A-
                                                            5 Payment” loans from World Savings Bank, FSB (“World”) and Wachovia
                                                            6 Mortgage, FSB (“Wachovia”). Wells Fargo succeeded to World’s and Wachovia’s
                                                            7 interests in the loans. In early 2018, plaintiff ceased making payments.
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                                                            8             Plaintiff now seeks to stop foreclosure, relying on theories that have been
                                                            9 discredited by many courts. He contends Wells Fargo obtained no interest in his
                                                           10 loans. He contends that, despite making payments for a decade, the loans were
                                                           11 fraudulently marketed to him. Even though he lives in England, he claims that one
                                                           12 of the one of the properties is his “primary US residence,” and Wells Fargo
                                                           13 violated the California Homeowners Bill of Rights (HBOR).
                                                           14        Well-settled case law establishes that Wells Fargo obtained the beneficial
                                                           15 interest in loans originated by World and Wachovia. Similarly well-settled case
                                                           16 law holds that plaintiff’s claims are preempted by the Home Owner’s Loan Act
                                                           17 (HOLA) because, as applied, the claims would impose state law requirements on
                                                           18 the mortgage loan operations of federal savings banks. The claims challenging the
                                                           19 Pick-A-Payment terms of the loans are long since time-barred, and further, are
                                                           20 barred by the settlement of a class action. Plaintiff has not pled any viable claims,
                                                           21 and his first amended complaint should be dismissed with prejudice.
                                                           22 2.    SUMMARY OF FIRST AMENDED COMPLAINT AND
                                                           23       JUDICIALLY NOTICEABLE FACTS.
                                                           24 A.          The 5871 Loan.
                                                           25             On November 20, 2007, World made a loan to plaintiff in the original
                                                           26 principal amount of $308,000 (“5871 Loan”). FAC, ¶ 22 ; Ex. 2. The loan was
                                                           27 memorialized in promissory note (“5871 Note”) secured by a deed of trust
                                                           28 recorded against property located at 12668 Chapman Avenue, Unit 2305, Garden

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                                                            1 Grove, California (“Unit 2305”). RJN, Ex. A (deed of trust).
                                                            2             The 5871 Loan was a Pick-A-Payment (“PAP”) loan—a type of mortgage
                                                            3 loan that borrowers could customize to meet their needs. Borrowers could
                                                            4 customize a loan by selecting the amount of the initial monthly payment from a
                                                            5 range of options. This amount could be [i] the amount of principal and interest
                                                            6 (i.e., the amount needed to pay off the loan in 30 years); [ii] a lower, interest-only
                                                            7 payment (i.e., the amount needed to pay all accrued interest during the payment
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                                                            8 period); or [iii] or an even lower minimum payment. For example, the minimum
                                                            9 payment might be attractive to a borrower who planned to “flip” an investment
                                                           10 property and desired to invest as little cash as possible before selling.
                                                           11             PAP borrowers agreed that, if they made a monthly payment in an amount
                                                           12 that was less than an interest-only payment, the shortfall between their payment
                                                           13 and an interest-only payment (called “deferred interest”) would be added to the
                                                           14 principal balance of their loan up to a maximum of 125% of the amount they
                                                           15 borrowed. This is known as “negative amortization.” Borrowers were not
                                                           16 required to select an initial payment amount that resulted in deferred interest, and
                                                           17 even if they did, they were still free to make payment in a higher amount to prevent
                                                           18 deferred interest from accumulating.
                                                           19             These terms appeared in the 5871 Note. The opening paragraph warned him
                                                           20 that the loan provided a “PRINCIPAL BALANCE INCREASE.” FAC, Ex. 2 at 1.
                                                           21             Plaintiff agreed to an annual interest rate of 8.250%. Id. at 2, § 2. As for his
                                                           22 monthly payment amount, plaintiff agreed:
                                                           23             Each of my initial monthly payments will be in the amount of US
                                                                          $1,357.40. My initial monthly payment amount was selected by me from
                                                           24
                                                                          a range of initial payment amounts approved by Lender and may not be
                                                           25             sufficient to pay the entire amount of interest accruing on the unpaid
                                                                          Principal balance.”
                                                           26
                                                           27 Id., § 3(B) (emphasis added).
                                                           28        In § 3(C), plaintiff acknowledged that “deferred interest” would cause his

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                                                            1 monthly payment to change. Id. “Deferred Interest” was explained in § 3(E):
                                                            2             From time to time, my monthly payments may be insufficient to pay the
                                                                          total amount of monthly interest that is due. If this occurs, the amount
                                                            3
                                                                          of interest that is not paid each month, called “Deferred Interest,” will
                                                            4             be added to my Principal and will accrue interest at the same rate as the
                                                                          Principal.
                                                            5
                                                            6             In § 3(D), plaintiff agreed that his monthly payment could be changed to “an
                                                            7 amount sufficient to pay the unpaid principal balance together with interest,
                                                            8 including any deferred interest described in Section (E) . . . .” Id. at 2. In § 3(F),
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                                                            9 plaintiff acknowledged that deferred interest could cause his principal balance to
                                                           10 rise to 125% of the amount he originally borrowed. Id. at 3.
                                                           11             The deed of trust also warned him that the loan contained “CONTAINS
                                                           12 PROVISIONS ALLOWING FOR CHANGES IN MY . . . PRINCIPAL
                                                           13 BALANCE (INCLUDING . . . DEFERRED INTEREST),” and that the
                                                           14 “MAXIMUM AGGREGATE PRINCIPAL BALANCE SECURED BY THIS
                                                           15 DEED OF TRUST IS $385,000,00 WHICH IS 125% OF THE ORIGINAL
                                                           16 PRINCIPAL NOTE AMOUNT.” RJN, Ex. A.
                                                           17 B.  The 4849 Loan.
                                                           18             On December 21, 2007, plaintiff entered into another PAP loan (“4849
                                                           19 Loan”), this time with Wachovia. The original principal amount was $282,750.
                                                           20 FAC, Ex. 4. The loan was memorialized in promissory note (“4849 Note”)
                                                           21 secured by a deed of trust recorded against the property located at 12668 Chapman
                                                           22 Avenue, Unit 2405, Garden Grove (“Unit 2405”). RJN, Ex. B (deed of trust).
                                                           23             The terms in the 4849 Note governing the initial monthly payment amount,
                                                           24 deferred interest, and principal balance cap of 125% were the same as the 5871
                                                           25 Note. See FAC, Ex. 4 at 1 (opening paragraph); id., § 3(B) (initial monthly
                                                           26 payment selected by plaintiff); id. at 3, § 3(E) (Deferred Interest will be added to
                                                           27 principal and accrue interest at the same rate); id., § 3(F) (Deferred Interest could
                                                           28 cause principal balance to rise to 125% of amount borrowed).

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                                                            1 C.          World Was Renamed Wachovia Mortgage, FSB, Which Became Wells
                                                                          Fargo Through A Merger.
                                                            2
                                                            3             World was a federal savings bank. RJN, Ex. C (Certificate of Corporate
                                                            4 Existence issued by the Office of Thrift Supervision, Department of the Treasury
                                                            5 (“OTS”) dated 4/21/06). World was renamed Wachovia Mortgage, FSB on
                                                            6 December 31, 2007. The OTS confirmed this name change in a letter dated
                                                            7 November 19, 2007. RJN, Ex. D. Effective November 1, 2009, Wachovia was
                                                            8 converted to a national bank with the name Wells Fargo Bank Southwest, N.A.,
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                                                            9 and that entity merged with and into Wells Fargo Bank, N.A. RJN, Ex. E (Official
                                                           10 Certification of the Comptroller of the Currency).
                                                           11 D.     Plaintiff Defaults On Both Loans.
                                                           12             5871 Loan. Plaintiff failed to make payments, beginning with the payment
                                                           13 that came due on April 1, 2018. FAC, Ex. 3 (“Due Date”). On August 17, 2018, a
                                                           14 notice of default was recorded. RJN, Ex. F. A substitution of trustee was recorded
                                                           15 on August 17, 2018, substituting Clear Recon Corporation as trustee. RJN, Ex. G.
                                                           16 A notice of trustee’s sale was recorded on December 21, 2018. RJN, Ex. H.
                                                           17             4849 Loan. Plaintiff failed to make payments beginning with the payment
                                                           18 due on March 15, 2018. FAC, Ex. 5 (“Due Date”). On August 1, 2018, a notice of
                                                           19 default was recorded. RJN, Ex. I. A substitution of trustee was recorded on July
                                                           20 25, 2018, substituting Quality Loan Service Corporation as trustee. RJN, Ex. J. A
                                                           21 notice of trustee’s sale was recorded on December 12, 2018. RJN, Ex. K.
                                                           22 3.          THE FIRST CLAIM (DECLARATORY AND INJUNCTIVE RELIEF)
                                                                          SHOULD BE DISMISSED.
                                                           23
                                                           24             Plaintiff alleges that Wells Fargo acquired no beneficial interest in the deeds
                                                                                                                                       1
                                                           25 of trust and had no authority to foreclose or to substitute the trustees. He seeks a
                                                           26    1
                                                                     This theory is carried forward into his claims for cancellation of instruments,
                                                           27 violation of Civil Code § 2924, slander of title, and violation of the Unfair
                                                           28 Competition Law, Bus. & Prof. Code § 17200, et seq. (“UCL”). FAC, ¶¶ 86-93;
                                                              109-110; 117, 125-127; 149-150.
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                                                            1 declaration as to the “true parties” of the notes and deeds of trust. FAC, ¶¶ 86-93;
                                                            2 97(a). He contends that the deferred interest terms of the loans were not disclosed
                                                            3 to him, and he wants the Court to rewrite the loan terms and reduce the amounts he
                                                            4 owes. Id., ¶ 97(b).
                                                            5 A.          Wells Fargo Acquired The Beneficial Interest In The Loans Originated
                                                                          By World And Wachovia.
                                                            6
                                                            7             California courts do not authorize preemptive judicial actions to challenge
                                                            8 the authority of a beneficiary to initiate and pursue foreclosure. Robinson v.
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                                                            9 Countrywide Home Loans, Inc., 199 Cal. App. 4th 42, 45 (2011) (demurrer
                                                           10 sustained to claim alleging “the entity which initiated foreclosure proceedings had
                                                           11 no legal authority to do so”).
                                                           12             Even if such a claim were allowed, many courts, including this Court, have
                                                           13 found that Wells Fargo acquired the beneficial interest in deeds of trust securing
                                                           14 loans originated by World and Wachovia. RJN, Exs. C-E. See Carbajal v. Wells
                                                           15 Fargo Bank, N.A., 697 F. App’x 555, 556 (9th Cir. 2017) (“the district court
                                                           16 properly relied on judicially noticed documents to find Wells Fargo obtained
                                                           17 beneficial interest of the loan as a successor of World Savings Bank.”); see also,
                                                           18 Simmonds v. Wells Fargo Bank, N.A., 2019 U.S. Dist. LEXIS 40619, *1 (C.D. Cal.
                                                           19 Jan. 22, 2019) (Selna, J.) (“Wells Fargo is successor by merger with” World);
                                                           20 Neufeld v. Wells Fargo Home Mortg., Inc., 2011 U.S. Dist. LEXIS 63238, *1, n.1
                                                           21 (C.D. Cal. June 13, 2011) (Selna, J.) (Wells Fargo “is a successor by merger of
                                                           22 Wachovia”). Thus, plaintiff cannot challenge Wells Fargo’s status as the
                                                           23 beneficiary of his deeds of trust.
                                                           24 B.    Plaintiff Cannot State A Claim Challenging The Pick-A-Payment
                                                                    Feature Or The Deferred Interest Provisions Of His Loans.
                                                           25
                                                                    i.     A Claim Based On The Terms Of The Notes Is Time-Barred.
                                                           26
                                                           27       The three-year limitations period for a fraud claim (Civ. Code § 338(d))
                                                           28 commences to run “when the aggrieved party could have discovered the

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                                                            1 fraud . . . . through the exercise of reasonable diligence.” Sun’n Sand, Inc. v.
                                                            2 United Calif. Bk., 21 Cal. 3d 671, 701 (1978). “A plaintiff discovers the cause of
                                                            3 action when he at least suspects a factual basis, as opposed to a legal theory, for its
                                                            4 elements, even if he lacks knowledge thereof--when, simply put, he at least
                                                            5 ‘suspects . . . that someone has done something wrong’ to him, ‘wrong’ being used,
                                                            6 not in any technical sense, but rather in accordance with its ‘lay understanding.’”
                                                            7 Norgart v. Upjohn Co., 21 Cal. 4th 383, 397 (1999). (citation omitted).
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                                                            8             Plaintiff signed the notes in 2007. Reasonable people are presumed to read
                                                            9 the documents they sign. Constantian v. Mercedes-Benz Co., 5 Cal. 2d 631, 634
                                                           10 (1936). The first paragraph of each note warned plaintiff of a “PRINCIPAL
                                                           11 BALANCE INCREASE.” FAC, Ex. 2 at 1. He acknowledged that he selected the
                                                           12 initial monthly payment, and his selection “m[ight] not be sufficient to pay the
                                                           13 entire amount of interest accruing on the unpaid Principal balance.” Id., § 3(B).
                                                           14 He acknowledged what would happen if his monthly payments were insufficient to
                                                           15 pay the total amount of monthly interest due: “the amount of interest that is not
                                                           16 paid each month, called ‘Deferred Interest,’ will be added to my Principal and will
                                                           17 accrue interest at the same rate as the Principal.” Id., § 3(E). He agreed that
                                                           18 deferred interest could cause the principal balance to rise to 125% of the amount he
                                                           19 originally borrowed. Id., § 3(F). Plaintiff had reason to suspect the bases of his
                                                           20 claim in 2007, and therefore, his claim was barred in 2010.
                                                           21             ii.      The Class Action Settlement Bars Plaintiff’s Claims Arising Out
                                                                                   Of The Pick-A-Payment Provisions.
                                                           22
                                                           23             Plaintiff’s claims challenging his PAP loans were resolved in the settlement
                                                           24 of a class action (“Class Action”). See In re Wachovia Corp. “Pick-A-Payment”
                                                           25 Mortg. Mktg. & Sales Prac. Litig., 2011 U.S. Dist. LEXIS 55351, *6 (N.D. Cal.
                                                           26 May 17, 2011) (final approval of settlement); RJN, Ex. L (Class Action Settlement
                                                           27 Agreement). The “Alleged Claims” in the Class Action generally challenged the
                                                           28 manner in which PAP loans were originated, including information regarding the

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                                                            1 interest rate, repayment, and the effect of negative amortization. RJN Ex. M
                                                            2 (Corrected Second Amended Class Action Complaint).
                                                            3             The Class Action Settlement classes comprised individuals who entered into
                                                            4 PAP loans “between August 1, 2003 and December 31, 2008.” In re Wachovia,
                                                            5 2011 U.S. Dist. LEXIS 55351 at *6. Under the settlement, Wells Fargo paid $50
                                                            6 million and implemented a loan modification program. Id. at *7-8. Plaintiffs
                                                            7 released the “Alleged Claims” and claims arising from: “the origination of the
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                                                            8 Settlement Class Member’s Pick-a-Payment mortgage loan, the manner in which
                                                            9 the Defendants applied the Settlement Class Member’s payments to principal and
                                                           10 interest, negative amortization, the Pick-a-Payment mortgage loan’s potential for
                                                           11 negative amortization, the disclosure of the Pick-a-Payment mortgage loan’s
                                                           12 potential for negative amortization, and the disclosure of the manner in which
                                                           13 payments would be applied to principal and interest.” RJN, Ex. L at 31-32.
                                                           14             Borrowers with PAP loans as of December 16, 2010 were given notice of
                                                           15 the settlement and were required to “exclude themselves from the
                                                           16 Settlement . . . [or] be bound by all determinations and judgments . . . including
                                                           17 the release provided for under the Settlement Agreement.” RJN Ex. N (prelim.
                                                           18 approval order at 7:5-9, ¶ 11). Mr. Asare-Antwi’s name does not appear on the list
                                                           19 of class members who excluded themselves from the settlement. RJN, Ex. O (class
                                                           20 counsel’s declaration attaching affidavit of settlement administrator and Exclusion
                                                           21 List [Ex. C]). The settlement became final following the dismissal of appeals in
                                                           22 September 2011. RJN, Exs. P, Q (judgment and dismissal).
                                                           23                      (a)       Plaintiff Is Bound By The Settlement’s Release.
                                                           24             A party who falls within a class action settlement and fails to opt out is
                                                           25 deemed to have participated in the settlement. Howard v. America Online, Inc.,
                                                           26 208 F.3d 741 (9th Cir. 2000). Thus, PAP borrowers who did not opt out of the
                                                           27 Class Action Settlement are bound by the release provision. See Shaterian v. Wells
                                                           28 Fargo Bk., 2011 U.S. Dist. LEXIS 62165 (N.D. Cal. June 10, 2011). Here,

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                                                            1 plaintiff was a settlement class member, and he did not opt out. His present claims
                                                            2 fall within the scope of the release in the Class Action Settlement.
                                                            3                      (b)       Res Judicata Bars Plaintiff’s Claims.
                                                            4             Res judicata bars subsequent litigation “whenever there is (1) an identity of
                                                            5 claims, (2) a final judgment on the merits, and (3) identity or privity between
                                                            6 parties.” Owens v. Kaiser Fdn. Health Plan, Inc., 244 F.3d 708, 713 (9th Cir.
                                                            7 2001) (internal quotations omitted). A “judgment in a properly entertained class
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                                                            8 action is binding on class members in any subsequent litigation.” Cooper v.
                                                            9 Federal Res. Bk., 467 U.S. 867, 874 (1984); 18 Moore’s Fed. Prac. § 131.40[3]
                                                           10 [e][iii] (Matthew Bender 3d ed.) (“All class members will be bound, under both
                                                           11 issue preclusion and claim preclusion, by a final judgment in a class action,
                                                           12 including a judgment following settlement, assuming the action met the necessary
                                                           13 procedural due process prerequisites.”).
                                                           14       Plaintiff, a class member, did not opt out of the Class Action Settlement, and
                                                           15 the Class Action was dismissed with prejudice. RJN, Exs. N-Q. His present
                                                           16 claims are identical to the claims at issue in the Class Action, as they challenge the
                                                           17 sufficiency of the disclosure of the deferred interest provisions. See FAC, ¶¶ 1, 78,
                                                           18 92, 97(b), 101, 134(a), 143-144. Res judicata bars plaintiff’s present claims.
                                                           19 C.          HOLA PREEMPTS THE ENTIRE FIRST CLAIM FOR RELIEF.
                                                           20
                                                                          i.       Legal Standards For Preemption Under HOLA.
                                                           21
                                                                          World and Wachovia were federal savings banks (“FSBs”) organized under
                                                           22
                                                                 HOLA, and the OTS was their primary regulator. In Silvas v. E*Trade Mortg.
                                                           23
                                                                 Corp., 514 F.3d 1001 (9th Cir. 2008), the Ninth Circuit addressed whether HOLA
                                                           24
                                                                 and OTS regulations preempt state laws governing the mortgage lending activities
                                                           25
                                                                 of FSBs. See Williams v. Wells Fargo Bk., NA, 2014 U.S. Dist. LEXIS 17215 *31
                                                           26
                                                                 (C.D. Cal. Jan. 27, 2014) (Selna, J.). Under HOLA, OTS has “broad authority to
                                                           27
                                                                 issue regulations governing thrifts.” Silvas, 514 F.3d at 1005. These regulations
                                                           28

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                                                            1 have the same preemptive effect as federal statutes. Id. OTS regulations occupy
                                                            2 the entire field of lending regulation for federal savings associations. Id. (citing 12
                                                            3 C.F.R. § 560.2(a)).
                                                            4             “Subsection (b) of § 560.2 provides a list of ‘illustrative examples of the
                                                            5 types of state laws that are preempted’ by HOLA.” 12 C.F.R. § 560.2(b).
                                                            6 Williams, 2014 U.S. Dist. LEXIS 17215 at *31. “In contrast, subsection (c) sets
                                                            7 forth a list of the types of state laws that are not preempted.” “The Silvas court
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                                                            8 approved of the following procedure in determining whether a state law is
                                                            9 preempted under § 560.2.” Id.
                                                           10             “When analyzing the status of state laws under § 560.2, the first step will be
                                                           11 to determine whether the type of law in question is listed in paragraph (b). If so,
                                                           12 the analysis will end there; the law is preempted.” Silvas, 514 F.3d at 1005 (citing
                                                           13 OTS, Final Rule, 61 Fed.Reg. 50951, 50966-67 (Sept. 30, 1996)). “If the law is
                                                           14 not covered by paragraph (b), the next question is whether the law affects lending.”
                                                           15 Id. “If it does, then, in accordance with paragraph (a), the presumption arises that
                                                           16 the law is preempted.” Id. “This presumption can be reversed only if the law can
                                                           17 clearly be shown to fit within the confines of paragraph (c).” Id. “For these
                                                           18 purposes, paragraph (c) is intended to be interpreted narrowly. Any doubt should
                                                           19 be resolved in favor of preemption.” Id.
                                                           20             Subdivision (b) of § 560.2 preempts state laws that would impose
                                                           21 requirements on FSBs with respect to:
                                                           22             “The terms of credit, including amortization of loans and the deferral and
                                                                          capitalization of interest and adjustments to the interest rate, balance,
                                                           23
                                                                          payments due . . . .” (12 C.F.R. § 560.2(b)(4))
                                                           24
                                                                          “Disclosure and advertising, including laws requiring specific statements,
                                                           25             information, or other content to be included in . . . credit contracts, or
                                                           26             other credit-related documents . . . .” (12 C.F.R. § 560.2(b)(9))
                                                           27             “Processing, origination, servicing, sale or purchase of, or investment or
                                                                          participation in, mortgages . . . .” (12 C.F.R. § 560.2(b)(10))
                                                           28

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                                                            1             In deciding whether a claim falls under § 560.2(b), courts focus on the
                                                            2 “functional effect upon lending operations of maintaining the cause of action,”
                                                            3 rather than the label a plaintiff attaches to the claim. Naulty v. GreenPoint Mortg.
                                                            4 Funding, Inc., 2009 U.S. Dist. LEXIS 79250, *12 (N.D. Cal. Sept. 3, 2009). The
                                                            5 issue is not whether the claim for relief usually or always falls within § 560.2(b),
                                                            6 but whether it does so as applied in the case at hand. See Curcio v. Wachovia
                                                            7 Mortg. Corp., 2009 U.S. Dist. LEXIS 96155, *15-16 (S.D. Cal. Oct. 14, 2009).
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                                                            8             Although Wells Fargo is a national association, it is entitled to assert HOLA
                                                            9 preemption to the same extent as its predecessor FSBs. Simmonds v. Wells Fargo
                                                           10 Bank, N.A., 2018 U.S. Dist. LEXIS 190933, *11-12 (C.D. Cal. Nov. 5, 2018)
                                                           11 (Selna, J.). “[T]he majority of cases have concluded that HOLA preemption
                                                           12 continues to apply to conduct related to loans originated by a federally-chartered
                                                           13 savings association even after those banks are merged into national banking
                                                           14 associations.” Vargas v. Wells Fargo Bank, N.A., 2015 U.S. Dist. LEXIS 113283,
                                                           15 *5 (C.D. Cal. Aug. 17, 2015) (Selna, J.).
                                                           16             ii.      HOLA Preempts The Claims Asserting Lack Of Standing To
                                                                                   Foreclose.
                                                           17
                                                           18             Numerous courts have held that HOLA preempted claims challenging Wells
                                                           19 Fargo’s ownership of loans originated by World, as such claims fell within
                                                           20 § 560.2(b)(10) and “deal with the ‘[p]rocessing, origination, servicing, sale or
                                                           21 purchase of, or investment or participation in, mortgages.’” Gualberto v. Wells
                                                           22 Fargo Bank, N.A., 2019 U.S. Dist. LEXIS 35244, *13-16 (N.D. Cal. Mar. 5, 2019)
                                                           23 (citing cases). Thus, HOLA preempts plaintiff’s claims alleging Wells Fargo was
                                                           24 not the beneficiary of his deeds of trust and lacked authority to foreclose.
                                                           25             iii.     HOLA Preempts The Claims Asserting The Loans Were
                                                                                   Deceptive Or Predatory.
                                                           26
                                                                          Plaintiff seeks to have the loans rewritten to avoid the deferred interest
                                                           27
                                                                 provisions. FAC, ¶ 97(b). Courts have found that similar claims are preempted by
                                                           28

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                                                            1 HOLA, as such claims would impose requirements on the “terms of credit” offered
                                                            2 by a FSB, and the “disclosures” that a FSB must give to borrowers. See Coppes v.
                                                            3 Wachovia Mortg. Corp., 2010 U.S. Dist. LEXIS 115865, *22 (E.D. Cal. Oct. 29,
                                                            4 2010) (claim based on non-disclosure of interest rate fell within 12 C.F.R.
                                                            5 § 560.2(b)(4), (9), and (10)); Nava v. VirtualBank, 2008 U.S. Dist. LEXIS 72819,
                                                            6 14-15 (E.D. Cal. July 16, 2008) (failure to disclose negative amortization).
                                                            7 D.          Plaintiff Is Not Entitled To Injunctive Relief Because He Has Not
                                                                          Tendered The Indebtedness.
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                                                            8
                                                            9             Plaintiff seeks an injunction preventing foreclosure because the loans are
                                                           10 “predatory” and because the “true party entitled to payments is unidentified.”
                                                           11 FAC, ¶ 94. A “valid and viable tender offer of payment of the indebtedness” is
                                                           12 required when a plaintiff seeks to avoid an impending foreclosure sale. Kahenjoo
                                                           13 v. GMAC Home Servs., 2011 U.S. Dist. LEXIS 164057, at *6-8 (C.D. Cal. May 23,
                                                           14 2011) (Selna, J.) (citing Pantoja v. Countrywide Home Loans, Inc., 640 F. Supp.
                                                           15 2d 1177, 1183 (2009) (dismissing, for lack of a tender, “Plaintiff’s complaint in its
                                                           16 entirety to the extent a claim seeks to forestall foreclosure”); Meetz v. Mohr, 141
                                                           17 Cal. 667, 673 (1904); Sipe v. McKenna, 88 Cal. App. 2d 1001, 1006 (1948).
                                                           18             Here, plaintiff has not alleged a valid tender of the amounts owing on either
                                                           19 of his loans. The request for injunctive relief should be dismissed.
                                                           20 4.     THE SECOND CLAIM (INTENTIONAL MISREPRESENTATION
                                                                     BY OMISSION OF FACTS) SHOULD BE DISMISSED.
                                                           21
                                                                     Plaintiff alleges Wells Fargo’s predecessors failed to disclose “the term
                                                           22
                                                              ‘pick a pay’ describing the pick a payment options with the legal and financial
                                                           23
                                                              impact,’” he relied on the non-disclosure, and has been injured by “inflated
                                                           24
                                                              principal balances that included ‘deferred interest.’” FAC, ¶¶ 101, 104. As briefed
                                                           25
                                                              above, this claim is time-barred (§ 3.B.i), is barred by the Class Action Settlement
                                                           26
                                                              (§ 3.B.ii), and is preempted by HOLA (§ 3.C.iii).
                                                           27
                                                                     Plaintiff also has not pled an essential element of a fraudulent concealment
                                                           28

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                                                            1 claim: “the defendant must have been under a duty to disclose the fact to the
                                                            2 plaintiff . . . .” Kaldenbach v. Mutual of Omaha Life Ins. Co., 178 Cal. App. 4th
                                                            3 830, 850 (2009). “[E]ven if material facts are known to one party and not the
                                                            4 other, failure to disclose those facts is not actionable fraud unless there is some
                                                            5 fiduciary or confidential relationship giving rise to a duty to disclose.” Kovich v.
                                                            6 Paseo Del Mar Homeowners’ Assn., 41 Cal. App. 4th 863, 866 (1996). “[A]bsent
                                                            7 special circumstances . . . a loan transaction is at arm’s length and there is no
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                                                            8 fiduciary relationship between the borrower and lender.” Perlas v. GMAC Mortg.,
                                                            9 LLC, 187 Cal. App. 4th 429, 436 (2010). Plaintiff alleges nothing to suggest his
                                                           10 relationship with World and Wachovia was something other than garden-variety
                                                           11 lender-borrower relationships, and thus, no duty to disclose arose. Even if a duty
                                                           12 existed, the promissory notes disclosed in plain terms that the payment amount
                                                           13 plaintiff selected might result in deferred interest, and it explained that deferred
                                                           14 interest would be added to the principal balance and accrue interest.
                                                           15 5.          THE THIRD, FOURTH, AND FIFTH CLAIMS (CANCELLATION
                                                                          OF INSTRUMENTS, VIOLATION OF § 2924, AND SLANDER OF
                                                           16
                                                                          TITLE) SHOULD BE DISMISSED.
                                                           17
                                                                 A.       To The Extent The Claims Rely On Plaintiff’s Allegation That Wells
                                                           18             Fargo Acquired No Beneficial Interest In The Deeds Of Trust, The
                                                           19             Claims Must Be Dismissed.
                                                           20             Plaintiff alleges that the notices of default, notices of trustee’s sales, and
                                                           21 substitution of trustee are invalid or false because Wells Fargo was not the
                                                           22 beneficiary of the deeds of trust. As briefed above, these claims fail as a matter of
                                                           23 law, as Wells Fargo acquired its predecessors’ interests (§ 3.A), and the claims are
                                                           24 preempted by HOLA (§ 3.C.ii).
                                                           25 B.          Plaintiff Fails To State A Claim For Slander Of Title.
                                                           26             Slander of title requires (1) a publication; (2) which is false; (3) which is
                                                           27 without privilege or justification, and (4) which causes direct and immediate
                                                           28 pecuniary loss. Pratap v. Wells Fargo Bank, N.A., 63 F. Supp. 3d 1101, 1108

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                                                            1 (N.D. Cal. 2014). Civil Code § 2924(d) provides that recording a notice of default,
                                                            2 notice of sale or trustee is a privileged act unless a plaintiff shows malice. Kachlon
                                                            3 v. Markowitz, 168 Cal. App. 4th 316, 333-336 (2008). “Malice” means actual
                                                            4 malice, that is, “‘the publication was motivated by hatred or ill will towards the
                                                            5 plaintiff or by a showing that . . . [defendant] acted in reckless disregard of the
                                                            6 plaintiff's rights.’ (Citation).” Id.
                                                            7             Plaintiff fails to plead elements (2), (3), and (4) and has pled no facts
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                                                            8 establishing malice. There was no false statement in the notice of default, notice of
                                                            9 sale, or substitutions because Wells Fargo acquired the beneficial interest in the
                                                           10 deeds of trust. Plaintiff admits entering into the loans and does not dispute that he
                                                           11 ceased making the payments due. Recording the foreclosure notices and
                                                           12 substitutions, under these circumstances, was authorized by the deeds of trust and
                                                           13 caused plaintiff no pecuniary loss.
                                                           14 C.          Plaintiff Fails To State A Claim For Cancellation Of The Notice Of Sale
                                                                          For Unit 2405.
                                                           15
                                                           16             Plaintiff asserts the notice of trustee’s sale for Unit 2405 (FAC, Ex. 6)
                                                           17 should be cancelled because it supposedly “fails to identify the unit.” Cancellation
                                                           18 of instruments are governed by Civil Code § 3412, which provides:
                                                           19             A written instrument, in respect to which there is a reasonable
                                                                          apprehension that if left outstanding it may cause serious injury to a
                                                           20             person against whom it is void or voidable, may, upon his application, be
                                                           21             so adjudged, and ordered to be delivered up or canceled.
                                                           22 Plaintiff cannot establish that the notice is “void or voidable,” or that, “if left
                                                           23 outstanding,” the notice may cause “serious injury.”
                                                           24             Civil Code § 2924f(b)(5) states: “In addition to any other description of the
                                                           25 property, the notice shall describe the property by giving its street address, if any,
                                                           26 or other common designation, if any, and a county assessor’s parcel number . . . .”
                                                           27 Here, the notice of sale provides the Assessor’s Parcel No. (936-192-11). FAC,
                                                           28 Ex. 6 at 1. Page 1 describes the property address as 12668 Chapman Avenue,

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                                                            1 Garden Grove, California 92840-4021, and page 3 (sixth full paragraph), sets forth
                                                            2 the unit number: “RESIDENTIAL UNIT NO. 2405 . . . .” Moreover, the notice
                                                            3 describes the defaulted deed of trust by date and instrument number, leaving no
                                                            4 doubt that the notice concerns the property described in the deed of trust, namely
                                                            5 “12668 CHAPMAN AVE # 2405, GARDEN GROVE, CA 92840-4021.” RJN,
                                                            6 Ex. B, § III.1. The requirements of § 2924f are therefore satisfied.
                                                            7             Plaintiff will undoubtedly cite to cases that generally state that “strict
                                                            8 compliance” was required, and § 2924f required the unit number to be stated as
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                                                            9 part of the street address. However, both California and federal courts have held
                                                           10 that the absence of “strict compliance” does not invalidate a trustee’s sale when the
                                                           11 alleged defect caused no injury to the borrower. See Knapp v. Doherty, 123 Cal.
                                                           12 App. 4th 76, 93-94 (2004) (“does the need for ‘strict compliance’ with foreclosure
                                                           13 notice requirements recited in various cases mean that a trustee’s sale must be
                                                           14 invalidated no matter how trivial the procedural defect? We answer this question in
                                                           15 the negative;” declining to invalidate sale where failure to serve notice of sale in
                                                           16 compliance with statute caused no injury to borrowers); Cross v. Downey Sav. &
                                                           17 Loan Ass’n, 2009 U.S. Dist. LEXIS 17946, at *18-20 (C.D. Cal. Feb. 23, 2009)
                                                           18 (dismissing claim to rescind trustee’s sale due to servicer’s failure to comply with
                                                           19 § 2924f’s posting requirement because plaintiff received actual notice of the sale)
                                                           20 (citing Crummer v. Whitehead, 230 Cal. App. 2d 264, 267-268 (1964).
                                                           21             Here, plaintiff cannot establish he was harmed by the manner in which the
                                                           22 unit number was disclosed in the notice of sale. The notice provided him with
                                                           23 enough information to understand that Unit 2405 was going to be sold, and that he
                                                           24 needed to protect his rights by reinstating the loan, attending the sale and bidding
                                                           25 up the price, or seek a legal remedy. His knowledge is apparent from the fact that
                                                           26 plaintiff’s counsel sent a “cease and desist” letter (FAC, Ex. 7) and obtained a
                                                           27 TRO specifically to stop the sale of Unit 2405. Plaintiff’s actual knowledge that
                                                           28 Unit 2405 was the subject of the notice eviscerates any suggestion that he suffered

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                                                            1 injury from how the unit was identified in the notice, and thus, prevents him from
                                                            2 establishing Civil Code § 3412’s requirement that he has a reasonable
                                                            3 apprehension of “serious injury,” as required by Civil Code § 3412.
                                                            4 6.          THE SIXTH CLAIM (BREACH OF CONTRACT) SHOULD BE
                                                                          DISMISSED.
                                                            5
                                                            6             To state the obvious, a breach of contract claim requires the violation of
                                                            7 some “contractual duty.” See DeRoche v. Commodore Cruise Line, Ltd., 31 Cal.
                                                            8 App. 4th 802, 810-811 (1994) (demurrer sustained where plaintiff did not allege
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                                                            9 defendant promised to provide care for certain injuries; “[i]t follows that
                                                           10 [plaintiff’s] complaint did not set forth facts supporting liability on the grounds of
                                                           11 breach of some contractual duty.”).
                                                           12       Plaintiff asserts Wells Fargo breached the terms of his deeds of trust in five
                                                           13 ways. First, Wells Fargo’s predecessors did not disclose the “pick a pay” feature
                                                           14 of the loans. FAC, ¶ 134(a). Second, Wells Fargo did not give him notice that it
                                                           15 had purchased his loans. Id., ¶ 134(b). Third, Wells Fargo refused to modify the
                                                           16 loans. Id., ¶ 134(c). Fourth, Wells Fargo did not provide him with a “beneficiary
                                                           17 statement” required by Civil Code § 2943(b). Id., ¶ 134(d). Fifth, Wells Fargo
                                                           18 “violated RESPA by failing to provide the accounting details and specifics” he
                                                           19 requested. Id., ¶ 134(e).
                                                           20       The first theory fails to plead a duty or breach because any non-disclosure of
                                                           21 the PAP terms occurred before plaintiff executed the notes and deeds of trust. A
                                                           22 contract cannot be breached before the contract exists. Buschman v. Anesthesia
                                                           23 Bus. Consult. LLC, 2014 U.S. Dist. LEXIS 121643, *27 (N.D. Cal. Aug. 29, 2014);
                                                           24 Yijin Lu v. Hong Deng, 2017 U.S. Dist. LEXIS 86837, *41 (C.D. Cal. June 5,
                                                           25 2017). Further, this claim is barred by the Class Action Settlement (§ 3.B.ii), it is
                                                           26 preempted by HOLA (§ 3.C.iii), and is barred by the four-year statute of
                                                           27 limitations. Civ. Code § 337.
                                                           28        The other theories are untethered to any contractual duty. He conspicuously

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                                                            1 avoids citing any term of the note or deed of trust. Failure to identify a term of an
                                                            2 agreement that gives rise to defendant’s breach is grounds for dismissal. See Yau
                                                            3 v. Deutsche Bank Nat’l Tr. Co. Ams., 2011 U.S. Dist. LEXIS 138584, at *30-31
                                                            4 (C.D. Cal. Nov. 8, 2011) (Selna, J.), aff’d in part, 525 F. App’x 606, 608 (9th Cir.
                                                            5 2013) (breach of contract claim was properly dismissed “where the mortgagors
                                                            6 failed to identify a single term in the deeds that [the servicer] breached”).
                                                            7             Plaintiff unsuccessfully tries to manufacture various duties from the
                                                            8 “Governing Law” section of the deeds of trust, § 15.2 He appears to assert that
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                                                            9 § 15 transforms any violation of state or federal law into a breach of contract. The
                                                           10 problem for plaintiff is that § 15 merely describes the governing law, and it does
                                                           11 not contain a promise by anyone to do or forbear from some act. “The canon of
                                                           12 construction which teaches that the function of a court in construing a written
                                                           13 instrument is to ascertain -- neither to add nor to subtract, neither to delete nor to
                                                           14 distort -- applies.” Livingston Rock & Gravel Co. v. De Salvo, 136 Cal. App. 2d
                                                           15 156, 164 (1955). To find a duty, the Court would have to add to or distort § 15,
                                                           16 which is unambiguous.
                                                           17             Plaintiff has not pled causation or damages. Wells Fargo acquired its
                                                           18 predecessors’ interests in the loans, and plaintiff does not explain how he was
                                                           19 injured by the absence of a notice of this fact. Likewise, he does not allege that
                                                           20 missing accounting information would have changed his default status.
                                                           21             Finally, the claim is preempted. HOLA does not create a blanket exemption
                                                           22 for contract law claims. Rather, breach of contract claims may be preempted when
                                                           23 they “gloss or add a contract term and establish a breach or violation in the first
                                                           24 place . . . .” Haggarty v. Wells Fargo Bank, N.A., 2012 U.S. Dist. LEXIS 143405,
                                                           25
                                                           26    2
                                                                    The note and deed of trust “shall be governed by and construed under federal
                                                           27 law and federal rules and regulations, including those for federally chartered
                                                           28 savings institutions (“Federal Law”) and, to the extent Federal Law does not apply,
                                                              by the law of the jurisdiction in which the Property is located. . . . .”
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                                                            1 *11-12 (N.D. Cal. Oct. 3, 2012). Here, plaintiff is attempting to add contract terms
                                                            2 that do not appear within the four corners of the deeds of trust. The claims would
                                                            3 impose requirements on how a loan originated by a federal savings bank “defer[s]
                                                            4 and capitaliz[es] interest and adjustments to the interest rate, balance, [and]
                                                            5 payments due . . . .” (12 C.F.R. § 560.2(b)(4)), on loan-related “[d]isclosure[s]” (§
                                                            6 560.2(b)(9), and on the “servicing, sale or purchase of, or investment or
                                                            7 participation in, mortgages . . . .” (§ 560.2(b)(10)).
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                                                            8 7.          THE SEVENTH CLAIM (UCL) SHOULD BE DISMISSED.
                                                            9             A claim under the UCL requires the pleading of some business practice that
                                                           10 is forbidden by law, with particular facts showing ongoing unlawful, unfair, and
                                                           11 fraudulent business acts. Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th
                                                           12 1134, 1143 (2003). “Each prong of the UCL is a separate and distinct theory of
                                                           13 liability.” Birdsong v. Apple, Inc., 590 F.3d 955, 959 (9th Cir. 2009).
                                                           14             Plaintiff alleges five categories of “unfair” practices. First, Wells Fargo’s
                                                           15 predecessors unfairly marketed a PAP loan to him without disclosing critical terms
                                                           16 (i.e., deferred interest). FAC, ¶¶ 140-144. Second, Wells Fargo concealed it was a
                                                           17 new “creditor” that purchased the loans. Id., ¶ 145. Third, Wells Fargo failed to
                                                           18 modify his loan in violation of a settlement agreement with the California Attorney
                                                           19 General. Id., ¶¶ 146-148. Fourth, the foreclosure notices and substitutions falsely
                                                           20 stated that Wells Fargo was the beneficiary of the deeds of trust. Id., ¶¶ 149-151.
                                                           21 Fifth, Wells Fargo failed to respond to RESPA requests and failed to provide a
                                                           22 beneficiary statement. Id., ¶ 152.
                                                           23 A.          Plaintiff Has Not Stated A UCL Claim Based On Failure To Disclose
                                                           24             The Terms Of The PAP Loans.
                                                           25             A UCL claim challenging the terms of the PAP loans is barred by the Class
                                                           26 Action Settlement (§ 3.B.ii), it is preempted by HOLA (§ 3.C.iii), and is barred by
                                                           27 the four-year statute of limitations. Bus. & Prof. Code § 17208.
                                                           28             The alleged failure to disclose loan terms also does not meet the definition of

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                                                            1 “unfair” conduct within the meaning of the UCL. Conduct is “unfair” when it
                                                            2 “threatens an incipient violation of an antitrust law, or violates the policy or spirit
                                                            3 of one of those laws because its effects are comparable to or the same as a
                                                            4 violation of the law, or otherwise significantly threatens or harms competition.”
                                                            5 Cel-Tech Comms, Inc. v. Los Angeles Cell. Tel. Co., 20 Cal.4th 163, 187 (1999).
                                                            6 Thus, any “unfair” practice must be “tethered to an[] underlying constitutional,
                                                            7 statutory or regulatory provision” or must “threaten[] an incipient violation of an
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                                                            8 antitrust law, or violates the policy or spirit of an antitrust law.” Durell v. Sharp
                                                            9 Healthcare, 183 Cal. App. 4th 1350, 1366 (2010) (sustaining demurrer to claim
                                                           10 alleging that conduct “violates public policy, and is ‘immoral, unethical,
                                                           11 oppressive, and unscrupulous;’” this allegation was “a vague test of unfairness this
                                                           12 court rejects.”). Here, plaintiff has not tethered the alleged non-disclosure of terms
                                                           13 to any law, and thus, has not pled an “unfair” practice.
                                                           14 B.          Plaintiff Has Not Stated A Claim Based On Alleged Concealment Of
                                                                          The “Creditor” That Owned The Loans.
                                                           15
                                                           16             HOLA preempts this claim because it would impose requirements on the
                                                           17 “disclosures” a FSB must make, how such loans must be “servic[ed],” and the
                                                           18 purchase and sale of such loans. 12 C.F.R. § 560.2(b)(9), (10).
                                                           19             Plaintiff also fails to plead an injury in fact that resulted from the failure to
                                                           20 furnish a “beneficiary statement.” “[T]o state a claim under the UCL, a plaintiff
                                                           21 must establish standing by demonstrating ‘injury in fact’ and the loss of ‘money or
                                                           22 property as a result of the unfair competition.” Bus. & Prof. Code § 17204;
                                                           23 Californians for Disability Rights v. Mervyn’s, LLC, 39 Cal. 4th 223, 227 (2006).
                                                           24 The standing requirement includes a causation element, as the plaintiff must “show
                                                           25 that that economic injury was the result of, i.e., caused by, the unfair business
                                                           26 practice . . . that is the gravamen of the claim.” Kwikset Corp. v. Superior Court,
                                                           27 51 Cal. 4th 310, 322 (2011); Tamburri v. Suntrust Mortg., Inc., 2013 U.S. Dist.
                                                           28 LEXIS 121220, *27 (N.D. Cal. Aug. 26, 2013) (“Plaintiff cannot assert that her

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                                                            1 alleged economic injury was ‘caused by’ Defendants’ acts, because the asserted
                                                            2 wrongful actions occurred after Plaintiff’s default on her loan”); DeLeon v. Wells
                                                            3 Fargo Bank, N.A., 2011 U.S. Dist. LEXIS 8296 *19-22 (N.D. Cal. 2011)
                                                            4 (“Without some factual basis suggesting that Plaintiffs could have cured the default
                                                            5 in the fall of 2009, the Court cannot reasonably infer that Wells Fargo’s alleged
                                                            6 misrepresentations resulted in the loss of Plaintiffs’ home.”).
                                                            7             Here, plaintiff faces loss of the security properties and damage to his credit
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                                                            8 because he ceased making payments in early 2018, not because Wells Fargo failed
                                                            9 to identify itself as a creditor. He has not alleged any pre-default wrongdoing, and
                                                           10 thus, has not pled an injury-in-fact that resulted from an “unfair” practice.
                                                           11 C.          Plaintiff Cannot Rely On The Attorney General Settlement.
                                                           12             Plaintiff asserts that Wells Fargo was obligated to restructure his loan
                                                           13 pursuant to an Assurance Agreement with the California Attorney General. FAC,
                                                           14 ¶ 147; see RJN, Ex. R (Assurance Agreement). First, that agreement conferred no
                                                           15 rights on any person as a third party beneficiary, and “is not intended to create a
                                                           16 private right of action” for anyone except the Attorney General and Wells Fargo.
                                                           17 Id., § XII.G, § IV.B (only Attorney General may enforce remedies). Furthermore,
                                                           18 the agreement had a Termination Date of June 30, 2013. Id. at 8, § 3. If plaintiff
                                                           19 ever had any rights, they expired six years ago.
                                                           20 D.    Plaintiff Has Not Stated A Claim Based On A False Representation
                                                           21       That Wells Fargo Is The Beneficiary Under The Deeds Of Trust.
                                                           22             As briefed in § 3.A, Wells Fargo is the beneficiary of the deeds of trust. The
                                                           23 notices and substitutions of trustee correctly reflected this fact. This claim is also
                                                           24 preempted by HOLA. § 3.C.ii, supra.
                                                           25 E.          Plaintiff Has Not Stated A Claim Based On RESPA.
                                                           26             Plaintiff alleges that Wells Fargo engaged in an “unfair” practice by failing
                                                           27 to properly respond to a Qualified Written Request (“QWR”) under RESPA.
                                                           28 Under 12 U.S.C. § 2605(e)(2), a servicer may be liable for failing to timely

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                                                            1 respond to a valid QWR. Tamburri v. Suntrust Mortg., Inc., 2011 U.S. Dist.
                                                            2 LEXIS 144442, *10 (N.D. Cal. Dec. 15, 2011). A valid QWR may seek
                                                            3 information “relating to the servicing of a loan,” which RESPA defines as
                                                            4 “receiving any scheduled periodic payments from a borrower pursuant to the terms
                                                            5 of any loan.” 12 U.S.C. § 2605(i)(3). If the complaint establishes a valid QWR, a
                                                            6 violation of § 2605(e)(2) occurs only if a loan servicer fails to “either provide the
                                                            7 information to the borrower or explain why such information is unavailable.” 12
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                                                            8 U.S.C. § 2605(e)(2); Lindsey v. Meridias Capital, Inc., 2012 U.S. Dist. LEXIS
                                                            9 18212, at *17-18 (D. Haw. Feb. 13, 2012).
                                                           10             If those elements are satisfied, the plaintiff must allege actual pecuniary
                                                           11 damages caused by the RESPA violation. Tamburri, 2011 U.S. Dist. LEXIS
                                                           12 144442, at *20-21; Heflebower v. JPMorgan Chase Bank, NA, 2013 U.S. Dist.
                                                           13 LEXIS 141278, *39 (E.D. Cal. Sept. 27, 2013) (requirement of pecuniary loss).
                                                           14 He must plead facts to establish a “causal relationship between the alleged
                                                           15 damages and the RESPA violation.” Torres v. Wells Fargo Home Mortg., Inc.,
                                                           16 2011 U.S. Dist. LEXIS 319, *8 (N.D. Cal. Jan. 4, 2011). Under this standard, “[a]
                                                           17 plaintiff is only entitled to recover for the loss that relates to the RESPA violation,
                                                           18 not for all losses related to foreclosure activity.” Deal v. Countrywide Home
                                                           19 Loans, Inc., 2013 U.S. Dist. LEXIS 87090, at *9 (N.D. Cal. June 20, 2013).
                                                           20             Plaintiff alleges he sent a QWR (FAC, Ex. 1) to Wells Fargo. FAC, ¶ 31.
                                                           21 He received a response, (FAC, Exs. 3. 5), but he complains that Wells Fargo did
                                                           22 not provide evidence of an assignment of the notes (id., ¶ 35), did not provide
                                                           23 proof that the loan was purchased (id., ¶ 37), and did not provide details of charges,
                                                           24 fees, payments, and arrears (id., ¶¶ 38-41). Even if the Court were to assume that
                                                           25 the alleged QWR was valid, and that Wells Fargo did not provide the requested
                                                           26 information requested, plaintiff still has not alleged any pecuniary loss that
                                                           27 resulted from the RESPA violation.
                                                           28             Wells Fargo became the owner of both loans (through a name change and

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                                                            1 merger, not an assignment), and plaintiff does not explain how lack of notice of
                                                            2 that event resulted in a pecuniary loss.
                                                            3             Likewise, he fails to explain how missing details of charges, fees, payments,
                                                            4 and arrears resulted in any pecuniary loss. As shown in Wells Fargo’s response to
                                                            5 the purported QWR, plaintiff had not made a payment on the 5871 Loan since
                                                            6 before April 1, 2018, nor on the 4849 Loan since before March 15, 2018. FAC,
                                                            7 Ex. 3 (“Due Date” for 5871 Loan “04/01/2018”), Ex. 5 (“Due Date” for 4849 Loan
                                                            8 “03/15/2018”). Plaintiff does not contend he made payments after those dates.
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                                                            9 Thus, it was not missing account information that caused plaintiff to risk losing his
                                                           10 properties and damage to his credit—it was his own chronic refusal to pay.
                                                           11             Plaintiff complains that he was not furnished with information concerning
                                                           12 “other charges” and fees, but he does not explain how the absence of such
                                                           13 information resulted in a pecuniary loss. He complains about $3,631.49 and fees
                                                           14 of $93 and $98 assessed to the 5871 Loan. FAC, ¶¶ 38, 39. However, by the time
                                                           15 Wells Fargo responded to the purported QWR, the past due principal and interest
                                                           16 alone exceeded $36,000. See FAC, Ex. 3 (11 missed payments x $3,336.89). Even
                                                           17 if those charges had been improper, reversing the charges would not have been
                                                           18 sufficient to bring the loan out of default. Likewise, he complains about $3,687.98
                                                           19 in “other charges” and attorneys’ fees of “$1,644.25” assessed to the 4849 Loan.
                                                           20 FAC, ¶¶ 66, 67. But the past due principal and interest alone on that loan exceeded
                                                           21 $37,000. FAC, Ex. 5 (12 missed payments x $3,086.89). If those charges had
                                                           22 been reversed, the loan still would have been in default. Because plaintiff has not
                                                           23 pled a claim for violation of RESPA, he has not stated a claim under the UCL.
                                                           24 8.          THE EIGHTH CLAIM (HBOR) SHOULD BE DISMISSED.
                                                           25             Plaintiff alleges several violations of HBOR. First, Wells Fargo violated a
                                                           26 duty to “ensure that Plaintiff had been contacted to explore alternatives to
                                                           27 foreclosure prior to recording the [notice of default].” FAC, ¶¶ 170-171. Second,
                                                           28 Wells Fargo violated a duty under “Civil Code § 2924.55(B)” to notify him of his

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                                                            1 right to receive a copy of the note, assignments, and accounting. FAC, ¶ 172.
                                                            2 Third, Wells Fargo reviewed his request for a modification, but after issuing its
                                                            3 denial decision, refused to furnish additional information about its decision. FAC,
                                                            4 ¶ 174. Fourth, Wells Fargo postponed, rather than cancelled, a scheduled trustee’s
                                                            5 sale while his modification was under review.
                                                            6 A.          HOLA Preempts The Claim For Violation Of HBOR.
                                                            7             This Court has found that HOLA, 12 C.F.R. § 560.12(b)(10), preempted
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                                                            8 HBOR claims. Bhones v. Wells Fargo Bank, N.A., 2017 U.S. Dist. LEXIS 152607,
                                                            9 at *4 (C.D. Cal. Sep. 13, 2017) (Selna, J.) (claims under “California’s Homeowner
                                                           10 Bill of Rights, Cal. Civ Code §§ 2923.55, 2923.6, and 2923.7, 2924.10 are
                                                           11 preempted because these sections seek to regulate the lender’s loan servicing and
                                                           12 modification activities. 12 C.F.R. § 560.2(b)(10).”).
                                                           13 B.    Wells Fargo Corrected And Remedied Any Failure Communicate With
                                                           14       Plaintiff Regarding Foreclosure Prevention Alternatives.
                                                           15             Under Civil Code § 2923.55, a loan servicer must, before recording a notice
                                                           16 of default, communicate with the borrower to assess his financial situation, explore
                                                           17 options for avoiding foreclosure, and provide additional information, or it must
                                                           18 satisfy certain due diligence requirements. Villafana v. Wells Fargo Bank, N.A.,
                                                           19 2017 U.S. Dist. LEXIS 222545, *8 (C.D. Cal. Mar. 17, 2017). However, “[c]ourts
                                                           20 routinely dismiss claims under Section 2923.55(f) where a borrower concedes that
                                                           21 he discussed foreclosure alternatives with the lender or fails to provide non-
                                                           22 conclusory allegations that contradict the declaration of due diligence compliance.”
                                                           23 Id. (citing cases). And, Civil Code § 2924.12(a)(2) authorizes injunctive relief
                                                           24 only until the servicer “has corrected and remedied the violation or violations
                                                           25 giving rise to the action for injunctive relief.” Id. at *12-13 (dismissing § 2923.55
                                                           26 claim where “the pleadings support Defendant’s claim that it has remedied or
                                                           27 corrected its alleged violation by virtue of taking Plaintiff’s loan modification
                                                           28 application under review.”).

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                                                            1             Here, plaintiff admits he received a full review for a loan modification.
                                                            2 FAC, ¶¶ 43-46, 174. If Wells Fargo prematurely filed the notice of default without
                                                            3 discussing foreclosure alternatives with plaintiff, it “remedied or corrected” that
                                                            4 violation when it conducted a loan modification review.
                                                            5 C.          Plaintiff Has Not Alleged A Claim Based On The Sufficiency Of Wells
                                                                          Fargo’s Denial Decision.
                                                            6
                                                            7             The statutory cited by plaintiff, Civil Code § 2924.55(B) does not exist. If
                                                            8 plaintiff is relying on Civil Code § 2923.6(f), he has still failed to state a claim.
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                                                            9 Subdivision (f) lists the information that a servicer must include in a written notice
                                                           10 of denial of a loan modification. The notice must include “the reasons for denial,”
                                                           11 information on how the borrower can appeal, and other foreclosure prevention
                                                           12 alternatives for which the borrower may be eligible. Subdivision (f) also requires
                                                           13 the servicer to provide certain information if the denial was based on investor
                                                           14 disallowance, negative net present value, or default on a prior modification.
                                                           15        Plaintiff alleges that, after receiving the denial letter, he complained that
                                                           16 incorrect income information was used in the review, but Wells Fargo provided no
                                                           17 further response. FAC, ¶ 174. However, § 2923.6(f) does not require a further
                                                           18 response. Thus, he has not pled a violation of Civil Code § 2923.6(f).
                                                           19 D.     Wells Fargo Did Not Violate HBOR By Postponing, Rather Than
                                                                     Cancelling The Scheduled Sale.
                                                           20
                                                                     Dual tracking under Civil Code § 2923.6(c) occurs if, while a “complete
                                                           21
                                                              loan modification application” is under review, the servicer records a notice of
                                                           22
                                                              default or notice of sale, or if it “conduct a trustee’s sale . . . .” Plaintiff does not
                                                           23
                                                              allege Wells Fargo did any of these things. Rather, he complains that Wells Fargo
                                                           24
                                                              postponed a trustee’s sale, rather than “suspend[ing]” it. FAC, ¶ 174. The statute,
                                                           25
                                                              however, merely prohibits a sale from being conducted. It says nothing about
                                                           26
                                                              postponement versus suspension or cancellation. Wells Fargo did not conduct a
                                                           27
                                                              sale, and thus, did not violate § 2923.6(c).
                                                           28

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                                                            1 E.          The Purported Violations Were Not “Material.”
                                                            2             Civil Code § 2924.12 (a)(1) allows a pre-sale injunction to “enjoin a
                                                            3 material violation of” HBOR. “[A] violation is ‘material’ if it is plausible that the
                                                            4 violation caused the plaintiff to suffer harm.” Galvez v. Wells Fargo Bank, N.A.,
                                                            5 2018 U.S. Dist. LEXIS 172087, *12 (N.D. Cal. Oct. 4, 2018) (citing Cardenas v.
                                                            6 Caliber Home Loans, Inc., 281 F. Supp. 3d 862, 869-71 (N.D. Cal. 2017)
                                                            7 (“material violation” affects loan obligations or the modification process). Here,
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                                                            8 plaintiff admits he received a full modification review, and he does not assert that
                                                            9 any HBOR violation changed that outcome or made it impossible for him to bring
                                                           10 his loan current. Thus, plaintiff has not alleged material violations.
                                                           11 9.          THE NINTH CLAIM (BREACH OF IMPLIED COVENANT)
                                                           12             SHOULD BE DISMISSED.
                                                           13             Plaintiff’s ninth claim repackages his prior allegations. He alleges that
                                                           14 Wells Fargo breached the covenant of good faith and fair dealing by omitting
                                                           15 material terms of the note (FAC, ¶ 180), increasing the principal balance and
                                                           16 failing to provide an accounting (¶ 181), adding unauthorized charges (¶ 182),
                                                           17 concealing the “new creditor” (¶ 183), refusing to consider a loan modification in
                                                           18 good faith (¶ 184), claiming to cancel a trustee’s sale when it was actually
                                                           19 postponed (¶ 185), and refusing to comply with RESPA (¶ 186).
                                                           20             The elements of a claim for breach of the implied covenant are: “’(1) the
                                                           21 parties entered into a contract; (2) the plaintiff fulfilled his obligations under the
                                                           22 contract; (3) any conditions precedent to the defendant’s performance occurred; (4)
                                                           23 the defendant unfairly interfered with the plaintiff’s rights to receive the benefits of
                                                           24 the contract; and (5) the plaintiff was harmed by the defendant’s conduct.”
                                                           25 Cantwell v. Wells Fargo Bank, N.A., 2014 U.S. Dist. LEXIS 194247, *5 (C.D. Cal.
                                                           26 Dec. 15, 2014) (Selna, J.) (citation omitted). Critically, the implied covenant “rests
                                                           27 upon the existence of some specific contractual obligation.” Id. It “cannot impose
                                                           28 substantive duties or limits on the contracting parties beyond those incorporated in

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                                                            1 the specific terms of their agreement.” Durell, 183 Cal. App. 4th at 1369-1370.
                                                            2             In Cantwell, this Court dismissed a claim alleging that Wells Fargo breached
                                                            3 the implied covenant by (1) denying a loan modification; (2) violating HBOR; (3)
                                                            4 failing to properly credit payments; and (4) failing to give notice of interest rate
                                                            5 changes. “The first two bases lack a relation to a specific contractual provision;
                                                            6 thus, they may not form the basis of a bad faith claim.” Id. at *6. The third basis
                                                            7 was deficiently pleaded because plaintiff failed to allege when he made the
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                                                            8 payments. The fourth basis was deficient because plaintiff failed to plead
                                                            9 “allegations regarding damages incurred as a result of his lack of knowledge.” Id.
                                                           10 at *7; see Yau v. Deutsche Bank Nat’l Tr. Co. Ams., 525 F. App’x 606, 608 (9th
                                                           11 Cir. 2013) (“[t]he mortgagors point to nothing in the deeds of trust . . . that would
                                                           12 foist on [the servicer] any duties whatsoever related to a loan modification, and
                                                           13 “[a]ttaching such duties to the deeds would augment or contradict their express
                                                           14 terms—an outcome forbidden by California law.”).
                                                           15             Plaintiff’s first theory (omission of material terms) is a non-starter because
                                                           16 an implied covenant claim cannot be premised on wrongs occurring before a
                                                           17 contract came into existence. Land O’ Lakes v. Gonsalves, 2012 U.S. Dist.
                                                           18 LEXIS 32853, *24-25 (E.D. Cal. Mar. 9, 2012). This theory is also time-barred,
                                                           19 preempted by HOLA, and barred by the Class Action Settlement. The remaining
                                                           20 bases are deficient because plaintiff has not pointed to specific terms of the note
                                                           21 and deed of trust that were frustrated, nor alleged how he has been damaged.
                                                           22 Dated: June 13, 2019                       ANGLIN, FLEWELLING, RASMUSSEN,
                                                                                                           CAMPBELL & TRYTTEN LLP
                                                           23
                                                           24                                            By:               /s/ Leigh O. Curran
                                                                                                                 Attorneys for Defendant WELLS FARGO
                                                           25
                                                                                                                 BANK, N.A., successor by merger with Wells
                                                           26                                                    Fargo Bank Southwest, N.A., f/k/a Wachovia
                                                                                                                 Mortgage, FSB, f/k/a World Savings Bank, FSB)
                                                           27
                                                                                                                 (erroneously sued as Wells Fargo, N.A.)
                                                           28

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                         6

                         7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA


                         8                                       COUNTY OF ORANGE

                         9
 s

 a                      10   KWADWO HWENSO ASARE-ANTWI,
X                                                                           Case No.:        30-2019-01064444-CU-OR-CJC
 OA
 QJ    O
                        11                                                  Assigned:        Hon. Judge Robert Moss
£ 3                                           Plaintiff,
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                                                                            VERIFIED FIRST AMENDED COMPLAINT
1 ihk                   13
                             WELLS FARGO, N.A.; QUALITY                     FOR DAMAGES
& ?41
VH     ^    0>
                  GO^
                  ' _
                        14   LOAN SERVICE CORPORATION;
 O
                                                                             1) Declaratory Judgment
                             CLEAR RECON CORP; DOES 1 through
 fli   <    5 "         15                                                  2)     Intentional Misrepresentation
 g     >    ^                5 inclusive herein,
• iH   CM                                                                   3) Cancellation of Instruments
53 a                    16
O                                           Defendants.                     4) Violation of Civil Code §2924
 §                      17                                                  5)     Slander of Title

hJ                                                                          6)     Breach of Contract/Estoppel
                        18                                                  7)     Violation of Bus. & Prof. Code § 17200 et.
                                                                                   seq.
                        19
                                                                            8) Violation of Homeowner Bill of Rights
                        20                                                  9)     Breach of Covenant of Good Faith and Fair
                                                                                   Dealing
                        21
                                    Plaintiff, KWADWO HWENSO ASARE-ANTWI (hereinafter "Plaintiff'),                        hereby
                        22

                             complains, alleges, and affirms in his Verified First Amended Complaint for Damages the
                        23

                        24   following:

                                                               I. STATEMENT OF CASE
                        25
                                     1.     This is a pre foreclosure matter in which the party threatening foreclosure is the
                        26
                             servicer, Wells Fargo, N.A. ("Wells Fargo"), who has practiced unfair and deceptive business
                        27

                             practices in first, collecting on a negative amortization loans that omitted material terms as to the
                        28


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                                           VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                       1   true nature of the loans, falsely alleging it is the beneficiary when in fact it is not, and by breaching

                       2   the deed of trust by failing to comply with federal and state laws.

                       3           2.      Plaintiff currently holds three different loans in which Wells Fargo is the servicer.

                       4   Two of the properties are investment, income producing properties, one is located in Orange

                       5   County and one in Riverside; the 3rd is Plaintiffs United States primary residence in Orange

                       6   County, in the State of California. This complaint is specific to the two Orange County properties

                       7   (1 primary and 1 investment).


                       8           3.      The two loans, herein referenced as # 2305 with a loan identification ("id") ending

                       9   in 5871, and #2405 with a loan id ending in 4849, were originated by World Savings, FSB, and
S
                      2Q   Wachovia Mortgage, FSB, respectively.
s
on
Q)    o                            4.      Among the issues are improper fees and charges, negative amortization of what
                      ii
£ *
      QJ   t-H
      +*   CO    00
                           was sold to Plaintiff as a "fixed rate" mortgage but is in fact a loan in which the borrower defers
                      12
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                           interest, increasing the principal balance up to 125% of the original principal balance, and
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                      13

psj              lo
                           improper application of the principal and interest payments.
      VO   3? oo      14
O     "5 ^                         5.       Wells Fargo filed a notice of default without exploring alternatives to foreclosure
to    ^     c
                 H    15
           CD
£ N                        and included a declaration to each of the Notices of Default, falsely alleging it had attempted to
3 RJ                  16
O
                           explore alternatives with Plaintiff prior to filing the Notice of Default but was unsuccessful in
§                     17
 <s
hJ                         reaching Plaintiff. Further, the NOD's allege Wells Fargo is the beneficiary, which Plaintiff
                      18
                           disputes. Plaintiff seeks a rescission of each Notice of Default.
                      19
                                   6.      Wells Fargo has used incorrect income amounts in evaluating Plaintiff for a
                      20
                           modification; Plaintiff sent a letter stating he wanted to appeal the denial of the modification,
                      21
                           pointing out the incorrect income amounts and requesting an explanation. In response, Wells
                      22
                           Fargo denied the appeal stating it did not have to revise the incorrect income or explain its errors.
                      23
                                   7.       Plaintiff herein seeks injunctive relief from Wells Fargo, Clear Recon and Quality
                      24
                           Loan Services from continuing with the foreclosures until such time this Court can consider and
                      25
                           evaluate the deceptive manner in which Wells Fargo has managed the loans.
                      26
                                   8.       Plaintiff is prepared to pay adequate protection payments to protect his interest
                      27
                           pending the outcome of this litigation.
                      28


                                                                              -2-

                                          VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                        1           9.      Of note the original complaint was filed with a second complaint in Riverside, as

                        2   to the property in Riverside. There was an internal miscommunication as to the primary residence

                        3   which was misidentified as the Riverside when in fact, it is Unit # 2305 in Orange County.

                        4   Therefore, this complaint has been revised to properly identify the correct primary residence of

                        5   Plaintiff.

                        6                                          II. JURISDICTION

                        7            1 0.   This court has subject matter jurisdiction over all matters alleged herein.

                        8            1 1.   This action is properly filed as an unlimited civil action seeking damages in excess

                        9   of $25,000.

 0                     10            1 2.   The court has jurisdiction over Plaintiffs and all named Defendants as corporations
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                       11   doing business in the State of California or have potential interest in a real property located in the
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   •        CO    00
W      "S N       CO   12   City Murrieta, County of Orange in the State of California.
            Q     (N
       m    o\    oo


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 P     CD    o    00
                       13                                             III. VENUE

ta                in
                  oo   14            13.    Venue in the Superior Court of Orange County is proper because the subject real
S4H    ^
 o     tS
 S5 > § H              15   properties and all actions material to this complaint occurred and are occurring in Orange County.
 u     >    tfl
• fH   CN

53 a                   16                                      IV. SUBJECT PROPERTY
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 §                     17            14.    The first Subject property is commonly known as 12668 CHAPMAN AVE UNIT
 PS
hJ
                       18   2305, GARDEN GROVE, CA 92840-4021. (Hereinafter "2305" or "Primary Residence.")

                       19            15.    The second Subject Property is commonly known as 12668 CHAPMAN AVE

                       20   UNIT 2405, GARDEN GROVE, CA 92840-4021 (Hereinafter "2405")

                       21                                             V. PARTIES

                       22           16.     Plaintiff KWADWO HWENSO ASARE-ANTWI ("Plaintiff'), is an individual

                       23   who resides in England, with his United States primary residence in Orange County, identified as

                       24   Unite 2305, who at all times relevant herein is the true and rightful owner of the real properties at

                       25   issue in this litigation.   These are Plaintiffs primary US residence and an investment property

                       26   which produces rental income and both are part of Plaintiff s retirement assets.

                       27            17.    Wells Fargo, N.A. is a national bank which Plaintiff is informed and believes is

                       28   headquartered in San Francisco, California.



                                                                             -3-

                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                        1           18.     Quality Loan Services is a California Corporation.

                        2           1 9.   Clear Recon is a California Corporation.

                        3          20.     Plaintiff does not know the true names and capacities of the defendants sued herein

                        4   as DOES 1 through 5 ("DOE Defendants"), inclusive, and therefore sues said DOE Defendants

                        5   by fictitious names. Upon information and belief Plaintiff avers that each of the DOE Defendants

                        6   is contractually, strictly, negligently, intentionally, vicariously liable or otherwise legally

                        7   responsible in some manner for the acts and omissions described herein. Plaintiff will amend this

                        8   complaint to set forth the true names and capacities of each DOE Defendant when same are

                        9   ascertained.
 e

 S                     10          21.     Plaintiff is informed and believes that Defendants and DOE Defendants 1 through
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 0>    S
 u     O               11   5, inclusive, and each of them, are and at all material times have been, the agents, servants or
yj          CO    CO
                       12   employees of each other, purporting to act within the scope of said agency, service or employment
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T3
   I I s
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"3 I 5 i*              13   in performing the acts and omitting to act as averred herein.     Defendants and Doe Defendants
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                oo
c*          •rt
            32 oo
                  CO   14   inclusive, are hereinafter collectively referred to as the "Defendants."
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 o     t? ^
 8 i § H
 u > CO
                       15                   STATEMENT OF FACTS and GENERAL ALLEGATIONS
• iH   CM

                       16          A.      LOAN for # 2305 identified as Loan Ending in 5871
o
§                      17          22.      The #2305 loan is titled "Fixed Rate Mortgage Note- Pick-A-Payment Loan."
hJ
                       18   The original principal balance, on November 20, 2007 was $310,000 with an interest rate of

                       19   8.250%.

                       20          23.     The original lender identified on the Note and Deed of Trust ("DOT") is World

                       21   Savings, FSB; the trustee is identified as Golden West Savings Association Service Co., a

                       22   California Corporation ("Golden West".)

                       23          24.     The initial monthly payment was $1,357.40 and called for a payment change

                       24   starting on the 1st day of January 2009.

                       25          25.     The payment change includes payment of the interest due, a portion of the unpaid

                       26   principal, and any "deferred interest" which would be added to the principal balance of the loan

                       27   for "underpayments" made when the Plaintiff selected the minimum payment.

                       28


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                                           VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                       1           26.     The Note allows for any "unpaid interest" to be added to the principal balance and

                       2   will accrue interest at the same rate as the principal.

                       3           27.     The Note omits any terms describing any "pick a pay" option(s) or the legal and

                       4   financial effect of such pick a pay options.

                       5           28.     The DOT states the payments will be applied first to any "prepayment charges",

                       6   second, to advances made by the servicer; third, amounts due under paragraph # 2 (escrow);

                       7   fourth, interest due; fifth to deferred interest, and sixth, to principal due.

                       8           29.     The DOT omits any terms describing any "pick a pay" option(s) or the legal and

                       9   financial effect of such pick a pay options.
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s                     10           30.     At no time has Plaintiff been notified by any entity that his loan was purchased
X
<Z)

                      11   and that entity was and is his new creditor.
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l_J        CO    00
J     "S   N     00   12           31.     On February 22, 2019 Plaintiff sent Wells Fargo a Qualified Written Request, and
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—5    tn   (7s   oo

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      iui             13   specifically requested that Wells Fargo provide a copy of the Note with any modifications made

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                 LO
                 oo   14   thereon, pursuant to Civil Code § 2943(b)(1). (A true and correct copy of the QWR is attached
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w g C H               15   herein as Exhibit 1)
« £        in
.a n
5 a                   16           32.     In response, Wells Fargo sent a copy of the Note. (A true and correct copy of the
o
5                     17   Note is attached herein as Exhibit 2)
X
                      18           33.     This Note specifically identifies payment to World Savings, FSB and there are no

                      19   indorsements or allonges to the Note.

                      20           34.     Wells Fargo's "Loan Information" states that Wells Fargo acquired the loan on

                      21   October 1, 2015. (A true and correct copy of the Loan Information is attached herein as Exhibit

                      22   3)

                      23           35.     Wells Fargo stated it is the "assignee" of the Note, but provided no evidence of

                      24   this assignment.

                      25           36.     Plaintiff specifically requested the Beneficiary Statement, under § 2942(b)(1),

                      26   which Wells Fargo was and remains, non-responsive.

                      27   III

                      28   III


                                                                              -5-

                                          VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                         1          37.       Plaintiff specifically requested that Wells Fargo provide evidence of notification

                        2    to Plaintiff that his loan had been purchased with the identity of the new creditor, as required

                        3    under 15 U.S.C. § 1641(g). No evidence of this notice was provided.

                        4           38.       Plaintiff specifically sought details of "other charges" with the date of its

                        5    assessment and basis of the assessment. Nothing was provided. Plaintiff has been charged

                         6   $3,63 1 .49 in "other charges" on the loan.

                         7          39.      Plaintiff specifically sought evidence, and the basis of, attorney fees being

                         8   assessed against the loan in the amount of $1,991.23 (this amount is subject to change.) These

                         9   fees include "recording fees" of $93.00 and $98.00 respectively. Wells Fargo was non responsive.
    c

    S                   10          40.       Plaintiff specifically sought an accounting of each payment that had been added
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        O
                        11   to the principal balance, which has risen from $308,000 to $321,927.64.       Wells Fargo was non-
£ ^
x 1m K° 0038            12   responsive. It provided an accounting of fees and charges for the time period of January 2014 to

1 His                   13   current date as requested, but ignored the request specific to the increase in the principal balance.
    Q   C/0   O   rri
tX                LO
              "5 00     14          41 .    Plaintiff specifically requested a breakdown of the arrears as alleged in the Notice
        vo

    O   to        -i
    S >       a H       15   of Default. Wells Fargo was non responsive.
    £ > en
•       C\|

¥ E51                   16          42.     On August 14, 2018 Wells Fargo had its agent, Clear Recon, record a Notice of
O
£                       17   Default. This Notice of Default states it is being signed on behalf of the trustee, Clear Recon, but
i-J
                        18   the trustee identified in the deed of trust is Golden West.

                        19          43.      Plaintiff disputes this declaration in that Wells Fargo made no such attempts by

                        20   telephone or letter, Wells Fargo recorded the Notice of Default with a declaration that contains

                        21   deceptive statements and Wells Fargo failed to comply with the California Homeowner Bill of

                        22   Rights ("HBOR") as detailed below

                        23           44.     Plaintiff did reach out to Wells Fargo to apply for a modification. Plaintiffs

                        24   monthly income is $27,000.00 per month to which he has four mortgages- 3 that Wells Fargo

                        25   services, and one that is serviced by a different servicer.

                        26           45.    Inexplicably, in evaluating and denying the modification of the predatory loan,

                        27   Wells Fargo used an incorrect income amount of $17,142.00.

                        28   III


                                                                               -6-

                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                          1           46.     Plaintiff appealed, stating that Wells Fargo had misstated his monthly income,

                          2   requesting that Wells Fargo explain the discrepancy and consider the correct amount. Wells Fargo

                          3   refused to explain why it was only considering $17,000 of the $27,000 income claimed and in so

                          4   doing, has unfairly denied Plaintiffs modification of the loan based on incorrect NPVs.

                          5           47.     During this time, while his modification was completed and being reviewed, Wells

                          6   Fargo representatives assured Plaintiff any trustee sale was being cancelled or suspended, but in

                          7   fact, they were postponed and continued to the following month. Plaintiff alleges the terms

                          8   "cancelled" and "suspended" indicate no further acts towards selling the property would occur

                          9   but in fact, the postponement of the sales indicates the trustee was moving forward with selling
    e

    S                    10   the property on the new date and that Wells Fargo was in fact dual tracking Plaintiff while
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                         11   continuing with a trustee sale while his modification application was under review.
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                    oo   12           48.     Plaintiff alleges a substitution of trustee was recorded, but this substitution
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                         13   improperly and falsely alleges Wells Fargo is the party with authority to substitute the trustee.

&       in
     V. 00               14          49.      Wells Fargo had noticed the property for sale for April 23, 2019.        There is a
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    en   v     c
                    H    15   temporary restraining order in place and the sale is being postponed until July 2019.
    P. £      cn
•>h      m

5s a                     16           50.     Plaintiff disputes that Wells Fargo is the valid, legal creditor and absence any
O "
    £                    17   indorsement on the Note, herein identifies Doe 1 as the actual creditor which has, in violation of
    rS
hJ
                         18   state, federal and f 15 of the deed of trust, concealed itself.

                         19          B.        LOAN for # 2405 identified as Loan Ending in 4849

                         20           51.     The #2405 loan is titled "Fixed Rate Mortgage Note- Pick-A-Payment Loan."

                         21   The original principal balance, on December 21, 2007 was $282,750 with an interest rate of

                         22   8.2550%.

                         23           52.     The original lender identified on the Note and Deed of Trust ("DOT") is Wachovia

                         24   Mortgage, FSB.

                         25           53.     The initial monthly payment was $1,285.51 and called for a payment change

                         26   starting the 15th day of February 2009.

                         27   III

                         28   III



                                                                                -7-

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                      1           54.     The payment change would include payment of the interest due, a portion of the

                      2   unpaid principal, and any "deferred interest" which would be added to the principal balance of

                      3   the loan.

                      4           55.     The Note allows for any "unpaid interest" to be added to the principal balance and

                      5   will accrue interest at the same rate as the principal.

                      6           56.     The Note omits any terms describing any "pick a pay" option(s) or the legal effect

                      7   of such pick a pay options.

                      8           57.     The DOT states the payments will be applied first to any "prepayment charges",

                      9   second, to advances made by the servicer; third, amounts due under paragraph # 2 (escrow);
 c
 ft

 a                   10   fourth, interest due; fifth to deferred interest, and sixth, to principal due.
 qj   o
 IH   ®              11           58.     The DOT omits any terms describing any "pick a pay" option(s) or the legal effect
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        (N
                     12   of such pick a pay options.
      ^ ON      00

 § $ U K             13           59.       At no time has Plaintiff been notified by any entity that his loan was purchased
o u5        2 00
&                    14   and that entity was and is his new creditor.
ji.   X0    «   oo

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            c
                H    15           60.      On February 22, 2019 Plaintiff sent Wells Fargo a Qualified Written Request,
           CO
• S <N
                     16   and specifically requested that Wells Fargo provide a copy of the Note with any modifications
o
§                    17   made thereon, and pursuant to Civil Code § § 2943(b)(1). (Exhibit 1)
 fS
l-J
                     18           61.     In response, Wells Fargo sent a copy of the Note. (A true and correct copy of the

                     19   Note is attached herein as Exhibit 4)

                     20           62.        This Note specifically identifies payment to Wachovia Mortgage, FSB and there

                     21   are no indorsements or allonges to the Note.

                     22           63.       Wells Fargo's "Loan Information" for the loan ending in 4849, states that Wells

                     23   Fargo acquired the loan on October 1, 2015. (A true and correct copy of the Loan Information is

                     24   attached herein as Exhibit 5)

                     25           64.       Wells Fargo stated it is the "assignee" of the Note, and provided a letter to the

                     26   OCC stating it (Wells Fargo) was applying for an application to convert Wachovia Mortgage,

                     27   FSB, North Las Vegas, Nevada with and into Wells Fargo Bank, National Association. This letter

                     28   is dated November 1, 2009.


                                                                             -8-

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                            1          65.     Plaintiff specifically requested that Wells Fargo provide evidence of notification

                            2   to Plaintiff that his loan had been purchased with the identity of the new creditor, as required

                            3   under 15 U.S.C. § 1641(g).    No evidence of this notice was provided, as required under federal

                            4   law.

                            5          66.     Plaintiff specifically sought details of "other charges" with the date of its

                            6   assessment and basis of the assessment. Nothing was provided. Plaintiff has been charged

                            7   $3,687.98 in "other charges" on the loan.

                            8          67.     Plaintiff specifically sought evidence, and the basis of, attorney fees being

                            9   assessed against the loan in the amount of $1,644.25. Wells Fargo was non responsive.
    S

    B                      10          68.      Plaintiff specifically sought an accounting of each payment that had been added
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£ 3                        11   to the principal balance, which has risen from $282,750.00 to $302,413.1 9 as of January 1, 2019.
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E        '3 N CO           12   Wells Fargo was non responsive.
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^        ^ ON CO

flSg                       13          69.      Plaintiff specifically requested a breakdown of the arrears as alleged in the Notice
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                     OO    14   of Default. Wells Fargo was non responsive.
    O to ^ ^
    «> 4! 5 £              15          70.     On August 14, 2018 Wells Fargo had its agent, Quality Loan Service Corporation,
    S    > co
•        CN
Jjl      CN
         (N                16   record a Notice of Default. This Notice of Default has a declaration which declare that Wells
O
    £                      17   Fargo attempted to contact Plaintiff, prior to recording the notice of default, to discuss
    ns
J.
                           18   alternatives, but was unsuccessful.

                           19          71.     Plaintiff disputes this declaration in that Wells Fargo made no such attempts by

                           20   telephone or letter, and that Wells Fargo recorded the Notice of Default with a declaration that

                           21   contains false and deceptive statements.

                           22          72.     Plaintiff did reach out to Wells Fargo to apply for a modification. Plaintiffs

                           23   monthly income is $27,000.00 per month.

                           24          73.     Inexplicably, in evaluating and denying the modification of the predatory loan,

                           25   Wells Fargo used an incorrect income amount of $19,500.00.

                           26          74.     Plaintiff appealed, stating that Wells Fargo had misstated his monthly income,

                           27   requesting that Wells Fargo explain the discrepancy and consider the correct amount. Wells Fargo

                           28


                                                                                -9-

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                       1   refused to explain why it was only considering $19,500 of the $27,000 claimed as income and in

                       2   so doing, as unfairly denied Plaintiff modification of the loan.

                       3           75.     Wells Fargo has noticed the property for sale for April 22, 2019.          Of note, the

                       4   Notice of Trustee Sale fails to identify the property in that it states the address but fails to identify

                       5   the unit number. Civil Code § 2924f(b)(l) requires a true and correct identification of the

                       6   property; this notice is subject to being adjudicated as void. (A true and correct copy of the

                       7   original Notice of Trustee Sale, which was continued, is attached herein as Exhibit 6)

                       8           76.     On April 15, 2019 Plaintiff sent Quality Loan Services noticing them of this error

                       9   with the Notice of Trustee sale and requesting they cease and desist from going forward with the
e

s                     10   sale based on the defective Notice of Trustee Sale.                Quality Loan Servicing remains
as
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                      11   nonresponsive. (A true and correct copy of the Cease and Desist Letter is attached herein as
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nT   S     N     oo   12   Exhibit 7.)
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                      13           77.     As of the filing of this complaint, Quality Loan Services has remained non

& * -o &              14   responsive.
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                 H    15           78.     As a result of the deceptive nature of the loan, and omissions made in the loans,
9> £       CD
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3 S                   16   Plaintiff was not aware of the "negative amortization" features, which were buried in the "fine
O
5                     17   print" of the Note.
n
J
                      18           79.     Plaintiff, based on the statements made by Wells Fargo, and absence of any

                      19   indorsement on the Note, disputes that Wells Fargo is the actual creditor and herein identifies Doe

                      20   1 as an entity that has concealed itself in violation of federal and state laws and Tf 1 5 of the deed

                      21   of trust which requires that the deed of trust be administered and governed by state and federal

                      22   law.

                      23           80.     Plaintiff alleges that in review of the responses to the QWR, Wells Fargo has

                      24   improperly inflated the principal balance of each loan in excess of $20,000 per loan, including

                      25   but not limited to unauthorized other charges, overcharges for force placed insurance, and

                      26   improper deferment of interest payments.

                      27   III

                      28   III


                                                                              -10-

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                           1    FIRST CAUSE OF ACTION: DECLARATORY JUDGMENT/INJUNCTIVE RELIEF

                           2                                           (ALL DEFENDANTS)

                           3               81.    Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                           4   inclusive, as though fully set forth herein.

                           5               82.    Plaintiff brings this claim under Code of Civil Proc., § 1060 in which Plaintiff

                           6   seeks a declaration of his rights and the rights of defendants.

                           7           83 .      As detailed above, a controversy has arisen between Plaintiff and defendants, each

                           8   of them.

                           9           84.       A controversy exists between Plaintiff and all defendants, as to true ownership of
    A

    £                     10   the loan and the rights of defendants to be demanding a payment, or conducting a trustee sale.
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fT  * s                   11               85.   Specifically, Wells Fargo alleges it acquired each loan on October 1, 2015 but it
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                          12   never notified Plaintiff it had purchased the loan in violation of 15 U.S.C. §1641(g).
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    «« n1 5 g             13               86.   It is generally known, but not evidenced, that Worlds Savings was acquired by
    ®           P a?
&                  LD
                          14   Wachovia, and in turn, Wachovia was acquired by Wells Fargo.
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                V. oo
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    S > § H               15               87.   Plaintiff alleges that any purchase of the Subject Loans was by acquisition and not
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« a                       16   by "merger" such that the identity of the Noteholder in due course with rights to enforce the Note
O
                          17   is a Doe Defendant and remains unknown to Plaintiff.
X
                          18               88.   Plaintiff disputes that Wells Fargo acquired the loans and as such, is the

                          19   beneficiary under California law, or under either DOT with rights to exercise the power of sale

                          20   by declaration a default and election to sell. Plaintiff disputes that Wells Fargo is the beneficiary

                          21   under DOT or represents the beneficiary under the deed of trust, such that Wells Fargo and its

                          22   agents operating with a power of attorney, held no authority to substitute the trustees on the deeds

                          23   of trust.

                          24               89.   The Notes are specifically paid to order Notes, and the purported copies as

                          25   provided under Civil Code § 2943(b)(1), show no modification such as an indorsement.

                          26               90.   There is no record in the public land records showing an assignment of the DOT

                          27   and Note and even if there was, the assignment would be disputed by the fact that the Note has

                          28   not be transferred as evidenced by the Notes as presented to Plaintiff under § 2943(b)(1).


                                                                                 -11-

                                                 VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                             1           91.      Plaintiff seeks a declaratory judgment as to the actual, true lender (creditor) of

                         2       each respective loan. Plaintiff seeks actual proof including but not limited to actual sale of the

                         3       debt, and transfer of the Note.

                         4               92.     Plaintiff seeks resolution of the deceptive terms of the Note which states "Fixed

                         5       Rate Mortgage Note - Pick a pay Loan" but omits the actual terms of the any such pick a pay

                         6       options, their legal effect or the financial impact on the principal balance of the loan.

                         7               93.     Wherefore Plaintiff prays for Injunctive Relief from Wells Fargo, Doe 1 , and their

                         8       agents, and each of them, who have wrongfully and unlawfully threatened to sell the property

                         9       through a nonjudicial foreclosure.
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    rt
    s                   10               94.     Defendants' threatened conduct, unless and until enjoined and restrained by this
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rT                      11       Court will cause great and irreparable injury to Plaintiff in that (1) he will be deprived of the quiet
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                        12       use and enjoyment of his real property; (2) Plaintiff will be deprived of ownership and title to his

                        13       real property based on a predatory loan in which the true party entitled to payments is unidentified;
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                   00   14       (3) as a result of obfuscation of ownership, Plaintiff is being deprived of restructuring out of the
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           £            15       predatory loans, and (4) Wells Fargo is not in privity to the contract and therefore has not
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o
  a                     16       contractual basis for the foreclosure.

    5                   17              95.     If an injunction does not issue restraining and enjoining Defendants, and each of
hJ
                        18       them, from disrupting Plaintiffs quiet enjoyment and ownership of his properties, Plaintiff will

                        19       be irreparably harmed by loss of the unique real property and the income each property produces.

                        20              96.     Plaintiff has no adequate remedy at law for the injuries that will result from the

                        21       current and threatened conduct of Defendants, and each of them, in that it will be impossible for

                        22       Plaintiff to calculate the precise amount of damages he will suffer if Defendants' conduct is not

                        23       enjoined and restrained.

                        24              97.     Plaintiff seeks a Declaratory Judgment as to:

                        25              a.         Declaration of the true parties as to each respective Note and deed of trust;

                        26              b.        Declaration of the terms of the Note in which the terms for a "pick a pay" option

                        27       have been omitted to the detriment and harm of Plaintiff and in fact, any negative amortization

                        28



                                                                                  -12-

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                        1   should be removed as deceptive. Further, any interest rolled into the principal should be removed

                        2   from the principal and no interest on interest should be allowed.

                        3          98.        WHEREFORE Plaintiff prays for judgment as set forth below.

                        4         SECOND CAUSE OF ACTION: INTENTIONAL MISREPRESENTATION BY

                        5                                         OMISSION OF FACTS

                        6                             (DOE DEFENDANTS AND WELLS FARGO)

                        7          99.       Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                        8   inclusive, as though fully set forth herein.

                        9           100.     Plaintiff alleges World Savings and Wachovia, respectively, each made the
 e

 S                     10   representation to Plaintiff the loan was a "Fixed Rate Mortgage Note" and stated the loan was a
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      o

£ 3                    11   "pick a pay loan."
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J     i     f)   00
                       12           101.     Plaintiff alleges that neither World Savings or Wachovia disclosed verbally, in any
*T3   - -   OS   CO


                 l>s
                       13   good faith estimate, or in the Note or Deed of Trust the term "pick a pay" describing the pick a
 9 55- gM So
&         LO
            73   oo    14   pay options with the legal and financial impact.
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                 H     15           102.     Plaintiff alleges this omission of fact was critical and material to Plaintiffs
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.a 7,
53 a                   16   decision to enter each respective loan, and that had either World Savings or Wachovia disclosed
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                       17   these facts, Plaintiff would not have engaged in the loan.
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                       18           103.     Plaintiff alleges that Wells Fargo knows about the predatory nature of the loan and

                       19   deceptive nature of the terms of the Note and Deed of Trust as it has settled with the State Attorney

                       20   General agreeing (without admission of guilt or liability) to modify pick a pay loans originated

                       21   by World Savings and Wachovia.

                       22           1 04.    Plaintiff alleges his injury and harm became apparent when the Notice of Defaults

                       23   were recorded, and when Wells Fargo refused to modify the loans based on the inflated principal

                       24   balances that included "deferred interest."

                       25           1 05 .   WHEREFORE Plaintiff prays for judgment as set forth below

                       26   III

                       27   III

                       28   III



                                                                             -13-

                                             VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                          1             THIRD CAUSE OF ACTION: CANCELLATION OF INSTRUMENTS

                         2                                             (ALL DEFENDANTS)

                         3            106.      Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                         4    inclusive, as though fully set forth herein.

                          5           107.      Civil Code § 3412 provides, "A written instrument, in respect to which there is a

                          6   reasonable apprehension that if left outstanding it may cause serious injury to a person against

                          7   whom it is void or voidable, may, upon his application, be so adjudged, and ordered to be...

                          8   canceled."

                          9           108.      An instrument which contains hearsay statements that mispresent material facts is
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    s                    10   subject to be adjudged as void and cancelled.
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                         11           109.      Plaintiff alleges that each Notice of Default filed on each respective property are
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                         12   fatally defective as the state the "beneficiary" is Well Fargo, which Plaintiff disputes as false.
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1 f                      13           110.      Plaintiff alleges that each Substitution of Trustee is void for reason that the
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                         14   Substitutions were done by agents of Wells Fargo, who is not the lender or beneficiary, entitled
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    M    £          H    15   to substitute the trustee.
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s a                      16           111.      As result of these defective instruments, Quality Loan Services and Clear Recon
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5                        17   are threatening Plaintiff with taking title to his property for payment to Wells Fargo, who is not
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                         18   entitled to said payments and is without authority to foreclose on Plaintiff.

                         19           112.      Plaintiff has been, and is being, harmed and prejudiced in that Defendants have

                         20   initiated a foreclosure that each defendant knows, or should know, has no contractual basis upon

                         21   which any defendant may foreclose as they are not parties to or agents of any party to the Note or

                         22   deeds of trust.

                         23           113.      Plaintiff has been placed into a position of undue influence and economic duress

                         24   by parties with no legal right to seek collection or foreclose and have in fact, seeking collection

                         25   and plan to wrongfully foreclosed on his properties based on these false, and deceptive

                         26   instruments.

                         27           1 14.     Plaintiff seeks an adjudication the Notices of Default, Substitutions of Trustee, and

                         28   Notices of Trustee Sale are void, or voidable by this court.


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                                                VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                   1           115.    WHEREFORE, Plaintiff prays for judgment as detailed below.

                   2             FOURTH CAUSE OF ACTION: VIOLATION OF CIVIL CODE § 2924

                   3                                             (ALL DEFENDANTS)

                   4           116.    Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                   5   inclusive, as though fully set forth herein.

                   6           117.        Plaintiff alleges Wells Fargo is not the beneficiary of the Note, entitled to the

                   7   payments thereof nor is Wells Fargo the agent of the true beneficiary, Doe Defendant 1, and

                   8   therefore, Wells Fargo holds no legal right to exercise the power of sale by declaring a default and

                   9   election to sale.
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s                 10           118.    Plaintiff alleges that Clear Recon and Quality Loan Services are entities who
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      o
      o           ii   provide trustee services that have a legal duty all parties of the deed of trust, including Plaintiff, to
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X '3 £ £          12   exercise common sense and good judgment. But that instead, both trustees have failed to establish
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                       the authority of Wells Fargo to exercise the power of sale or substitute either entity as the trustee.
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Pi                14           119.        As a result of these acts, the Notice of Default for each property is defective in that
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                       it fails to state the actual breach known to the actual, true beneficiary of the loan(s).
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                               120.    As a result of these acts, the Notices of Trustee Sale are defective as they are issued
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                       by entities that are not valid, legal trustees.
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                               121.    The NOTS for Subject Property # 2405 fails to identify the unit and therefore,
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                       Plaintiff alleges is fatally defective. (Exhibit 6)
                  19
                               122.        WHEREFORE Plaintiff prays for judgment as detailed below.
                  20
                                               FIFTH CAUSE OF ACTION: SLANDER OF TITLE
                  21
                                                                 (ALL DEFENDANTS)
                  22
                               123.    Plaintiff incorporates herein the allegations made in the preceding paragraphs,
                  23
                       inclusive, as though fully set forth herein.
                  24
                               1 24. Slander of Title is the publishing of a false statement about a party' s property.
                  25
                               125. As detailed above, the Substitutions of Trustee falsely identify Wells Fargo as the
                  26
                       lender, or beneficiary, when in fact, Wells Fargo is not the lender or the successor in interest to
                  27
                       the original lenders.
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                                      VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                            1           126.     Plaintiff alleges, as detailed above, these substitutions of trustee affect interest in

                            2   real property as they transfer title to be held by the entities that are not the valid trustees of each

                            3   respective assignment.

                           4            127.     Plaintiff alleges that each and every one of these instruments contain false

                            5   statements which Defendants notarized the Substitutions of Trustee to give the appearance of

                            6   authority and validity.

                            7           128.     Plaintiff alleges the recording of a notarized document in the official land records

                            8   is a violation of Penal Codes §§ 115, 115.5

                            9           129.     Plaintiff alleges the instruments have caused a cloud on title by representing that
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    s                      10   parties, with no legal right or authority, have an interest which is false.
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rV .* s                    11           130.     Plaintiff alleges he has been harmed with vendibility of his property and force to
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jTl      "S    N     CO    12   incur legal fees to defend his rights and seek a removal of this cloud.
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1 f5 |                     13           131.     WHEREFORE, Plaintiff prays for judgment as detailed below.
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                     00    14          SIXTH CAUSE OF ACTION: BREACH OF CONTRACT AND ESTOPPEL
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    8 ! s £                15                               (DOE DEFENDANT 1-5, WELLS FARGO)
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£ a                        16           132.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,
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    §                      17   inclusive, as though fully set forth herein.
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                           18           133.     Plaintiff alleges the deed of trust, under f 15 states the deed of trust will be

                           19   governed by federal and state law.

                           20           134.     Plaintiff alleges Doe Defendants 1-5 and Wells Fargo violated f 15 by taking acts,

                           21   or failing to take acts, as required by federal or state law, and defendant's breaches were material.

                           22   Because defendants breached the contract first        Plaintiff was excused from performance until

                           23   defendants cured the breach of the deed of trust (and Note).             Defendants violations were

                           24   specifically:

                           25               a.   Defendants omitted a material fact as to the true terms of the loan by failing to

                           26                    specify the "pick a pay" options with the legal and financial impact of each option

                           27                    in the Note or deed of trust, to the determinant and harm of Plaintiff.

                           28               b.   Doe Defendant 1-5, and purportedly Wells Fargo, failed to provide notice to


                                                                                   -16-

                                                 VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                       1                    Plaintiff that either entity had purchased his loan and is now his "creditor."

                       2               c.    Wells Fargo has engaged in deceptive and unfair business practice in accepting

                       3                    Plaintiffs modification applications but failing to consider his entire income in

                       4                    considering Plaintiff for a modification. As a result of this unfair business practice,

                       5                    Wells Fargo improperly denied the modifications based on improper principal

                       6                    balances and inaccurate income sources in which Wells Fargo has refused to

                       7                    consider 10,000 in monthly income.

                       8               d.    Wells Fargo violated Civil Code       § 2943(b)(1) by failing to provide a beneficiary

                       9                    statement as requested under Civil Code.
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 S                    10               e.   Wells Fargo violated RESPA by failing to provide the accounting details and
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                      11                    specifics as requested by Plaintiff.
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W      *3 N CO        12           135.     Plaintiff alleges that Doe Defendant 1-5 and Wells Fargo breached the contract
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^s I- u K             13   first by failing to ensure all terms of the loan were properly disclosed; Plaintiff became aware of

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                 oo   14   and suffered injury of this omission when he was unable to afford the escalating mortgage
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                 H    15   payments, and then was refused a modification out of the deceptive loan.
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a a                   16           1 36.    Plaintiff alleges defendants and each of their agents, are estopped from taking any
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5                     17   acts, including threat of foreclosure, until the material breach of the contract is cured.
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                      18           137.     WHEREFORE, Plaintiff prays for judgment as detailed below.

                      19      SEVENTH CAUSE OF ACTION: VIOLATION OF BUS. & PROF. CODE § 17200

                      20                                           (ALL DEFENDANTS)

                      21           138.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                      22   inclusive, as though fully set forth herein.

                      23           1 39.    Plaintiff alleges Defendants all engage in the unfair and deceptive business practices

                      24   which result in unlawful acts that violate California laws.      Specifically:

                      25           140.     As detailed above, Plaintiff alleges Wachovia Mortgage, FSB and World Savings,

                      26   FSB engaged in the deceptive and unfair lending practices in marketing to Plaintiff a loan in which

                      27   each entity, individually, omitted critical terms that impacted the long term viability of sustaining

                      28   loan payments.


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                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                          1           141.    As a result of relying on Wachovia and World Savings representations, Plaintiff

                          2   engaged in a loan that he would not have otherwise accepted.

                          3           142.    Plaintiffs injury and harm became apparent when he was unable to sustain the

                          4   escalating mortgage payments, and started missing his mortgage payments.

                          5           143.   The "pick a pay options" increase the principal balance of the loan, and allow that

                          6   the missed interest being included into the principal balance be assessed additional interest so thai

                          7   the Plaintiff is being charged interest on interest.

                          8           144.     As a result of this unfair and deceptive business practice, Plaintiff has been

                          9   prejudiced in refinancing or modifying the loan because the loan balances have increased by over
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 S                       10   $20,000 a piece and the continues to increase based on the deceptive pick a pay options.
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                         11           145.    As detailed above, Plaintiff alleges Doe Defendants 1-5, and Wells Fargo practice
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E I N So                 12   an unfair and deceptive business practice by concealing any new "creditor" who purportedly
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                         13   purchased the loan, in violation of both state and federal laws.

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                   00    14           146.    As detailed above, Wells Fargo's practice of refusing to account for all of a
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                   H     15   borrower's income has prejudiced and harmed Plaintiff in restructuring his loan which he should
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a fi                     16   in fact, qualify for. Plaintiff alleges Wells Fargo has intentionally refused to consider all of the
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 §                       17   income in order to intentionally foreclose on the predatory loans.
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                         18           147.   This is particularly egregious because Wells Fargo entered into an agreement with

                         19   the State Attorney General in which it agreed to restructure these predatory loans if they were on

                         20   a principal residence of the borrower; Wells Fargo has refused to consider the borrowers loan in

                         21   violation of the agreement with the State Attorney General, which Plaintiff herein alleges he is an

                         22   intended 3rd party beneficiary of that settlement agreement.

                         23           148.   Plaintiff further alleges it is an unfair and deceptive business practice of Wells Fargo,

                         24   which acknowledges these types of negative amortization loans are deceptive and financially

                         25   destructive, to refuse to restructure them.

                         26           149.    As detailed above, Wells Fargo, Quality Loan Services and Clear Recon engage in

                         27   the deceptive and unfair business practice of alleging a party that is not the beneficiary, is the

                         28   beneficiary in their Notices of Default and Substitutions of Trustee.



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                                             VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                         1           150.     As a result of this unfair and deceptive business practice, Plaintiff has made

                         2   mistaken payments to the wrong party and has been subjected to the threats and acts of these false

                         3   beneficiaries.

                        4            151.      Plaintiff alleges the recording of the Substitutions of Trustee, when defendants

                         5   know, or should know, contain false statements, notarized and then file the instrument is an

                         6   unlawful business practice in violation of Penal Codes §§115 and 1 15.5.

                         7           152.       Plaintiff alleges that Wells Fargo engages in the unfair, deceptive and unlawful

                         8   business practice of failing to respond properly to RESPA requests, to requests under Civil Code

                         9   § § 2943(b)(1) including failing to provide the beneficiary statement, and failing to deal with
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 s                      10   borrowers in pick a pay predatory loans in good faith.
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                        11           153.      Plaintiff alleges that Wells Fargo engages in the unfair and deceptive business
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         O c            12   practice of failing to provide borrowers with meaningful opportunity to restructure a debt to avoid
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||5J                    13   foreclosure by claiming it is the owner or beneficial holder, when in fact it is not.
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                        14           154.     This misrepresentation deprives borrowers from seeking other alternatives to
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 «           5 £        15   foreclosure which is significant if the loan is in fact, held by a private entity or by a government
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a a                     16   entity, which may or may not entitled Plaintiff to other alternatives. The obfuscation prevents
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                        17   Plaintiff from seeing all true avenues of resolution.
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                        18           155.     Plaintiff alleges Quality Loan Services and Clear Recon engage in the unfair and

                        19   deceptive business practice of failing to act with commons seen or good judgment in ensuring any

                        20   party requesting it be substituted as trustee has the authority to make such a request, or request a

                        21   Notice of Default by ensuring the party requesting is the true beneficiary with the rights to exercise

                        22   the power of sale.

                        23           156.      Plaintiff alleges Defendants, and each of them, take these acts with a reckless

                        24   disregard and rights of the borrowers.

                        25           157.       Plaintiff alleges that the Defendants' misconduct, as alleged herein, gave, and has

                        26   given, Defendants, and each of them, an unfair competitive advantage over their competitors.

                        27   III

                        28   III


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                                              VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                         1              158.      The scheme implemented by Defendants, in collusion with one another, is

                        2    specifically designed to defraud California consumers and enrich Defendants at the expense of

                        3    consumers in this State.

                        4               159.     Plaintiff alleges the unfair and deceptive business practices result in violations oi

                         5   California law and said acts are not independent acts of Defendants but are in fact, a pattern and

                         6   unfair and deceptive business practice of Defendants.

                         7              160.     By reason of the foregoing, Defendants should be enjoined from continuing such

                         8   practices pursuant to California Business & Professions Code §§17203 and 17204. Plaintiff has

                         9   suffered injury in fact, including but not limited to being subjected to the false representations of
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 s                      10   Defendants.
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                        11              161 .     Plaintiff has paid interests and charges on the loans and therefore, has standing to
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                   co   12   bring forth these UCL claims. See Kwikset Corp. v. Superior Court (Benson)(Jm. 27, 2011,
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                        14              162.      Plaintiff is being threatened with loss of title to his properties and all income
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                        15   thereof, including      improvements made to the property, and made principal and interest payments
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M-i    CN               16   on the loan. Plaintiff has been assessed increased costs and fees associated with the wrongful
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§                       17   foreclosure activities. Furthermore, Plaintiff is unable to modify the terms of loan because none ol
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                        18   the Defendants have the legal authority to engage in loan modification negotiations.

                        19              163.      Plaintiff has incurred the burden to pay the costs of retaining at attorney to

                        20   investigate the activities of the defendant. Moreover, because Plaintiff has been unable to modify

                        21   the onerous terms of the loan, Plaintiffs' creditworthiness is ruined. Undoubtedly, other members

                        22   of the public, similarly have fallen victim to Defendants' deceptive schemes, are likely to be injured

                        23   as well.

                        24              164.      The harm to Plaintiff and to members of the general public outweighs the utility

                        25   (if any) of Defendants' policies and practices. Consequently, their policies and practices constitute

                        26   unlawful       business acts or practices within the meaning of Business & Professions Code§ 1 7200

                        27   et. seq. Moreover, the foregoing conduct promotes an incipient violation of a consumer law, or

                        28   violates the policy or spirit of such law or otherwise significantly threatens or harms competition.


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                                                VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                         1           165.       Plaintiffs are therefore entitled to injunctive relief and attorney's fees as available

                         2   under Business & Professions Code§ 17200 et seq. and related sections.

                         3           166.       The acts and practices described in the preceding paragraphs are unfair and

                         4   violate the Business & Professions Code because they constitute violations of all the statutes as

                         5   detailed herein.

                         6           167.       WHEREFORE, Plaintiff prays for judgment as detailed below.

                         7                         EIGHTH CAUSE OF ACTION: VIOLATION HBOR

                         8                                    (WELLS FARGO, CLEAR RECON)

                         9           168.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,
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 E                      10   inclusive, as though fully set forth herein.
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                        11           169.     Plaintiff alleges Unit # 2305 is his primary US residence and therefore, is covered
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                        12   by the California Homeowner Bill of Rights for his primary residence.
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 g I5 «                 13           170.     Plaintiff alleges that Wells Fargo, as the servicer, and Clear Recon, as the trustee,
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                        14   had a legal duty to ensure that Plaintiff had been contacted to explore alternatives to foreclosure
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                        15   prior to recording the NOD.
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3 a                     16           171.     Plaintiff alleges that Wells Fargo made no telephone call or sent a letter to discuss
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§                       17   alternatives and the declaration as attached to the NOD is false, in that it states contact was
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                        18   attempted.

                        19           172.     Plaintiff alleges at the time of the NOD, Wells Fargo also had a duty to notify

                        20   Plaintiff of his right to receive a copy of the Note, assignments and accounting, prior to recording

                        21   the NOD but failed to provide this notice in violation of Civil Code § 2924.55(B).

                        22           173.     Plaintiff alleges that Wells Fargo and Clear Recon are required to rely upon

                        23   competent and reliable evidence before recording any instruments in the land records, but that in

                        24   violation of Civil Code § 2924.17, have failed to do so.

                        25           174.     Plaintiff alleges that Wells Fargo, as the servicer, was required to identify the

                        26   specific reasons for the denial, and if in fact, discrepancies were identified, correct those

                        27   discrepancies.     On February 22, 2019 Plaintiff notified Wells Fargo ithad the wrong income

                        28   amount for the modification and requested verification and explanation of why it was refusing to


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                                              VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                          1   consider over $10,000 in Plaintiffs income. Wells Fargo told Plaintiff it didn't have to explain its

                          2   errors, change the errors, or provide any further details as to the underwriting analysis and

                         3    determination of denying the loan modification. This attitude and denial by Wells Fargo is in

                         4    violation of the spirit of the law, and HBOR in which it is in fact, required to provide the NPV

                          5   values but has refused to provide the pertinent details to Plaintiff.

                          6           175.    Plaintiff alleges that during the time that the application was completed Wells

                          7   Fargo had a duty to suspend the trustee sale but instead simply postponed it, continuing to threaten

                          8   Plaintiff with a foreclosure while his modification application was being reviewed. This is dual

                          9   tracking and in violation of HBOR. Further, Wells Fargo acts were deceptive in that the
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 a                       10   representatives told Plaintiff the sale was being cancelled and/or suspended; which was untrue.
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                         11   The sale was postponed and continued to the following month.
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W      -q IN 00          12           176.    Plaintiff alleges these are material breaches of the HBOR and that he is entitled to
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 § J <5 8                13   injunctive relief, as well as attorney fees and legal costs for having to bring these claims against
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                         14   Wells Fargo and Clear Recon.
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      5 m                15           177.    WHEREFORE, Plaintiff prays for judgment as detailed below.
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« a                      16               NINTH CAUSE OF ACTION: GOOD FAITH AND FAIR DEALING
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 £                       17                                (DOE DEFENDANTS, WELLS FARGO)
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                         18           178.    Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                         19   inclusive, as though fully set forth herein.

                         20           179.       Plaintiff alleges Wells Fargo as the agent, and Doe Defendants, have breached

                         21   the covenant of good faith and fair dealing with Plaintiff by refusing to deal with Plaintiff honestly,

                         22   fairly or in good faith.

                         23           1 80.     Omission of material terms of the Note;

                         24           181.      Increase of the principal balance and refusal to provide an accounting of the

                         25   increase;

                         26           182.      Adding unauthorized and unsubstantiated charges to increase the amounts due;

                         27           183.      Violating the deed of trust by obfuscating and concealing the new creditor;

                         28           1 84.     Refusing to consider the modification in good faith by considering all of Plaintiffs


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                                              VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                        1   income and refusing to state why his full income is not being considered;

                       2            185.       Claiming to cancel and suspend the trustee sale when in fact, it was simply

                        3   postponed for 30 days.

                       4            186.       Refusing to comply with RESPA in providing accurate and proper responses as

                        5   required so that Plaintiff could have a fair and accurate understanding of the charges made on the

                        6   loan.

                        7           1 87.      As a result of these acts, Plaintiff has been deprived of fully understanding his

                        8   rights and the financial status of the loan in order to seek other alternatives to restructuring the

                        9   loan.
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S                      10           1 88.      As a result of these acts, Plaintiff has been experienced additional stress in trying
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       o               11   to resolve the loan issues while being threatened with the foreclosure.
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                       12           1 89.      WHEREFORE Plaintiff prays for judgement as detailed below.

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                       13                                         PRAYER FOR RELIEF
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             y co      14           Wherefore, Plaintiff prays for judgment against the Defendants and each of them, jointly
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                       16           1)      For a declaration of the rights and duties of the parties as set forth above;
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 2                     17           2)      A credit of any interest charged on interest which was included in the principal
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                       18   balance and that said interest put into the principal be removed from the principal, and no further

                       19   interest charges on that interest.

                       20           3)      For an order cancelling the Substitutions of Trustee, Notices of Default and Notices

                       21   of Trustee Sale;

                       22           4)      For an order the business practices of Defendants are unfair and deceptive,

                       23   enjoining Defendants from continuing with the business practices;

                       24           5)      For a declaration that Defendants are estopped from continuing any further acts

                       25   with the intent to deprive Plaintiff of possession of the property.

                       26           6)      For an order demanding Defendants rescind the Notice of Default and an ordet

                       27   enjoining Defendants from recording any other Notice of Default until such time that Defendants

                       28   cure all material violations of the contract as detailed above;


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                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                         1           7)      For Injunctive Relief that enjoins Defendants from any further acts until all material

                         2   violations are cured and all improper fees are removed from Plaintiff s account;

                         3           8) For attorney fees and legal costs for compelling Plaintiff to seek judicial assistance in

                         4   compelling Defendants to comply with the law;

                         5           9)      For statutory, special, general and punitive damages;

                         6           10)     For treble damages or statutory damages of $50,000;

                         7           1 1)    Injunctive Relief pursuant to Cal. Bus. & Prof. Code § 1 7200, Cal Civil Code § 3396

                         8   and Civ. Code of Proc. § 526, Civ. Code § 2924.12

                         9           12)     Attorney fees and costs, including those allowed by 2924. 12, 2605 (f) and Cal Civ.
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 B                      10   Code §§1788.17 and 1788.30 and any other provisions of law.
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        '               li           13)     Such other further and different relief as the Court deems just and equitable,
       q;   t—i

I -g K co               12   including interest at the legal rate.
T3 ^ ® op
 g S U ^                13                                                  LAW OFFICE OF RONALD H. FRESHMAN

a? Tr!d
Oj     V0
                  CO
                  IT)
                  00    14   Dated: May 2, 2019
 O     "£         _•
 «  £ £5 £
 oj ?    "              15
                                                                     By:                  f/ /OC
 i-J   > en                                                                 Ronald H. Freshman, Esq.
• TH   CN

                        16                                                  Attorney for Plaintiff,
£
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  a
                                                                            KWADWO HWENSO ASARE-ANTWI
 §                      17
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                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
            Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 63 of 169 Page ID #:483




                                                                    VERIFICATION
                         1

                        2            I am the attorney for KWADWO HWENSO A SARE-ANTWI , Plaintiff in the above-

                        3    captioned matter. Such party is absent from the county of where such attorney has his offices

                        4    and I make this verification for and on behalf of Plaintiff for that reason. I am informed and
                        3    believe and, on that ground, allege that the matters stated in the foregoing document are true.
                         6           I declare under penalty of perjury under the laws of the State of California that the

                         7   foregoing is true and correct. Executed on May 2, 2019 at San Diego, California.

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       o                11                                 RONALD H. FRESHMAN
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            ON    00



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                                           VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 64 of 169 Page ID #:484




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      26                             EXHIBIT 1
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 65 of 169 Page ID #:485


                                                                                        Law Office
                                                                      Ronald H. Freshman, Esq.


                                                                     222 West 6th Street, Suite 400
                                                                     San Pedro, California 90731
                                                                               Office 858.756.8288
                                                                                  Fax 858.964.1728
                                                                           rhf@freshmanlaw. com
       February 22, 2019



       Wells Fargo Home Mortgage
       P.O. Box 10335
       Des Moines, IA 50306-0335




       RE:
       Kwadwo Asare-Antwi- QUALIFIED WRITTEN REQUEST


              WF Loan # 0484755871; Property:       12668 Chapman Ave., # 2305
                                                    Garden Grove, Ca. 92840
              WF Loan 0484580675; Property:         25463 Chipman Hill Crt.,
                                                    Moreno Valley, Ca. 92555
              WF Loan 0484774849; Property:         12668 Chapman Avenue, #2405
                                                    Garden Grove, Ca. 92840



       To Whom It May Concern,

       This is a Qualified Written Request pursuant to RESPA, 12 U.S.C. § 2605 et. seq., in which

       my client has both questions about the balances as stated on the above loans, and

       fees/charges that are unsubstantiated or authorized. My authorization to inquiry on behalf of

       my client, Mr. Asare-Antwi ("Client') is attached herein.



              For Loan ending in 4849. please provide the following information on the loan from

       the time period of January 1, 2014 to CURRENT DATE:

              1.   A complete accounting of each payment that was an underpayment on the loan

                   for principal and/or interest, resulting in a balance being transferred to the

                   principal balance of the loan.   Please provide the balance of the loan as of

                   December 31, 2018 and as of the current date.

              2.   The interest rate assessed for each monthly payment. Include the date of the rate

                   change.

                                                     1
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 66 of 169 Page ID #:486


                                                                                              Law Office
                                                                            Ronald H. Freshman, Esq.


                                                                          222 West 6th Street, Suite 400
                                                                           San Pedro, California 90731
                                                                                     Office 858.756.8288
                                                                                       Fax 858.964.1728
                                                                                 rhf@freshmanlaw.com
            3.    Please provide each date the borrower was noticed of the rate change.

            4.    The order in which each payment amount was credited to the monies due.

                  Specifically, identify      the order in which the payment is credited to interest,

                  principal, taxes, insurance or other fees and/or charges.         Identify each amount

                  credited per category, per payment.

             5.   Identify the identity of the owner of the loan, the address of the owner, and

                  provide the date on which this owner became the owner.

             6.   Provide evidence of notice to the borrower of the purchase of his debt by the

                  entity identified in # 4.

             7.   On the mortgage statement please provide evidence of each of the following

                  charges as assessed pursuant to YOUR statements.

                      a.   Identify each late payment assessed, the amount of the late payment

                           assessed and for which payment the late payment was assessed.

                      b.   Identify with specificity each "other charge", the date of its assessment,

                           and a clear description of what the charge is for. If the charge is the result

                           of a 3rd party invoice, provide evidence of that invoice.

                      c.   On August 20, 2018 the statement states advances are being made for

                           attorney fees and costs. State the vendor to whom these fees or costs were

                           paid, provide evidence of the invoice upon which you incurred the costs,

                           and provide the authorization for YOU to assess attorney fees or costs.

                           Please be advised that if you are relying upon the deed of trust, identify

                           the specific clause that allows your right to assess these fees and costs,

                           without a court order.        The total amount stated on this statement is

                           $1,644.25.    Please note the borrower disputes the right of you to assess

                           these fees.




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 67 of 169 Page ID #:487


                                                                                      Law Office
                                                                    Ronald H. Freshman, Esq.


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                                                                   San Pedro, California 90731
                                                                             Office 858.756.8288
                                                                                Fax 858.964.1728
                                                                         rhf@freshmanlaw.com




                  d.   On January 30, 2019 the statement states advances are being made for

                       attorney fees and costs.    State the vendor to whom these fees or costs

                       were paid, provide evidence of the invoice upon which you incurred the

                       costs, and provide the authorization for YOU to assess attorney fees or

                       costs. Please be advised that if you are relying upon the deed of trust,

                       identify the specific clause that allows your right to assess these fees and

                       costs, without a court order. The total amount stated on this statement is

                       $2,043.23.    Please note the borrower disputes the right of you to assess

                       these fees.

                  e.   Provide a complete accounting of the escrow for this loan.

                  f.   Provide evidence of any and all insurance premiums you have assessed

                       against the loan. Include the identification of the insurance company,

                       policy number, and evidence of the invoice for each insurance charge you

                       have assessed.

                  g.   Provide an accounting of all deferred interest, the date incurred, the

                       interest rate charge assessed, the increase in principal balance and

                       demonstrate that future interest payments did or did not assess interest on

                       the deferred interest.

                  h.   On 9/15/2016 you assessed a $25.00 "return fee". Provide evidence of

                       that fee and the basis of that fee.

                  i.   You filed a Notice of Default, stating that as of August 17, 2018

                       borrower was in default of $16,684.45. Provide a complete accounting of

                       all fees and charges which comprise the amount stated in the Notice of

                       Default. Borrower disputes he was in arrears by this amount and herein


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 68 of 169 Page ID #:488


                                                                                        Law Office
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                                                                      San Pedro, California 90731
                                                                               Office 858.756.8288
                                                                                  Fax 858.964.1728
                                                                            rhf@freshmanlaw.com




                  j.   states that this amount appears to include improper fees of at least

                       $1,644.50, improper late fees, improper telephone fees,

                  k.   Please identify where in the Note, or deed of trust, the payment options

                       YOU offer on the statements, is reflected in the contracts and agreed

                       upon by borrower.      Borrower disputes the payment option terms are

                       identified or agreed upon and therefor, disputes said options were done in

                       properly.

                  1.   On March 28, 2016, April 11 and 13, 2016, May 1, 2016, May 13, 2016,

                       June 2, 2016, June 6, 2016, July 29, 2016 YOU assessed telephone fees

                       in the amount of $12.00 to $20.00.     Demonstrate where in the statement

                       or in any notice, of Borrower's consent to be charged any fee for payment

                       by phone. Further, please identify all telephone payment fees assessed

                       against the loan, identify each payment made by this telephone payment

                       and the date it was credited to the account,

                  m. On June 6, 2016 you "reversed" two payments with different amounts for

                       principal, interest, and escrow; further, you state there is an unapplied

                       amount of $2,746.13.     Explain this discrepancy and when and how the

                       "unapplied amount" was applied to the account, and manner in which it

                       was applied.




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 69 of 169 Page ID #:489


                                                                                               Law Office
                                                                             Ronald H. Freshman, Esq.


                                                                           222 West 6th Street, Suite 400
                                                                            San Pedro, California 90731
                                                                                      Office 858.756.8288
                                                                                         Fax 858.964.1728
                                                                                  rhf@freshmanlaw.com
             For Loan ending in 0675. please provide the following information on the loan from

       the time period of January 1, 2014 to CURRENT DATE:

              1.   A complete accounting of each payment that was an underpayment on the loan

                   for principal and/or interest, resulting in a balance being transferred to the

                   principal balance of the loan.         Please provide the balance of the loan as of

                   December 31, 2018 and as of the current date.

             2.    The interest rate assessed for each monthly payment. Include the date of the rate

                   change.

             3.    Please provide each date the borrower was noticed of the rate change.

             4.    The order in which each payment amount was credited to the monies due.

                   Specifically, identify      the order in which the payment is credited to interest,

                   principal, taxes, insurance or other fees and/or charges.         Identify each amount

                   credited per category, per payment.

             5.    Identify the identity of the owner of the loan, the address of the owner, and

                   provide the date on which this owner became the owner.

             6.    Provide evidence of notice to the borrower of the purchase of his debt by the

                   entity identified in # 4.

             7.    On the mortgage statement please provide evidence of each of the following

                   charges as assessed pursuant to YOUR statements.

                       a.   Identify each late payment assessed, the amount of the late payment

                            assessed and for which payment the late payment was assessed.

                       b.   Identify with specificity each "other charge", the date of its assessment,

                             and a clear description of what the charge is for. If the charge is the result

                             of a 3rd party invoice, provide evidence of that invoice.

                       c.    The September and October 2018 statements state advances are being

                             made for attorney fees and costs. State the vendor to whom these fees or


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 70 of 169 Page ID #:490


                                                                                      Law Office
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                                                                   San Pedro, California 90731
                                                                             Office 858.756.8288
                                                                                Fax 858.964.1728
                                                                         rhf@freshmanlaw. com



                       costs were paid, provide evidence of the invoice upon which you incurred

                       the costs, and provide the authorization for YOU to assess attorney fees

                       or costs. Please be advised that if you are relying upon the deed of trust,

                       identify the specific clause that allows your right to assess these fees and

                       costs, without a court order. The total amount stated on this statement is

                       $1,281.75 and $37.40, respectfully. Please note the borrower disputes the

                       right of you to assess these fees and demands the right to validate the

                       amounts being assessed.

                  d.   Provide a complete accounting of the escrow for this loan.

                  e.   Provide evidence of any and all insurance premiums you have assessed

                       against the loan. Include the identification of the insurance company,

                       policy number, and evidence of the invoice for each insurance charge you

                       have assessed. Specifically, the statements shows an amount of $2,734.09

                       being assess, with the name "FARMERS" in the side. Provide the basis

                       of purchasing "hazard" insurance.

                  f.   Provide an accounting of all deferred interest, the date incurred, the

                       interest rate charge assessed, the increase in principal balance and

                       demonstrate that future interest payments did or did not assess interest on

                       the deferred interest.

                  g.   You filed a Notice of Default, stating that as of July 24, 2018 borrower

                       was in default of $25,402.81. Provide a complete accounting of all fees

                       and charges which comprise the amount stated in the Notice of Default.

                       Borrower disputes he was in arrears by this amount and herein states that

                       this amount appears to include improper late fees and charges, inflated

                       insurance fees.


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 71 of 169 Page ID #:491


                                                                                            Law Office
                                                                          Ronald H. Freshman, Esq.


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                                                                         San Pedro, California 90731
                                                                                  Office 858.756.8288
                                                                                     Fax 858.964.1728
                                                                               rhf@freshmanlaw.com




                      h.   Please identify where in the Note, or deed of trust, the payment options

                           YOU offer on the statements, is reflected in the contracts and agreed

                           upon by borrower.       Borrower disputes the payment option terms are

                           identified or agreed upon and therefor, disputes said options were done

                           properly.

                      i.   Please provide all statements YOU sent to borrower for the time period

                           from inception of the loan to current date. Electronic delivery is fine, and

                           preferred. (See below),

                      j.   Please identify all telephone payment fees assessed against the loan.

                           Identify the payment made by telephone and the date it was applied to the

                           account.




             For Loan ending in 5871. please provide the following information on the loan from

       the time period of January 1, 2014 to CURRENT DATE:

              1.   A complete accounting of each payment that was an underpayment on the loan

                   for principal and/or interest, resulting in a balance being transferred to the

                   principal balance of the loan.      Please provide the balance of the loan as of

                   December 31, 2018 and as of the current date.

             2.    The interest rate assessed for each monthly payment. Include the date of the rate

                   change.

             3.    Please provide each date the borrower was noticed of the rate change.

             4.    The order in which each payment amount was credited to the monies due.

                   Specifically, identify   the order in which the payment is credited to interest,




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 72 of 169 Page ID #:492


                                                                                            Law Office
                                                                         Ronald H. Freshman, Esq.


                                                                        222 West 6th Street, Suite 400
                                                                         San Pedro, California 90731
                                                                                  Office 858.756.8288
                                                                                       Fax 858.964.1728
                                                                              rhf@freshmanlaw.com




                  principal, taxes, insurance or other fees and/or charges.      Identify each amount

                  credited per category, per payment.

             5.   Identify the identity of the owner of the loan, the address of the owner, and

                  provide the date on which this owner became the owner.

             6.   Provide evidence of notice to the borrower of the purchase of his debt by the

                  entity identified in # 4.

             7.   On the mortgage statement please provide evidence of each of the following

                  charges as assessed pursuant to YOUR statements.

                      a.   Identify each late payment assessed, the amount of the late payment

                           assessed and for which payment the late payment was assessed.

                      b.   Identify with specificity each "other charge", the date of its assessment,

                           and a clear description of what the charge is for. If the charge is the result

                           of a 3rd party invoice, provide evidence of that invoice.

                      c.   On the August, 2019, September 2018, and January 2019 the statement

                           states advances are being made for attorney fees and costs. State the

                           vendor to whom these fees or costs were paid, provide evidence of the

                           invoice upon which you incurred the costs, and provide the authorization

                           for YOU to assess attorney fees or costs. Please be advised that if you are

                           relying upon the deed of trust, identify the specific clause that allows

                           your right to assess these fees and costs, without a court order. The total

                           amount stated on the statements are $625.00, $1,119.61, and $147.02.

                           Please note the borrower disputes the right of you to assess these fees.

                      d.   Provide a complete accounting of the escrow for this loan.




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 73 of 169 Page ID #:493


                                                                                        Law Office
                                                                      Ronald H. Freshman, Esq.


                                                                    222 West 6th Street, Suite 400
                                                                     San Pedro, California 90731
                                                                              Office 858.756.8288
                                                                                   Fax 858.964.1728
                                                                           rhf@freshmanlaw.com



                  e.   Provide evidence of any and all insurance premiums you have assessed

                       against the loan. Include the identification of the insurance company,

                       policy number, and evidence of the invoice for each insurance charge you

                       have assessed.

                  f.   Provide an accounting of all deferred interest, the date incurred, the

                       interest rate charge assessed, the increase in principal balance and

                       demonstrate that future interest payments did or did not assess interest on

                       the deferred interest.

                  g.   You apparently assessed and then waived a return fee of $125.00. Please

                       identify the basis of that fee, and why it is for $125.00

                  h.   You filed a Notice of Default, stating that as of July 30,2018 borrower

                       was in default of $19,472.82. Provide a complete accounting of all fees
                                                                                                      %
                       and charges which comprise the amount stated in the Notice of Default.
                                                                                                      I
                  i.   Please identify where in the Note, or deed of trust, the payment options

                       YOU offer on the statements, is reflected in the contracts and agreed

                       upon by borrower.        Borrower disputes the payment option terms are

                       identified or agreed upon and therefor, disputes said options were done

                       properly.

                  j.   Demonstrate where in the statement or in any notice, of Borrower's

                       consent to be charged any fee for payment by phone. Further, please

                       identify all telephone payment fees assessed against the loan,        Please

                       identify which payment was made by the telephone and the date the

                       payment was credited to the account.




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 74 of 169 Page ID #:494


                                                                                             Law Office
                                                                             Ronald H. Freshman, Esq.


                                                                           222 West 6th Street, Suite 400
                                                                            San Pedro, California 90731
                                                                                     Office 858.756.8288
                                                                                       Fax 858.964.1728
                                                                                  rhf@freshmanlaw. com


                       k.   On June 6, 2016 you "reversed" two payments with different amounts for

                            principal, interest, and escrow; further, you state there is an unapplied

                            amount of $2,746.13.        Explain this discrepancy and when and how the

                            "unapplied amount" was applied to the account, and manner in which it

                            was applied.



              Please provide a Beneficiary Statement with payoff amount for each of the above

       identified loans. Further, please provide a correct and true copy of each NOTE in its current

       state, and with any assignments or transfers of the loan or deed of trust. Please note under

       California Civil Code § 2943(b)(1) you are required to produce this Note, with any

       modifications made to the Note, within 21 days of this demand, along with the beneficiary

       statement.

              Please    direct   all   questions   to    my   Sr.   Paralegal,   Kimberly   Cromwell   at

       ksc@freshmanlaw.com. or she may be reached at 510.290.8928; additionally, I can be

       reached at rhf@freshmanlaw.com or at 858.756.8288. My mailing address is identified in

       the above header.



       Regards,




       Ronald H. Freshman,
       Attorney for Kwadwo Asare-Antwi



       Encl. Authorization
       CC: Kwadwo Asare-Antwi




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 75 of 169 Page ID #:495




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      26                             EXHIBIT 2
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 76 of 169 Page ID #:496
         i

     *




             WORLD SAVINGS SANK, FSB




                                             FIXED RATE MORTGAGE NOTE
                                                      PlCK-A«PAYMENTsm LOAN



                   THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY MONTHLY PAYMENT AND MY UNPAID
                   PRINCIPAL BALANCE. MY MONTHLY PAYMENT INCREASES AND MY PRINCIPAL BALANCE INCREASES ARE
                   LIMITED. THIS NOTE IS SECURED BY A SECURITY INSTRUMENT OF THE SAME DATE.



             LOAN NUMBER 0647714688                                                                date November 20, 2007

                                                                                                                                                         ;


             eoRROWER(S) KWADWO HWENSO ASARE-ANTWI, AN UNMARRIED MAN                                                          caitec 'Borrower
             and sometimes simply salted T ar "me "




              PROPERTY address 12888 CHAPMAN AVE UNIT 2305, GARDEN GROVE, CA B2840-4021




              i.    BORROWER'S PROMISE TO PAY


                  In return (at a loan that I have letjaivBtf, I promise to pay U S $308,000.00 , catted Trrmtapai,* plus interest, and any other
              charges incurred during the cows of the Soar., to jh» order o( the Lander The. Under is WORUJ SAVINGS SANK, FSB,
              A FEDERAL SAVINGS SANK, ITS SUCCESSORS ANO»r assignees, or anyone to whom tow Motors transferred




                   2. INTEREST

                    Interest will he charged on unpad Principal until the lull emawu or ptmeipai haa Dean paid t wit pay interest at tne yearly «»
              cl 8,250* Interest imH P* charged on tha Pesia ofa twelve with year and a thirty day nwnfh




                     The trtereet rate tepiwed try this Section 2 is the rate I wS pay both before and after any detail# describee tit Section T{») of
              Pes Note




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                                                                        Peg* 1                                            LENDER'S USE ONLY
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 77 of 169 Page ID #:497
        I.




                                                                                                                                  6011714688



              S,   PAYMENTS

                   (Ai     Time and Place of Payments
                   I wtl pay Principal and interest by making payments every month


                    I wttt make my monthly payments on me 1st day of each month begwwtg oh January t, 2006. J will make these payments
             evety month unfit I have part p) at! the Principal and mtemsJ, and (») any other charges described below that I may owe under this Mote,
             and <w} any chaiges that may be due under the Security instrument it, on December 1, 2037, t sttS owe amounts under Ota
             Note, t w«t pay these enwumtemSd! on thai date, wham b ceiled the "WWutty date *




                    I wilt malm my monthly payment at 1001 HARRISON STREET, OAKLAND, CALIFORNIA 84612 oral a different
             otace if required by napes torn the Lender


                    <B1    Amount of My Initial Monthly P ayments

                    Each of my moat monthly payments w» he ft the amount of U S 1 1 ,357.40 Th« amount mt change as described in Sections
             3(C) and 3(D) below % initial rrmmhty payment amount was selected by we how a range of initial payment amounts approved by
             Lender and nay not be. ewfessniio pay the. entire amount of interest accruing on the unpaid Principal balance



                    (C|    Payment Change Dates

                    My motthty payment wit change a* required by Section 3(0) below beginning an #w 1st day of January, 2000 and on that
             day every 12th month themaiter un« the 121st month, which wilt be the Iftat payment change Each of these dates is palled a
             "Payment Change Sate " My monthly payment wtl also Change »f ahy Cms Section 3(E) or 3(0) below roquhe* me to pay a different
              amount




                     t Witt pay the amount of my new mentor paymem each month beginning on eash Payment Change Date and as provided to
              Section 3(E) or 3(6) below



                     fO)    Calculation of Payment Changes

                     Subject » Sections 3(E) and 3(S), on the Payment Changs Date my monthly payment may be changed to an amount Afferent ft
              pay the unpaid principal balance together with Interest, including any deterred Interest as dasenbed tn Section 3(E) below, by the
              Maturity Data However, the amount by which my payment can be increased win not be more than 7-1/2% ot the then anting Pmwipai
              and interest payment This. 7-1 m kmrtatton t» called the "Payment Cap * The bandar wffi perform this Payment Change eaiailaton at
              toaal 80 but not more than SO days before the Payment Change Date




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                   SD2SJS0K»qS-4i       (BOS (JOOBOWH                BXB9 PICWUPAVMENTHSTE                                                        CA
                                                                                'Page!
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 78 of 169 Page ID #:498




                                                                                                                                  0047714688


                  ©          Deterred IMeraet; Additions to My Unpaid Rfinelpal
                From feme to time, nvy fwWt teymeM*. may be msuttaent to pay ***** amountof monthly interest that is Sua If this
          occurs, the amount of interest mat » not pawl eachmontti, catted "Deferred Interest." wrB he added to my Pmopat and wl8 accrue
          interest st tee same rata as the Principal

                   ©           limit on My Unpaid Principal; Increased Monthly Payment

                   My unpaid principal balance canmw exceed 125% at the Principal ! ongmalty borrowed, called "Prtncipai Balance Cap " if,
          as a result at the addition at deferred tfitereat % my unpaid principal balance, the Principal Balance Cap limitation would be
          exceeded on the date that my monthly payment la dtie, i wB instead pay anew monthly payment Notwithstanding Sections 3fC)
          and 305) above, 1 will pay a new (i»o#tty payment wtum ie etjuai to en amount thai vn» be auftteerit to repay my then unpaid
          principal balance in full on Bra Mammy Date toaather vwth irtaiest, « substanttaBy epusl Dayman*


                    |Q)         Final Payment Change

                    On the 10th Payment Chans* Date my monthly payment will ha calculated as described » Section 3(D) above except feat
          the Payment Cap imitation Will rtoi apply


                                                                                                                                                         i
                       (H)     Notice of Payment Changes

                 The under ymB tfeWar arms* to me a notice of any changes in the amount of my monthly payment, Called "Payment Change
           Notice,- before each Payment Change Date

             «.        FAILURE TO MAKE ADJUSTMENTS
                 If for any reason Under tails to malte an adjustment to the payment amount as described «i Bus Note, regardless of any
           nolrce requirement, I agree that Under may, won discovery or such fadum, then make the adjustments as if they had been made
           on lime I also spree not t» hold Lender responsible tar any damages ® m Which may result torn Underfe tadure to make the
           adjustment and to let the Under, it* option, appfy any excess monies which J roey have paid to peitot prepayment of unpaid
           principal

             t,        BORROWER S RIGHT TQ PREPAY

                       I have the right to make payments of Principal at any time before they are due, A payment of
           Prtncipai before ft is due is ceiled a ^Prepayment", When I mahe a Prepayment, I witt talt the
           Lender In writing that i am doing so. The tender may require that any partial Prepayments be
           made on the date my regularly scheduled payments are due. if J mates partial Prepayment, there
           wtM be no changes in the due dates or amount of my regularly scheduled payments unites the
           Lender agrees to those changes In writing, i may pay deferred interest on this Note at any time
           without charge and such payment wilt net be considered a "Prepayment" of Prtncipai. During the
           first 3 years of the loan term if I make one or more Prepayments that, in the aggregate, exceed
            S 5,000 in any calendar month, 1 must pay a prepayment charge equal to 2% of the amount such
            Prepayments exceed $5,000 in that calendar month. After the first 3 years of tire loan term, i may
            mate a full or partial Prepayment without paying any prepayment charge,




               f.       MAXIMUM LOAN CHARGES
                  H a taw, whito appB**te thta Iran tnawhish sets maximum Mm charges, rsftiatfy interpreted so test (he interest or other
            lean toefges wilebtto gcto be eateoted m connection wdh this tan exceed tea gsmftted taww, then <r) any such teen charge shall
            be reduoad by .fee amount necessary to reduce Die charge to th* pemrtted hmt,:and {«) any sum* already cojaeted trom m* which
             exceeded permitted Jwte'wa be refunded to me The Underway shoose So make ibtaretajtd by radiierng the PftttCteal I owe under
             this Not# or by making a tared payment to m If a refund reduces Prwapel. IU rodwben win oe Heated »e % pahiat PrepayweM


                  r.     BORROWER'S FAILURE TO PAY AS REQUIRED
                        (A |     Late Charges for Overdue Payments

                        H the Lander has riot reoervett Ore tat smourt Of sny monthly payment by (he end of 1 0 calender day# after fee dale ft » doe,
             I will pay a late charge to the Under The amount or the charge win be 6.00% o? my overdue payment of Pr,nopal and interest I

             wB Pa* few lata charge prompflybut only one* on each tail payment



             so2S3C30oadM)                (cat dorawia-ag              fweq picHyi.-bA'ftreNTNore                                                  ea,
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 79 of 169 Page ID #:499
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                                                                                                                                         OQ47714S88


                    <B)        DefeBtt
                    ! will be in dafauii if (i) ! do not pay the hit) amount of each monthly payment on the date <t is due, or (n) Ifcdto perform any si

            my prenusis or agreements under Bus Note or the Security Instrument, or (m) any statement made m my application (or (his lean
            was maternity fetee or misleading or it any statement in my sppltoalicn for this loan was materially talse or misleading by reason of

            my amission of ceftem tots, or (w) I hsye wade any other statement to Lender in eonnastlOrt with ths toan that ta materia 8y false or

            misleading


                     (CS       Notice of Detautt

                     « ! am m <**hA ta lender may send me a wnttan notice. catted "Notice of CtetButt," telling me thai If t da not pay the
            overdue amount by a certain data, the lender may require me to pay immediately the amount of Pnncipat WMfo has not been grid

            and a» the interest that 1 owe on that amount, plus any other amounts due under the Secudty instrument


                     ID)      1 No Waiver by lender
                     Even if, at a time whan I em m defeUB, the tender does riot returns me to pay immediate^ W Ml aa described above, the
            Lender will rell hay* the nght to do so in am W delbirjr at a later iirne




                     |E)        Payment of Lander's Costs and Expenses
                     The Lenta Wit have the fight to be paid back by hie for ah of its costs end evpensesift enfstoing th* Note to ta extent no!
             prohibted by applicable law Those eapemta may neMde. for example. reasonable attorneys foes andeoun costs

             8.       GIVING OF NOTICES

                      Unless apphcebte law mouses a diBersnt method, any notice that must ta gwan to me under Bus Note vutl be given toy
             desvenng | of by meWnpit by testes* mad to me or any Borrower at 26463 CHiPMAN HILL CT, MORENO VALLEY,
             OA 9J653-71 37, or at a single alternative address if I give toe Lender rtohce of my attemallve address t may give notice to
             Under of a chenge m my address in writing of by salting benders customer service telephone number provided on my Pitas
             statement . I may designate onto one me ding address at a Sans to' fltattaton purposes



                  Except as permitted above for changes ct address, any milrse Btat muR be given to ta lender under this Nate *fli Be given
             by mailing < by tSrsiotosa tad to the lender at the address stotetf in Section 3(A) above oral a different address if lam given a
             esilliBM Ukff's8e«s4 -r-a**- — — — s   -   - *.
             rMxtce or tnat tHfier&ra acarass




             8.        OBLIGATIONS OF PERSONS UNDER THIS NOTE
                       B more tan one penson signs bus Ncta. each person » Mly and personally obt®ated to ke*p all of the presnusa* made In Bus
              Note, trvcludng too promise to pay ta Ml amount owed Any person wno takes over these obl^ehons is atsb obligated to keep all

             of the promise made in Ms Note The Lender may enforce its rights under this Note against each person mtovrdustfy of agamsteli

             of us together This means thai any one of us may be required to pay ail of the amounts owed under this Note



             18,       WAIVERS

                       I and any other person who hasoMigstlons under IN Note waive the tights of presentment, notice or dishonor, notice of
             etcetera! ton, and pretest "Presentment" means ta Ttgnt to require ta Lenta to demand payment of smounte due                        "Notion of
             Dishonor* means ta nght to require tna Lender to g«a nonr.il to other persons tat amounts due have not been paid,



             11.       SECURED NOTE - ACCELERATION

                       to atabofl to ta pmlettara given to the Lenta under tore Not*, ta Security Instrument dated the same date as this Note
             gives ta Lenta security against which ft rosy proceed tf I do net keep ta promises which f mode m this Note That Security
             tnstnmwnt describes how end under what conditions ! may be required to make immediate payment to full oTalt (mounts I owe
             under this note an# tociutata toSbwig Paragraph 26:


                       AGREEMENTS ABOUT LENDER'S RIGHTS IF THEPROPERTY IS SOLO OR TRANSFERRED


                        Acceleration of Payment of Sums Secured, tender may, at Its option, fequu* immediate payment m Ml of ell Sums

                        Secured by this Security tnstfuinen! if all ot any part of the property, or if any agM in the Property. is sot® pi transferred
                        without landaus pdar wrttan permreston lander also may, at Us opSod, require immediate payment m lull if Bonow-ar »

                        not a natulan Peraon and a benetasl jptorset l» Borrower to «°ld or transferred without Leritas prior wntten
                        permission However. Lenta shall not require immediato payment m MMM* re prefnMed by Federal Law m effort on

                        ta pate ef ta Security Instrument



                        if tender exercises the option to fepuae totmedtate payment to Mi. LantawillgwinB noiujeofacceleiahon trifailto

                        pay SB Sum# Secured by tore Secunty Instrument immediately. Lenta may then or thereafter invoke any remedies

                        permitted by this Secunty instrument wltoato toltaf Wtato «r demand on ta




              SOZ53D amaPW)                                    |DOSfkOOfH!»-4t   rtXEO PfCK-A-PAYMENT NOTE                                               CA
                                                                                      A*»*e
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                                                                                                                                  0047714688


             11    GOVERNING LAW: SEVERABILITY
                   Thus Hole shall be governed by end construed under federal lew end federal rules end regulations including
                                                                                                                              those
            tor federally chartered saving* institutions, celled "Federal Uw." In the event that any of the terms or provisions of tins Nate
            are interpreted or eortaruetf bya.eoiM of Sfwspetenf jurisdiction to be vend, invalid pr unenforceable, such decfston
                                                                                                                                  shall affect only
            those provisions go construed or interpreted and shall not effect Ih* remaining provtsians of tha Hole


             15.   CLERICAL ERRORS

                   In Ihe avern the Lender at any time discovers that this Hate or toe Secuttly Instrument or tfy other document related to this
            loan, celled eoliectrmsiy the "loan Documents' contents an error which was ceased by a clerical madeira,
                                                                                                                     cancellation error,
            computer error, poMeg. error or simtor error, t agree, upon notice from toe tender, to reexeeufe any Loan
                                                                                                                            Documents thai are
            necessary to correct any such errerfs) and lefeo agree that I Will no! hold the Lender responsible for any da mage
                                                                                                                               to ma which may
            result (torn any such error


             14.   LOST, STOLEN OR fdUTttATED DOCUMENTS

                   If any of die Loan eacumwts am lost, stolen. mutWed or destroyed and toe Lender delivers to me an mdenwllliation m my
            favor, tagned by dm Lertoer, than. ) vwli sign and deliver to the Lender a Loan Dorximeht nfenbcal in femi end content which w«
                                                                                                                                            have      ;
            the effect of Ihe ordinal for si) purposes




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                                                                                    0047T1468B
                                                SIGNATURE PAGE


           NOTICE TO BORROWERS):

           BY SIGNING IMS NOTE YOU AGREE TO PAY A PREPAYMENT CHARGE IN CERTAIN
           CIRCUMSTANCES. PLEASE CAREFULLY READ THIS ENTIRE NOTE (INCLUDING THE
           PREPAYMENT PROVISION) BEFORE YOU SIGN IT.


                              WITNESS THE HAND(SJ AND S£AL(S) OF THE UNDERSIGNED




                              (PLEASE SIGN YOUR NAME EXACTLY AS IT APPEARS BELOW)


                                                 BORROWERS);




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      26                             EXHIBIT 3
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                                                              Loan Information Report
 Loan Number:                           708-0484755871                                                     Created:                                  02/27/2019
 Primary Borrower:                      KWADWO HWENSO ASARB-
                                        ANTWI




                          12668 CHAPMAN AVE UNIT 2305
                                                                                                                                                mm                               L        j
                                                                                                                                            PO BOX 10402
                          GARDEN PROVE. CA 92840-4021
                                                                                                                                MORENO VALLEY, CA 92552-0402


                        ^ZIZZZT;
 Loan Date                                            1 1720/2007                                                                                     INVESTMENT PROPERTY (NON
                                                                                                           Occupancy
                                                                                                                                                          . OWNER OCCUPIED)
 Loan Purpose                                        PURCHASE                                             Type of Loan                                CONVENTIONAL WITHOUT PM1
 Loan Amount
                                                     $308,000.00                                          Lien Type
                                                                                                                                                              FIRST MORTGAGE
Cgrrent Interest Rate
                                                      8,25000%                                            Owner/Assignee                                    WELLS FARGO BANK. NA
Term                                                 360 MONTHS                                           Loan Acquired
                                                                                                                                                                  10/01/2015
 Unpaid First Principal Balance
                                                     $321,027.64                                          Assumption Date
                                                                                                                                                                    N/A
Additional Unpaid Principal Balance
                                                          $000                                            Military Status
                                                                                                                                                                    N/A
Maturity Date
                                                      03/01/2038
Late Charge Amount                                     $137.40

8                                  SI                                                            ..-ya    -j-.       V— "T"'


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Due Date                                                                                                                                                                             n   ___

                                                      04/01/2018                                          Restricted Escrow Balance              ;                  $0,00
Scheduled Payment Amount                              53,336,89                                           Projected Interest Due
                                                                                                                                                                    N/A
    Subsidy or Other Interest Credit
                                                         $0,00                                            interest Short
                                                                                                                                                                    N/A
    Principal and Interest
                                                      S?,748.04                                           Interest Only                                             NO
    Escrow                                             $588.85                                            Prepayment Penalty
                                                                                                                                                                    NO
    Optional Products
                                                         $0.00                                            Ante Pratt
                                                                                                                                                                    NO
                                                                                                          Payment Freoucncy
                                                                                                                                                                  MONTHLY

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Nest Interest Rate Change                            10/28/2037                                           Margin
                                                                                                                                                                    N/A
Next Payment Change                                  01/01/2038                                           Index
                                                                                                                                                                    N/A.
Maximum Interest Rate
                                                         N/A

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                          w

                                          LOAN DENIED WORKOUT,
                                                                                                                                                                             ;
Current Status                          BORROWER HAS APPEALED AND
                                          APPEAL BEING REVIEWED
                                                                                                                                                          KARL SCHROEDER
Complete Loss Mitigation Package                                                                         Single Point of Contact (SPOC):              877-458-8417 EXT 1335427246
Re££!v^                                                  YES
                              :                                                                                                                                 (OFFICE)
Lass Mitigation Option Offered               NO OPTION OFFERED

                                               MR
                                                                                                           SH
                                                                                                           ill
Number of Days Past Due                              332 DAYS                                            [Bankruptcy Filed Date                                    N/A
Foreclosure Status                                       N/A                                             Bankruptcy Type
                                                                                                                                                                   N/A
Foreclosure Referred On
                                                         N/A                                             Bankruptcy Status                                         N/A
Sale Pate Scheduled
                                                        N/A



                                                                            Credit Reporting History
                    RBW.g'a
          DVM.RI PfiKll D                       STATUS RLl'ORl Fft
              02/12/2019
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              10/09/2018
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          Ifllilaoig'                                  83-150 DAYS                                                                         BO-RCt STARTED
              08/07/2018                               <. >
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              07 09,2015                              80- >0 DAYS D:
              06/07/2018                              80-90 DAYS D
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                                                                                                                                                            !
         WACHOVIA MORTGAGE, FSB




                                                                                                                                                cnmm-
                                                                                                                                                C'sLi   U
                                              FIXED RATI MORTGAGE NOTE
                                                       PICK-A-PAYMENTsm LOAN



               THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES WW MONTHLY PAYMENT AND MY UNPAID
                   PRINCIPAL BALANCE. MY MONTHLY PAYMENT INCREASES AND MY PRINCIPAL BALANCE INCREASES ARE
               LIMfTEO THIS NOTE 18 SECURED BY A SECURITY INSTRUMENT OF THE SAME DATE,



          LOAN NUMBER 0047680207                                                                    date' December 21, 2007


          BORROVk€R|S) KWADWO H ABARE-ANTWI, A SINGLE MAN                                        sonwtlmss celled "Borrowed and sometimes
          simply called T of "ma "




          PROPERTY ADDRESS 12068 CHAPMAN AVE # 2406, GARDEN GROVE, CA 928404021




          1.   BORROWER'S PROMISE TO PAY

               In return tor eloenshsU have received. I premise to pay U 5 $282,780,00 , tailed "Principal » plus Merest, and any otter
          oranges Incurred during the course at the toert, to *e order of (he Lender n» tender is WACHOVIA MORTGAGE, FSB,
          a FEDERAL SAVINGS BANK, Its SUCCESSORS AND/OR ASSIGNEES, or anyone to wham «w Note to Mnetooei




               A    INTEREST

               Interest wffi Its charged on unpaid Prlndpa! unto the rul amount or Primapel hea been paid I «St pay interest at the yearly ret*
          of 8 660* Interest will be chsrged on toe Emus of* twelve morith year and a thirty day month



                    The Interest ret* restored by tote Section 2 is the rete I wtif pay bolh before end alter any default
          thlehtote



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                     Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 87 of 169 Page ID #:507




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 91 of 169 Page ID #:511


                                                                                0047866207
                                           SIGNATURE PAGE


          NOTICE TO BORROWER^)"

          BY SIGNING THIS NOTE YOU AGREE TO PAY A PREPAYMENT CHARGE IN CERTAIN
          CIRCUMSTANCES, PLEASE CAREPUU-Y READ THIS ENTIRE NOTE (INCLUDING THE
          PREPAYMENT PROVISION} BEFORE YOU SIGN IT,


                          WITNESS THE HAND|S) AND SEAL(S) OF THE UNDERSIGNED




                          (PLEASE SIGN YOUR NAME EXACTLY AS IT APPEARS BELOW)



                                             BORROWER^}:




                                                            (Seal)


           KWADWO « ASAHE-AHWI




           SDtSJflOMJK)                                Pag« tcl 6                       CA
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 92 of 169 Page ID #:512




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      26                            EXHIBIT 5
      27

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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 93 of 169 Page ID #:513


                                                                                                                                   \          "             .! "-T
                                                                            Loan Information Report
     Loan Number:            ^                             708-0484774849                        Created:
    Primary Borrower:                                                                                                                    02/26/2019
                                                           RWADWO H ASARE-ANTW1




                                 12668 CHAPMAN AVE UNIT 240S
                                                                                                                                  PQ BOX 10402
                                 GARDEN GROVE, CA 92840-4021
                                                                                                                          MORENO VALLEY, CA 92552-0402



    Loan Date
                                                                       12/21/2007                Oceupancy                                INVESTMENT PROPERTY (NON-
    Loan Purpose                                                                                                                               OWNER OCCUPIED)
                                                                      PURCHASE                   Type of Loan
    Loan Amount                                                                                                                           CONVENTIONAL WITHOUT PM1
                                                                       8282,750.00               Lien Type
    Current Interest Rate                                                                                                                              FIRST MORTGAGE
                                                                       8.55000%                  Owner/Assignee
    Term                                                                                                                                          WELLS FARGO BANK NA
                                                                      360 MONTHS                 Loan Acquired
    Unpaid First Principal Balance                                                                                                                           10/01/2015
                                                                      $302,413.19                Assumption Date
    Additional Unpaid Principal Balanc
                                       e
                                                                                                                                                                 N/A
                                                                         moo                     Military Status
    Maturity Date                                                                                                                                                N/A
                                                                       04/15/2038
  Late Charge Amount
                                                                        S131.S0



  Due Bate
                                                                      03/15/2018                Restricted Escrow Balance
  Scheduled Payment Amount
                                                                       £3,086,39                Projected Interest Due
                                                                                                                                                              MM
     Subsidy or Other Interest Credit                                                                                                                          N/A
                                                                         80.00                  Interest Short
     Principal and Interest                                                                                                                                    N/A
                                                                       $2,630.03                Interest Only
     Escrow                                                                                                                                                      NO
                                                                       $456.36                  Prepayment Penalty
     Optional Products                                                                                                                                         m
                                                                        $0,00                   Auto Draft
                                                                                                                                                                 NO
                                                                                                                                                            MONTHLY
 Ba-**
           - ;       .       , -
 Nest Interest Rate Change
                                                                      12/12/2037                Margin
 Next Payment Change                                                                                                                                          EA.
                                                                      02/15/2038                Index
 Maximum Interest Rate
                                                                         N/A
                                                                                                                                                              m.

 "• - '                  *
                                                     LOAN DENIED WORKOUT,
                                                                                                                                                   mm
 Current Status                                    BORROWER HAS APPEALED AND
                                                     APPEAL BEING REVIEWED
 Complete Loss Mitigation Packag                                                                                                                   LEONOR MILLER
                                 e                                                             Single Point of Contact (SPQC):            877*458-84 17 EXT 1335520318
 E5££ivcd        ;                   '                                  YES
                                                                                                                                                    (OFFICE)
 Loss Mitigation Option Offered
                                                               NO OPTION OFFERED



 Number of Pays Past Due
                                                                      348 DAYS                 Bankruptcy Filed Pate
 Foreclosure Status                                                                                                                                           N/A
 Foreclosure Referred On
                                                                       jm.                     Bankruptcy Type
                                                                                                                                                              N/A
                                                                        N/A                    Bankruptcy Status
 Sale Pate Scheduled                                                                                                                                          N/A
                                                                        N/A



                                                                                 Credit Reporting History
|
                02/12/2019                                                                                                              - -        • r;
     "tr                                                               84-180 DAYS
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                12/07/2018
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                06/07/2018
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                                                                      78-60 DAYS D
          Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 94 of 169 Page ID #:514




                                  1    Ronald H. Freshman, Esq. (SBN 2251
                                                                          36)
                                       LAW OFFICES OF RONALD
                                                             H. FRESHMAN
                              2        222 West 6th Street, Suite 400
                                       San Pedro, CA 9073 1
                              3        Telephone: (858) 756-8288
                              4        Facsimile: (858) 964-1728

                              5        Attorney for Plaintiff Kwadwo Hwe
                                                                         nso Asare-Antwi

                              6

                              7                         SUPERIOR COURT OF THE
                                                                              STATE OF CALIFORNIA

                              8                                           COUNTY OF ORANGE

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-£                                    KWADWO HWENSO ASARE-ANT
 c«                                                           WI,                    Case No.:       30-2019-01064444-CU-OR-CJC
         ©
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£ 3                                                    Plaintiff,                    Assigned:      Hon. Judge Robert Moss
     •   +*   CO   00
T        'S   K    00
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  ^ on oo                                                   v.
TOl      -g <J ^6
 c § u K                 13                                                         VERIFIED FIRST AMENDED
                                                                                                           COMPLAINT
3 & -2" »                             WELLS FARGO, N.A.; QUALITY                    FOR DAMAGES
& £i, TJ
Mh        [g
       OJ S2-            14           LOAN SERVICE CORPORATIO
                                                               N;
                                      CLEAR RECON CORP; DOES 1                      1) Declaratory Judgment
              £    H     15                                    throu          gh
                                      5 inclusive herein,                           2) Intentional Misrepresentation
                         16                                                         3) Cancellation of Instruments
O ~                                                  Defendants.                    4) Violation of Civil Code § 2924
§                        17
TO                                                                                  5) Slander of Title
yJ
                                                                                    6) Breach of Contract/Estoppel
                         18
                                                                                    7)     Violation of Bus. & Prof. Code §
                                                                                                                            17200 et.
                         19                                                                seq.

                                                                                    8) Violation of Homeowner Bill of Righ
                                                                                                                           ts
                        20                                                          9) Breach of Covenant of Good Faith
                                                                                                                        and Fair
                                                                                       Dealing
                        21

                        22                  Plaintiff, KWADWO HWENSO
                                                                     ASARE-ANTWI (hereinafter "Pla
                                                                                                   intiff'), hereby

                        23        complains, alleges, and affirms in
                                                                     his Verified First Amended Com
                                                                                                    plaint for Damages the
                        24        following:

                        25                                              I. STATEMENT OF CASE

                        26                  1.     This is a pre foreclosure matter in
                                                                                         which the party threatening foreclosur
                                                                                                                                  e is the
                                  servicer, Wells Fargo, N.A. ("We
                        27                                              lls Fargo"), who has practiced unfa
                                                                                                               ir and deceptive business
                                  practices in first, collecting on a nega
                        28                                                  tive amortization loans that omitted
                                                                                                                  material terms as to the



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                                                  VERIFIED FIRST AMENDED
                                                                         COMPLAINT FOR DAMAGES
              Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 95 of 169 Page ID #:515




                              1     true nature of the loans, falsely alleging it is the beneficiary
                                                                                                     when in fact it is not, and by breaching

                              2     the deed of trust by failing to comply with federal and state laws.

                              3                2.     Plaintiff currently holds three different loans in which Wells
                                                                                                                     Fargo is the servicer.
                              4    Two of the properties are investment, income producing
                                                                                          properties, one is located in Orange

                              5    County and one in Riverside; the 3rd is Plaintiffs United States primary
                                                                                                            residence in Orange
                              6    County, in the State of California. This complaint is specific
                                                                                                  to the two Orange County properties
                              7    (1 primary and 1 investment).

                              8            3.        The two loans, herein referenced as # 2305 with a loan identific
                                                                                                                      ation ("id") ending
                              9    in 5871, and #2405 with a loan id ending in 4849, were originat
 e                                                                                                 ed by World Savings, FSB, and
  re

 s                        2Q       Wachovia Mortgage, FSB, respectively.
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                          11               4.        Among the issues are improper fees and charges, negative
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                                                                                                              amortization of what
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                    00    22       was sold to Plaintiff as a "fixed rate" mortgage but is in fact a loan in which
—       CA
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              On 00
                                                                                                                   the borrower defers
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                                   interest, increasing the principal balance up to 125% of
|J5g                     13                                                                 the original principal balance, and
 ©      CA     O
Pi                  in             improper application of the principal and interest payments.
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 » £ S &                                   5.         Wells Fargo filed a notice of default without exploring alternat
                         15                                                                                            ives to foreclosure
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:r"                               and included a declaration to each of the Notices of Default
53 a                     16                                                                    , falsely alleging it had attempted to
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                                  explore alternatives with Plaintiff prior to filing the Notice
£                        17                                                                      of Default but was unsuccessful in
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l-J                               reaching Plaintiff. Further, the NOD's allege Wells Fargo
                         18                                                                 is the beneficiary, which Plaintiff

                                  disputes. Plaintiff seeks a rescission of each Notice of Default
                         19                                                                        .

                                          6.         Wells Fargo has used incorrect income amounts in evaluat
                         20                                                                                  ing Plaintiff for a
                                  modification; Plaintiff sent a letter stating he wanted to appeal
                         21                                                                         the denial of the modification,
                                  pointing out the incorrect income amounts and requesting
                                                                                           an explanation. In response, Wells
                         22
                                  Fargo denied the appeal stating it did not have to revise the incorrec
                                                                                                         t income or explain its errors.
                         23
                                          7.         Plaintiff herein seeks injunctive relief from Wells Fargo, Clear
                                                                                                                      Recon and Quality
                         24
                                  Loan Services from continuing with the foreclosures until
                                                                                            such time this Court can consider and
                         25
                                  evaluate the deceptive manner in which Wells Fargo has manage
                                                                                                d the loans.
                         26
                                          8.         Plaintiff is prepared to pay adequate protection payments to
                                                                                                                  protect his interest
                         27
                                  pending the outcome of this litigation.
                         28



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                                                    VERIFIED FIRST AMENDED COMPLAINT FOR DAMA
                                                                                              GES
            Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 96 of 169 Page ID #:516




                               1                 9.      Of note the original complaint was filed
                                                                                                  with a second complaint in Riverside, as
                               2     to the property in Riverside. There was an intern
                                                                                       al miscommunication as to the primary reside
                                                                                                                                   nce
                               3     which was misidentified as the Riverside
                                                                              when in fact, it is Unit # 2305 in Orang
                                                                                                                       e County.
                               4     Therefore, this complaint has been revise
                                                                               d to properly identify the correct primary
                                                                                                                          residence of
                               5     Plaintiff.

                               6                                              II. JURISDICTION

                               7             10.        This court has subject matter jurisdiction
                                                                                                   over all matters alleged herein.

                              8              11.        This action is properly filed as an unlimited
                                                                                                      civil action seeking damages in excess
                              9      of $25,000.
  e

 a                        10                 1 2.       The court has jurisdiction over Plaintiffs and
                                                                                                       all named Defendants as corporations
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 S o                      11        doing business in the State of California or
                                                                                 have potential interest in a real property locate
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J      '3 N CO                      City Murrieta, County of Orange in the
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                          12                                               State of California.
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                          13                                                     III. VENUE

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                 ^        14                13.        Venue in the Superior Court of Orange Coun
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                                                                                                  ty is proper because the subject real
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                          15        properties and all actions material to this comp
 ft    > co                                                                          laint occurred and are occurring in Orange
                                                                                                                                County.
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Mh     cm
Mh     cm                 16                                            IV. SUBJECT PROPERTY
O
5                         17                14.        The first Subject property is commonly know
                                                                                                   n as 12668 CHAPMAN AVE UNIT
J
                         18         2305, GARDEN GROVE, CA 92840-402
                                                                     1. (Hereinafter "2305" or "Primary Resid
                                                                                                              ence.")
                         19                 15.        The second Subject Property is commonly
                                                                                               known as 12668 CHAPMAN AVE
                         20        UNIT 2405, GARDEN GROVE, CA 92840
                                                                    -4021 (Hereinafter "2405")

                         21                                                     V. PARTIES

                         22                16.         Plaintiff KWADWO HWENSO ASARE-A
                                                                                       NTWI ("Plaintiff'), is an individual
                         23        who resides in England, with his United States
                                                                                     primary residence in Orange County, ident
                                                                                                                                 ified as
                         24        Unite 2305, who at all times relevant herei
                                                                               n is the true and rightful owner of the real
                                                                                                                            properties at
                         25        issue in this litigation. These are Plaintiffs
                                                                                   primary US residence and an investment
                                                                                                                               property
                         26        which produces rental income and both are
                                                                                part of Plaintiff s retirement assets.

                         27                17.        Wells Fargo, N.A. is a national bank which
                                                                                                 Plaintiff is informed and believes is
                         28        headquartered in San Francisco, California.



                                                                                       -3-
                                                      VERIFIED FIRST AMENDED COM
                                                                                PLAINT FOR DAMAGES
            Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 97 of 169 Page ID #:517




                        1           1 8.    Quality Loan Services is a California Corporation.

                        2           19.    Clear Recon is a California Corporation.

                        3          20.     Plaintiff does not know the true names and capacities of the defendants sued herein

                        4   as DOES 1 through 5 ("DOE Defendants"), inclusive, and therefore sues said DOE Defendants

                        5   by fictitious names. Upon information and belief Plaintiff avers that each of the DOE Defendants

                        6   is contractually, strictly, negligently, intentionally, vicariously liable or otherwise legally

                        7   responsible in some manner for the acts and omissions described herein. Plaintiff will amend this

                        8   complaint to set forth the true names and capacities of each DOE Defendant when same are

                        9   ascertained.
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 s                     10          21 .    Plaintiff is informed and believes that Defendants and DOE Defendants 1 through
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ti,
       Q               11   5, inclusive, and each of them, are and at all material times have been, the agents, servants or
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Ed •! £ gg             12   employees of each other, purporting to act within the scope of said agency, service or employment
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T3
 rt    V < &           13   in performing the acts and omitting to act as averred herein.     Defendants and Doe Defendants
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P£3          M
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                  in
                  GO   14   inclusive, are hereinafter collectively referred to as the "Defendants."
 o     -S ^
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 ai    <     5 ^
             $ £       15                   STATEMENT OF FACTS and GENERAL ALLEGATIONS
 3 > to
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5 a                    16          A.      LOAN for # 2305 identified as Loan Ending in 5871
o
 £                     17          22.      The #2305 loan is titled "Fixed Rate Mortgage Note- Pick-A-Payment Loan."
 rt
hJ
                       18   The original principal balance, on November 20, 2007 was $310,000 with an interest rate of

                       19   8.250%.

                       20          23.     The original lender identified on the Note and Deed of Trust ("DOT") is World

                       21   Savings, FSB; the trustee is identified as Golden West Savings Association Service Co., a

                       22   California Corporation ("Golden West".)

                       23          24.     The initial monthly payment was $1,357.40 and called for a payment change


                       24   starting on the 1st day of January 2009.

                       25          25.     The payment change includes payment of the interest due, a portion of the unpaid

                       26   principal, and any "deferred interest" which would be added to the principal balance of the loan

                       27   for "underpayments" made when the Plaintiff selected the minimum payment.

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                                           VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
            Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 98 of 169 Page ID #:518




                             1            26.       The Note allows for any "unpaid interest" to be added to the principal balance and

                             2    will accrue interest at the same rate as the principal.

                             3            27.       The Note omits any terms describing any "pick a pay" option(s) or the legal and

                         4        financial effect of such pick a pay options.

                         5                28.       The DOT states the payments will be applied first to any "prepayment charges",

                         6        second, to advances made by the servicer; third, amounts due under paragraph # 2 (escrow);

                         7        fourth, interest due; fifth to deferred interest, and sixth, to principal due.

                         8                29.     The DOT omits any terms describing any "pick a pay" option(s) or the legal and

                         9        financial effect of such pick a pay options.

 B                      10                30.     At no time has Plaintiff been notified by any entity that his loan was purchased
 to
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UL.
   <=>                  11        and that entity was and is his new creditor.
       Q)   r-H


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                        12               31.      On February 22, 2019 Plaintiff sent Wells Fargo a Qualified Written Request, and
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                  N.
                        13        specifically requested that Wells Fargo provide a copy of the Note with any modifications made

C4                IT)
                        14       thereon, pursuant to Civil Code § 2943(b)(1). (A true and correct copy of the QWR is attached
            V, QO
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                        15       herein as Exhibit 1)
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Mh     CN
       <N               16               32.     In response, Wells Fargo sent a copy of the Note. (A true and correct copy of the
O
5                       17       Note is attached herein as Exhibit 2)
-J
                        18               33.     This Note specifically identifies payment to World Savings, FSB and there are no

                        19       indorsements or allonges to the Note.

                        20               34.     Wells Fargo's "Loan Information" states that Wells Fargo acquired the loan on

                        21       October 1, 2015. (A true and correct copy of the Loan Information is attached herein as Exhibit

                        22       3)

                        23               35.     Wells Fargo stated it is the "assignee" of the Note, but provided no evidence of

                        24       this assignment.

                        25               36.     Plaintiff specifically requested the Beneficiary Statement, under § 2942(b)(1),

                        26       which Wells Fargo was and remains, non-responsive.

                        27       III

                        28       III


                                                                                    -5-

                                                VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                           1            37.      Plaintiff specifically requested that Wells Fargo provide evidence of notification

                           2     to Plaintiff that his loan had been purchased with the identity of the new creditor, as required

                           3    under 15 U.S.C. § 1641(g).    No evidence of this notice was provided.

                           4            38.      Plaintiff specifically sought details of "other charges" with the date of its

                           5    assessment and basis of the assessment. Nothing was provided. Plaintiff has been charged

                           6    $3,63 1 .49 in "other charges" on the loan.

                       7                39.     Plaintiff specifically sought evidence, and the basis of, attorney fees being

                       8        assessed against the loan in the amount of $1,991 .23 (this amount is subject to change.) These

                       9        fees include "recording fees" of $93.00 and $98.00 respectively. Wells Fargo was non responsive.
c

6                     10                40.      Plaintiff specifically sought an accounting of each payment that had been added
     O
                      11        to the principal balance, which has risen from $308,000 to $321,927.64.       Wells Fargo was non-
£ ^Qj
^          rH
J    .ti         CO
I    3     rs    co
W    r5 o N           12        responsive. It provided an accounting of fees and charges for the time period of January
     Vj    o\    co
                 00
                                                                                                                         2014 to
     •U

« ! 3 k
     -
                      13        current date as requested, but ignored the request specific to the increase in the principal
                                                                                                                             balance.
® CO        P art
                 LD
           -a    00   14               41 .    Plaintiff specifically requested a breakdown of the arrears as alleged in the Notice
"O 35 Oh
03   £      e
                 H    15       of Default. Wells Fargo was non responsive.
41 £       C/3


                      16               42.     On August 14, 2018 Wells Fargo had its agent, Clear Recon, record a Notice of
o

I                     17       Default. This Notice of Default states it is being signed on behalf of the trustee, Clear
                                                                                                                         Recon, but
J
                      18       the trustee identified in the deed of trust is Golden West.

                      19               43.      Plaintiff disputes this declaration in that Wells Fargo made no such attempts by

                      20       telephone or letter, Wells Fargo recorded the Notice of Default with a declaration that contains

                      21       deceptive statements and Wells Fargo failed to comply with the California Homeowner
                                                                                                                   Bill of

                      22       Rights ("HBOR") as detailed below

                      23               44.     Plaintiff did reach out to Wells Fargo to apply for a modification. Plaintiffs

                      24       monthly income is $27,000.00 per month to which he has four mortgages- 3 that Wells Fargo

                      25       services, and one that is serviced by a different servicer.

                      26               45.     Inexplicably, in evaluating and denying the modification of the predatory loan,

                      27       Wells Fargo used an incorrect income amount of $17,142.00.

                      28       III



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                            1            46.      Plaintiff appealed, stating that Wells Fargo had misstated his monthly income,

                            2     requesting that Wells Fargo explain the discrepancy and consider the correct amount. Wells
                                                                                                                             Fargo

                            3     refused to explain why it was only considering $17,000 of the $27,000 income claimed and in
                                                                                                                              so
                           4     doing, has unfairly denied Plaintiffs modification of the loan based on incorrect NPVs.

                           5             47.     During this time, while his modification was completed and being reviewed, Wells

                           6     Fargo representatives assured Plaintiff any trustee sale was being cancelled or suspended,
                                                                                                                            but in

                           7     fact, they were postponed and continued to the following month. Plaintiff alleges
                                                                                                                   the terms

                           8     "cancelled" and "suspended" indicate no further acts towards selling the property would
                                                                                                                         occur

                        9        but in fact, the postponement of the sales indicates the trustee was moving forward with
  c                                                                                                                       selling

  s                    10        the property on the new date and that Wells Fargo was in fact dual tracking Plaintiff while
 tfi
 Qj    O
 u
fT ,
       o
       ^
                       11        continuing with a trustee sale while his modification application was under review.
             r-(
M      .tS   P
            00
M       3 N oo         12
^      r5 O (N                          48.     Plaintiff alleges a substitution of trustee was recorded, but this substitution
       ^ ON 00

 « a| 5i g
 «
                       13        improperly and falsely alleges Wells Fargo is the party with authority to substitute the trustee.
 ® 55 P" oo
PS                     14
Ml
             1R oo                      49.     Wells Fargo had noticed the property for sale for April 23, 2019.         There is a
 o     to ^ ~
                       15       temporary restraining order in place and the sale is being postponed until July 2019.
 3 > c/}
• pH   CNJ

a a                    16               50.     Plaintiff disputes that Wells Fargo is the valid, legal creditor and absence any
O
5                      17       indorsement on the Note, herein identifies Doe 1 as the actual creditor which has, in violation
                                                                                                                                of
!-l
                       18       state, federal and ^ 15 of the deed of trust, concealed itself.

                       19               B.       LOAN for # 2405 identified as Loan Ending in 4849

                       20               51.      The #2405 loan is titled "Fixed Rate Mortgage Note- Pick-A-Payment Loan."

                       21       The original principal balance, on December 21, 2007 was $282,750 with an interest
                                                                                                                   rate of

                       22       8.2550%.

                       23               52.    The original lender identified on the Note and Deed of Trust ("DOT") is Wachovia

                       24       Mortgage, FSB.

                      25                53.    The initial monthly payment was $1,285.51 and called for a payment change

                      26        starting the 15th day of February 2009.

                      27        III

                      28        III



                                                                                  -7-

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                               1             54.     The payment change would include payment of the interest due, a portion
                                                                                                                             of the

                               2    unpaid principal, and any "deferred interest" which would be added to
                                                                                                          the principal balance of

                               3    the loan.

                               4            55.     The Note allows for any "unpaid interest" to be added to the principal balance
                                                                                                                                   and
                               5    will accrue interest at the same rate as the principal.

                               6            56.     The Note omits any terms describing any "pick a pay" option(s) or the legal
                                                                                                                                effect
                               7    of such pick a pay options.

                               8            57.     The DOT states the payments will be applied first to any "prepayment charges",

                               9    second, to advances made by the servicer; third, amounts due under
 ts                                                                                                    paragraph # 2 (escrow);
 ft

 S                         10       fourth, interest due; fifth to deferred interest, and sixth, to principal due.
-£S
 5ft
       O
       o
                          11                58.     The DOT omits any terms describing any "pick a pay" option(s) or the legal
        QJ       t
                                                                                                                               effect
1 1 g s
iQ ®
                          12        of such pick a pay options.
      ®

s tAi?                    13                59.       At no time has Plaintiff been notified by any entity that his loan was purchase
                                                                                                                                      d
® t/1        o 00
P*           y
                     in
                     oo   14       and that entity was and is his new creditor.
       SO
o      %             _i
8 >
U
  | CO§ H                 15               60.       On February 22, 2019 Plaintiff sent Wells Fargo a Qualified Written Request,
•m     (N

                          16       and specifically requested that Wells Fargo provide a copy of the Note
O                                                                                                         with any modifications

                          17       made thereon, and pursuant to Civil Code § § 2943(b)(1). (Exhibit 1)
fS


                          18               61.      In response, Wells Fargo sent a copy of the Note. (A true and correct copy
                                                                                                                               of the
                          19       Note is attached herein as Exhibit 4)

                          20               62.        This Note specifically identifies payment to Wachovia Mortgage, FSB and
                                                                                                                              there
                          21       are no indorsements or allonges to the Note.

                          22               63.       Wells Fargo's "Loan Information" for the loan ending in 4849, states that
                                                                                                                               Wells
                          23       Fargo acquired the loan on October 1, 201 5. (A true and correct copy of
                                                                                                            the Loan Information is

                          24       attached herein as Exhibit 5)

                          25               64.       Wells Fargo stated it is the "assignee" of the Note, and provided a letter
                                                                                                                                to the
                          26       OCC stating it (Wells Fargo) was applying for an application to convert
                                                                                                           Wachovia Mortgage,

                          27       FSB, North Las Vegas, Nevada with and into Wells Fargo Bank, National
                                                                                                         Association. This letter

                          28       is dated November 1, 2009.


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                                                   VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                           1            65.    Plaintiff specifically requested that Wells Fargo provide evidence of notificatio
                                                                                                                                 n
                           2    to Plaintiff that his loan had been purchased with the identity of the
                                                                                                       new creditor, as required

                           3    under 15 U.S.C. § 1641(g).    No evidence of this notice was provided, as required under federal

                           4    law.

                           5            66.    Plaintiff specifically sought details of "other charges" with the date
                                                                                                                      of its

                           6    assessment and basis of the assessment. Nothing was provided. Plaintiff
                                                                                                        has been charged

                           7    $3,687.98 in "other charges" on the loan.

                           8            67.    Plaintiff specifically sought evidence, and the basis of, attorney fees
                                                                                                                       being
                           9    assessed against the loan in the amount of $1,644.25. Wells Fargo was non
 e                                                                                                        responsive.
 rS
 B                     10               68.     Plaintiff specifically sought an accounting of each payment that had been
X                                                                                                                         added
 QJ   O

£ 3                   11       to the principal balance, which has risen from $282,750.00 to $302,413.19 as
      d)   r-H
                                                                                                            of January 1, 2019.
J     £    p     oo
T     'S   N     oo
^     r5 O <N         12       Wells Fargo was non responsive.
      ^    on    00
       v < v6
                      13               69.      Plaintiff specifically requested a breakdown of the arrears as alleged in the
|!UR
   2 00    ft 10
                                                                                                                              Notice

            K OO      14       of Default. Wells Fargo was non responsive.
 O    to         —•
 2 >       « H        15               70.     On August 14, 201 8 Wells Fargo had its agent, Quality Loan Service Corporat
 2 > CD                                                                                                                     ion,
;>H   <N
Si    ™
M-i
                      16       record a Notice of Default. This Notice of Default has a declaration which
O                                                                                                         declare that Wells
§                     17       Fargo attempted to contact Plaintiff, prior to recording the notice
ts                                                                                                 of default, to discuss
X .
                      18       alternatives, but was unsuccessful.

                      19               71.     Plaintiff disputes this declaration in that Wells Fargo made no such attempts
                                                                                                                             by
                      20       telephone or letter, and that Wells Fargo recorded the Notice of Default
                                                                                                        with a declaration that

                      21       contains false and deceptive statements.

                      22               72.    Plaintiff did reach out to Wells Fargo to apply for a modification. Plaintiffs

                      23       monthly income is $27,000.00 per month.

                      24               73.    Inexplicably, in evaluating and denying the modification of the predatory
                                                                                                                        loan,
                      25       Wells Fargo used an incorrect income amount of $ 1 9,500.00.

                      26               74.    Plaintiff appealed, stating that Wells Fargo had misstated his monthly
                                                                                                                     income,
                      27       requesting that Wells Fargo explain the discrepancy and consider the correct
                                                                                                            amount. Wells Fargo

                      28



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                                              VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                        1     refused to explain why it was only considering $19,500 of the $27,000 claimed
                                                                                                            as income and in

                        2     so doing, as unfairly denied Plaintiff modification of the loan.

                        3             75.     Wells Fargo has noticed the property for sale for April 22, 2019.          Of note, the

                        4     Notice of Trustee Sale fails to identify the property in that it states the address
                                                                                                                  but fails to identify

                        5     the unit number. Civil Code § 2924f(b)(l) requires a true and correct identificat
                                                                                                                ion of the

                        6     property; this notice is subject to being adjudicated as void. (A true and correct
                                                                                                                 copy of the

                        7    original Notice of Trustee Sale, which was continued, is attached herein as Exhibit
                                                                                                                 6)

                        8             76.     On April 15, 2019 Plaintiff sent Quality Loan Services noticing them of this error

                    9        with the Notice of Trustee sale and requesting they cease and desist from going
 s=                                                                                                          forward with the
«s

s                  10        sale based on the defective Notice          of Trustee     Sale.   Quality Loan
J5                                                                                                                Servicing remains
qj    o
                   11        nonresponsive. (A true and correct copy of the Cease and Desist Letter is attached
£ ^                                                                                                             herein as
x -3 R 28          12        Exhibit 7.)
S £ 8 S3
      -jf <r \6
      a   u K      13                77.     As of the filing of this complaint, Quality Loan Services has remained non
P     e
P     &

^ ^       a; £
                   14        responsive.
o ts ^ j
          s
               H   15                78.     As a result of the deceptive nature of the loan, and omissions made in the loans,
K £       en
.a
£ a
o
                   16        Plaintiff was not aware of the "negative amortization" features, which were
                                                                                                         buried in the "fine

                   17       print" of the Note.
«s


                   18                79.     Plaintiff, based on the statements made by Wells Fargo, and absence of any

                   19       indorsement on the Note, disputes that Wells Fargo is the actual creditor and herein
                                                                                                                 identifies Doe
                   20        1 as an entity that has concealed itself in violation of federal and state laws and
                                                                                                                 ^ 15 of the deed

                   21       of trust which requires that the deed of trust be administered and governed by
                                                                                                           state and federal
                   22       law.

                   23                80.     Plaintiff alleges that in review of the responses to the QWR, Wells Fargo has

                   24       improperly inflated the principal balance of each loan in excess of $20,000 per
                                                                                                            loan, including
                   25       but not limited to unauthorized other charges, overcharges for force placed
                                                                                                        insurance, and
                   26       improper deferment of interest payments.

                   27       ///

                   28       III


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                                            VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                              1       FIRST CAUSE OF ACTION: DECLARATORY JUDG
                                                                              MENT/INJUNCTIVE RELIEF

                             2                                               (ALL DEFENDANTS)

                             3                 81.      Plaintiff incorporates herein the allegations made in the
                                                                                                                  preceding paragraphs,
                             4      inclusive, as though fully set forth herein.

                             5                 82.     Plaintiff brings this claim under Code of Civil Proc.,
                                                                                                              § 1060 in which Plaintiff

                             6     seeks a declaration of his rights and the rights of defendants.

                             7                83 .     As detai led above, a controversy has arisen between Plainti
                                                                                                                    ff and defendants, each
                             8     of them.

                             9                84.     A controversy exists between Plaintiff and all defenda
  ss                                                                                                         nts, as to true ownership of
  rt

  a                      10        the loan and the rights of defendants to be demanding a
X                                                                                          payment, or conducting a trustee sale.
  X
  QJ   O
                         11                   85.     Specifically, Wells Fargo alleges it acquired each loan
til
        u    T-H
                                                                                                              on October 1, 2015 but it
as -1 S
S 4 8 s$
                         12        never notified Plaintiff it had purchased the loan in violatio
                                                                                                  n of 15 U.S.C. §1641(g).

 115:?                   13                   86.     It is generally known, but not evidenced, that Worlds
                                                                                                            Savings was acquired by
 P     c/)   O     00
&            Jh
                   LO
                         14
          V, CO                    Wachovia, and in turn, Wachovia was acquired by Wells
u,j    SO
                                                                                         Fargo.
 o     -5 Ph
 8 g § 3                15                    87.     Plaintiff alleges that any purchase of the Subject Loans was
 y > Cfi                                                                                                           by acquisition and not
J!-1   CM
Mh     cm
m-i    <n               16         by "merger" such that the identity of the Noteholder in due
o                                                                                              course with rights to enforce the Note
 §                      17        is a Doe Defendant and remains unknown to Plaintiff.
 rt
i—I
                        18                    88.     Plaintiff disputes that Wells Fargo acquired the
                                                                                                       loans and as such, is the

                        19        beneficiary under California law, or under either DOT
                                                                                        with rights to exercise the power of sale

                        20        by declaration a default and election to sell. Plaintiff dispute
                                                                                                   s that Wells Fargo is the beneficiary

                        21        under DOT or represents the beneficiary under the deed
                                                                                         of trust, such that Wells Fargo and its

                        22        agents operating with a power of attorney, held no authori
                                                                                             ty to substitute the trustees on the deeds

                        23        of trust.

                        24                89.        The Notes are specifically paid to order Notes, and the
                                                                                                             purported copies as
                        25        provided under Civil Code § 2943(b)(1), show no modific
                                                                                          ation such as an indorsement.
                        26                90.         There is no record in the public land records showing an
                                                                                                               assignment of the DOT
                        27        and Note and even if there was, the assignment would be
                                                                                          disputed by the fact that the Note has
                        28        not be transferred as evidenced by the Notes as presented
                                                                                            to Plaintiff under § 2943(b)(1).


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                                                     VERIFIED FIRST AMENDED COMPLAINT FOR
                                                                                          DAMAGES
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                             1                91.     Plaintiff seeks a declaratory judgment as to the actual, true lender (creditor)
                                                                                                                                      of
                             2    each respective loan. Plaintiff seeks actual proof including but not limited
                                                                                                               to actual sale of the

                             3    debt, and transfer of the Note.

                             4            92.        Plaintiff seeks resolution of the deceptive terms of the Note which states
                                                                                                                                "Fixed
                             5    Rate Mortgage Note - Pick a pay Loan" but omits the actual terms of the
                                                                                                          any such pick a pay

                             6    options, their legal effect or the financial impact on the principal balance
                                                                                                               of the loan.

                             7            93 .        Wherefore Plaintiff prays for Injunctive Relief from Wells F argo, Doe 1 , and
                                                                                                                                     their
                             8    agents, and each of them, who have wrongfully and unlawfully threatene
                                                                                                         d to sell the property

                             9    through a nonjudicial foreclosure.
  s

  a                      10               94.        Defendants' threatened conduct, unless and until enjoined and restrained
X                                                                                                                             by this
 CD
 4)    O

£ %                      11       Court will cause great and irreparable injury to Plaintiff in that (1) he will be
             t—i
                                                                                                                    deprived of the quiet
J      ,-a   CO    CO
32      3 t>s oo        12
^      r5 o cn                   use and enjoyment of his real property; (2) Plaintiff will be deprived of ownershi
^            On    00                                                                                               p and title to his
        oj < ^
 g fus                  13       real property based on a predatory loan in which the true party entitled to payments
                                                                                                                      is unidentified;
 ©     CD    O
&                  m
                        14       (3) as a result of obfuscation of ownership, Plaintiff is being deprived of
             "5 oo                                                                                           restructuring out of the
 ® tS 5^ r—<
                        15       predatory loans, and (4) Wells Fargo is not in privity to the contract
 u     > cn                                                                                             and therefore has not
• w*   CN1
MH     (s|
       (SI              16       contractual basis for the foreclosure.
O
                        17               95.         If an injunction does not issue restraining and enjoining Defendants, and
                                                                                                                               each of
i-J
                        18       them, from disrupting Plaintiff s quiet enjoyment and ownership of his properties
                                                                                                                   , Plaintiff will
                        19       be irreparably harmed by loss of the unique real property and the income
                                                                                                          each property produces.

                        20               96.        Plaintiff has no adequate remedy at law for the injuries that will result from
                                                                                                                                   the
                        21       current and threatened conduct of Defendants, and each of them, in that it will
                                                                                                                 be impossible for

                        22       Plaintiff to calculate the precise amount of damages he will suffer if Defendan
                                                                                                                 ts' conduct is not

                        23       enjoined and restrained.

                        24               97.        Plaintiff seeks a Declaratory Judgment as to:

                        25               a.           Declaration of the true parties as to each respective Note and deed of trust;

                        26               b.           Declaration of the terms of the Note in which the terms for a "pick a pay"
                                                                                                                                 option
                        27       have been omitted to the detriment and harm of Plaintiff and in fact, any
                                                                                                           negative amortization

                        28



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                                                    VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                               1     should be removed as deceptive. Further, any interest rolled into the principal should
                                                                                                                            be removed

                               2     from the principal and no interest on interest should be allowed.

                               3            98.        WHEREFORE Plaintiff prays for judgment as set forth below.

                               4          SECOND CAUSE OF ACTION: INTENTIONAL MISREPRESENTATION
                                                                                                BY

                               5                                          OMISSION OF FACTS

                               6                              (DOE DEFENDANTS AND WELLS FARGO)

                               7            99.      Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                               8    inclusive, as though fully set forth herein.

                               9            100.     Plaintiff alleges World Savings and Wachovia, respectively, each made the
    £

    s                     10        representation to Plaintiff the loan was a "Fixed Rate Mortgage Note" and stated the
as                                                                                                                       loan was a
    </>
    Q)    O
                          11        "pick a pay loan."
£ *       Q;   r-t
.    ?         CO


x IP           On    OO
                          12                101 .    Plaintiff alleges that neither World Savings or Wachovia disclosed verbally, in any

    Slug                  13        good faith estimate, or in the Note or Deed of Trust the term "pick a pay" describing
                                                                                                                          the pick a
£ 33 g &
                          14       pay options with the legal and financial impact.

    s | § g               15                102.     Plaintiff alleges this omission of fact was critical and material to Plaintiffs
    g £ & H
• w*      CM

a a                       16       decision to enter each respective loan, and that had either World Savings or Wachovia
O                                                                                                                        disclosed
5                         17       these facts, Plaintiff would not have engaged in the loan.
    *4
hJ
                          18               1 03.    Plaintiff alleges that Wells Fargo knows about the predatory nature of the loan and

                          19       deceptive nature of the terms of the Note and Deed of Trust as it has settled with the State
                                                                                                                                Attorney
                          20       General agreeing (without admission of guilt or liability) to modify pick a pay
                                                                                                                   loans originated

                          21       by World Savings and Wachovia.

                          22               104.     Plaintiff alleges his injury and harm became apparent when the Notice of Defaults

                          23       were recorded, and when Wells Fargo refused to modify the loans based on the inflated
                                                                                                                         principal
                          24       balances that included "deferred interest."

                          25               105.     WHEREFORE Plaintiff prays for judgment as set forth below

                          26       III

                          27       III

                          28       III



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                                                    VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES
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                             1              THIRD CAUSE OF ACTION: CANCELLATION OF INSTRUMENTS

                             2                                            (ALL DEFENDANTS)

                         3                106.      Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                         4        inclusive, as though fully set forth herein.

                         5                107.      Civil Code § 3412 provides, "A written instrument, in respect to which there is a

                         6        reasonable apprehension that if left outstanding it may cause serious injury to a person against

                         7        whom it is void or voidable, may, upon his application, be so adjudged, and ordered to be...

                         8        canceled."

                         9               1 08.      An instrument which contains hearsay statements that mispresent material facts is
 G
 rtS
 s                      10       subject to be adjudged as void and cancelled.
rG
 CD
 qj    O
 £ o
rr.
                        11               109.       Plaintiff alleges that each Notice of Default filed on each respective property are
        QJ   T-H

53 -g K                 12       fatally defective as the state the "beneficiary" is Well Fargo, which Plaintiff disputes as false.
             <r
 2 8 0 15               13               110.       Plaintiff alleges that each Substitution of Trustee is void for reason that the
 o CD
 O
      £ 00s
M-l ^
             •3 0O_
                &       14       Substitutions were done by agents of Wells Fargo, who is not the lender or beneficiary, entitled
 O     -K          _|
»
QJ     4!
       <     5
             5     £
                   ^    15       to substitute the trustee.
£      > tf)
•*H    CN
       CN
mh     CNI              16               111.       As result of these defective instruments, Quality Loan Services and Clear Recon
o
£                       17       are threatening Plaintiff with taking title to his property for payment to Wells Fargo, who is not
«
hJ
                        18       entitled to said payments and is without authority to foreclose on Plaintiff.

                        19               112.       Plaintiff has been, and is being, harmed and prejudiced in that Defendants have

                        20       initiated a foreclosure that each defendant knows, or should know, has no contractual basis upon

                        21       which any defendant may foreclose as they are not parties to or agents of any party to the Note or

                        22       deeds of trust.

                        23               113.      Plaintiff has been placed into a position of undue influence and economic duress

                        24       by parties with no legal right to seek collection or foreclose and have in fact, seeking collection

                        25       and plan to wrongfully foreclosed on his properties based on these false, and deceptive

                        26       instruments.

                        27               114.    Plaintiff seeks an adjudication the Notices of Default, Substitutions of Trustee, and

                        28       Notices of Trustee Sale are void, or voidable by this court.


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                        1            115.       WHEREFORE, Plaintiff prays for judgment as detailed below.

                        2             FOURTH CAUSE OF ACTION: VIOLATION OF CIVIL CODE § 2924

                        3                                             (ALL DEFENDANTS)

                        4            116.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                        5   inclusive, as though fully set forth herein.

                        6            117.       Plaintiff alleges Wells Fargo is not the beneficiary of the Note, entitled to the

                        7   payments thereof nor is Wells Fargo the agent of the true beneficiary, Doe Defendant 1, and

                        8   therefore, Wells Fargo holds no legal right to exercise the power of sale by declaring a default and

                        9   election to sale.
 G

 B                     10           118.      Plaintiff alleges that Clear Recon and Quality Loan Services are entities who
 (ft
 ^     O
                       11   provide trustee services that have a legal duty all parties of the deed of trust, including Plaintiff, to
£ *    QJ   r-H
            CO    00
DC     *3 O
          £5      00   12   exercise common sense and good judgment. But that instead, both trustees have failed to establish
M"i    ,5         CM
TJ     ^ 0\       CO
"ZJ 1ij <! ^                the authority of Wells Fargo to exercise the power of sale or substitute either entity as the trustee.
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& 5         T3         14           119.        Asa result of these acts, the Notice of Default for each property is defective in that
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                       15   it fails to state the actual breach known to the actual, true beneficiary of the loan(s).
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                                    120.     As a result of these acts, the Notices of Trustee Sale are defective as they are issued
O
                            by entities that are not valid, legal trustees.
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                                    121.     The NOTS for Subject Property # 2405 fails to identify the unit and therefore,
                       18
                            Plaintiff alleges is fatally defective. (Exhibit 6)
                       19

                                    122.      WHEREFORE Plaintiff prays for judgment as detailed below.
                       20

                                                    FIFTH CAUSE OF ACTION: SLANDER OF TITLE
                       21

                                                                     (ALL DEFENDANTS)
                       22

                                    123.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,
                       23
                            inclusive, as though fully set forth herein.
                       24

                                    124.    Slander of Title is the publishing of a false statement about a party's property.
                       25

                                    125.    As detailed above, the Substitutions of Trustee falsely identify Wells Fargo as the
                       26
                            lender, or beneficiary, when in fact, Wells Fargo is not the lender or the successor in interest to
                       27

                            the original lenders.
                       28



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                       1            126.     Plaintiff alleges, as detailed above, these substitutions of trustee affect interest in

                       2   real property as they transfer title to be held by the entities that are not the valid trustees of each

                       3   respective assignment.

                       4            127.    Plaintiff alleges that each and every one of these instruments contain false

                       5   statements which Defendants notarized the Substitutions of Trustee to give the appearance of

                       6   authority and validity.

                       7           128.     Plaintiff alleges the recording of a notarized document in the official land records

                       8   is a violation of Penal Codes §§ 115, 115.5

                       9           129.      Plaintiff alleges the instruments have caused a cloud on title by representing that
 s=

 s                    10   parties, with no legal right or authority, have an interest which is false.
 X
 ^    o
                      11           130.     Plaintiff alleges he has been harmed with vendibility of his property and force to
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       §8             12   incur legal fees to defend his rights and seek a removal of this cloud.
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      *!•   < ^6
                      13           131.     WHEREFORE, Plaintiff prays for judgment as detailed below.
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B5             in
            V. 00     14           SIXTH CAUSE OF ACTION: BREACH OF CONTRACT AND ESTOPPEL
 O    -£ ^ —j
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 aj £ 55 m            15                                (DOE DEFENDANT 1-5, WELLS FARGO)
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      cn              16           1 32.    Plaintiff incorporates herein the allegations made in the preceding paragraphs,
O
 §                    17   inclusive, as though fully set forth herein.
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                      18           133.     Plaintiff alleges the deed of trust, under If 15 states the deed of trust will be

                      19   governed by federal and state law.

                      20           134.     Plaintiff alleges Doe Defendants 1-5 and Wells Fargo violated f 15 by taking acts,

                      21   or failing to take acts, as required by federal or state law, and defendant's breaches were material.

                      22   Because defendants breached the contract first        Plaintiff was excused from performance until

                      23   defendants cured the breach of the deed of trust (and Note).             Defendants violations were

                      24   specifically:

                      25               a.   Defendants omitted a material fact as to the true terms of the loan by failing to

                      26                    specify the "pick a pay" options with the legal and financial impact of each option

                      27                    in the Note or deed of trust, to the determinant and harm of Plaintiff.

                      28               b.   Doe Defendant 1-5, and purportedly Wells Fargo, failed to provide notice to


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                       1                        Plaintiff that either entity had purchased his loan and is now his "creditor."

                       2                  c.    Wells Fargo has engaged in deceptive and unfair business practice in accepting

                       3                       Plaintiffs modification applications but failing to consider his entire income in

                       4                       considering Plaintiff for a modification. As a result of this unfair business practice,

                       5                       Wells Fargo improperly denied the modifications based on improper principal

                       6                       balances and inaccurate income sources in which Wells Fargo has refused to

                       7                       consider 10,000 in monthly income.

                       8                  d.    Wells Fargo violated Civil Code        § 2943(b)(1) by failing to provide a beneficiary

                       9                       statement as requested under Civil Code.
 c

 s                    10               e.      Wells Fargo violated RESPA by failing to provide the accounting details and
 CA
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£ %                   11                       specifics as requested by Plaintiff.
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EC -3 £ 00            12           135.         Plaintiff alleges that Doe Defendant 1-5 and Wells Fargo breached the contract
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1                g    13   first by failing to ensure all terms of the loan were properly disclosed; Plaintiff became aware of
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                      14   and suffered injury of this omission when he was unable to afford the escalating mortgage
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 W)   ^    G
                 H    15   payments, and then was refused a modification out of the deceptive loan.
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.a n,
» a                   16           136.        Plaintiff alleges defendants and each of their agents, are estopped from taking any
o
                      17   acts, including threat of foreclosure, until the material breach of the contract is cured.
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                      18           137.        WHEREFORE, Plaintiff prays for judgment as detailed below.

                      19      SEVENTH CAUSE OF ACTION: VIOLATION OF BUS. & PROF. CODE § 17200

                      20                                              (ALL DEFENDANTS)

                      21           138.        Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                      22   inclusive, as though fully set forth herein.

                      23           139.        Plaintiff alleges Defendants all engage in the unfair and deceptive business practices

                      24   which result in unlawful acts that violate California laws.          Specifically:

                      25           140.        As detailed above, Plaintiff alleges Wachovia Mortgage, FSB and World Savings,

                      26   FSB engaged in the deceptive and unfair lending practices in marketing to Plaintiff a loan in which

                      27   each entity, individually, omitted critical terms that impacted the long term viability of sustaining

                      28   loan payments.



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                           1           141.     As a result of relying on Wachovia and World Savings representations, Plaintiff

                           2   engaged in a loan that he would not have otherwise accepted.

                           3           142.     Plaintiffs injury and harm became apparent when he was unable to sustain the

                           4   escalating mortgage payments, and started missing his mortgage payments.

                           5           143.   The "pick a pay options" increase the principal balance of the loan, and allow thai

                           6   the missed interest being included into the principal balance be assessed additional interest so thai

                           7   the Plaintiff is being charged interest on interest.

                           8           144.     As a result of this unfair and deceptive business practice, Plaintiff has been

                           9   prejudiced in refinancing or modifying the loan because the loan balances have increased by over

    s                     10   $20,000 a piece and the continues to increase based on the deceptive pick a pay options.
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£ >*                      11           145.    As detailed above, Plaintiff alleges Doe Defendants 1-5, and Wells Fargo practice
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                          12   an unfair and deceptive business practice by concealing any new "creditor" who purportedly
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lis            r1   m
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                          13   purchased the loan, in violation of both state and federal laws.
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P4                  in
                          14           146.    As detailed above, Wells Fargo's practice of refusing to account for all of a
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                          15   borrower's income has prejudiced and harmed Plaintiff in restructuring his loan which he should
    £    ^ cn
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s 3                       16   in fact, qualify for. Plaintiff alleges Wells Fargo has intentionally refused to consider all of the
o
    5                     17   income in order to intentionally foreclose on the predatory loans.

                          18           147.   This is particularly egregious because Wells Fargo entered into an agreement with

                          19   the State Attorney General in which it agreed to restructure these predatory loans if they were on

                          20   a principal residence of the borrower; Wells Fargo has refused to consider the borrowers loan in

                          21   violation of the agreement with the State Attorney General, which Plaintiff herein alleges he is an

                          22   intended 3rd party beneficiary of that settlement agreement.

                          23           148.   Plaintiff further alleges it is an unfair and deceptive business practice of Wells Fargo,

                          24   which acknowledges these types of negative amortization loans are deceptive and financially

                          25   destructive, to refuse to restructure them.

                          26           149.    As detailed above, Wells Fargo, Quality Loan Services and Clear Recon engage in

                          27   the deceptive and unfair business practice of alleging a party that is not the beneficiary, is the

                          28   beneficiary in their Notices of Default and Substitutions of Trustee.



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                            1             150.      As a result of this unfair and deceptive business practice, Plaintiff
                                                                                                                          has made

                            2     mistaken payments to the wrong party and has been subjected to the threats
                                                                                                             and acts of these false

                            3     beneficiaries.

                            4             151.       Plaintiff alleges the recording of the Substitutions of Trustee, when
                                                                                                                           defendants

                            5     know, or should know, contain false statements, notarized and then
                                                                                                     file the instrument is an

                            6     unlawful business practice in violation of Penal Codes §§115 and 1 15.5.

                            7            152.        Plaintiff alleges that Wells Fargo engages in the unfair, deceptive
                                                                                                                         and unlawful

                            8     business practice of failing to respond properly to RESPA requests,
                                                                                                      to requests under Civil Code

                            9     § § 2943(b)(1) including failing to provide the beneficiary statemen
                                                                                                       t, and failing to deal with
 a                      10       borrowers in pick a pay predatory loans in good faith.
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£      ^                11               153.       Plaintiff alleges that Wells Fargo engages in the unfair and deceptive
                                                                                                                           business
as 1 1 1/1 OS 00
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                 CM     12       practice of failing to provide borrowers with meaningful opportunity
                                                                                                      to restructure a debt to avoid
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 g a o                 13        foreclosure by claiming it is the owner or beneficial holder, when in
                 t>s                                                                                   fact it is not.
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VH     d, CO,          14                154.      This misrepresentation deprives borrowers from seeking other
                                                                                                                alternatives to
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 ll £ #
    < 5                15        foreclosure which is significant if the loan is in fact, held by a private
 ^          oh                                                                                              entity or by a government
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o
  S                    16        entity, which may or may not entitled Plaintiff to other alternatives.
                                                                                                            The obfuscation prevents
 £                     17        Plaintiff from seeing all true avenues of resolution.
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                       18                155.      Plaintiff alleges Quality Loan Services and Clear Recon engage in
                                                                                                                     the unfair and
                       19       deceptive business practice of failing to act with commons seen or
                                                                                                   good judgment in ensuring any

                       20       party requesting it be substituted as trustee has the authority to make
                                                                                                        such a request, or request a

                       21       Notice of Default by ensuring the party requesting is the true beneficia
                                                                                                         ry with the rights to exercise

                       22       the power of sale.

                       23               156.        Plaintiff alleges Defendants, and each of them, take these acts with
                                                                                                                         a reckless
                       24       disregard and rights of the borrowers.

                       25               157.        Plaintiff alleges that the Defendants' misconduct, as alleged herein,
                                                                                                                          gave, and has
                       26       given, Defendants, and each of them, an unfair competitive advantag
                                                                                                    e over their competitors.
                       27       III

                       28       III



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                           1              158.      The scheme implemented by Defendants, in collusion with one another, is

                           2    specifically designed to defraud California consumers and enrich Defendants at the expense ol

                           3   consumers in this State.

                           4              1 59.     Plaintiff alleges the unfair and deceptive business practices result in violations ol

                           5   California law and said acts are not independent acts of Defendants but are in fact, a pattern and

                           6   unfair and deceptive business practice of Defendants.

                           7              160.      By reason of the foregoing, Defendants should be enjoined from continuing such

                           8   practices pursuant to California Business & Professions Code §§17203 and 17204. Plaintiff has

                           9   suffered injury in fact, including but not limited to being subjected to the false representations of

    s                     10   Defendants.
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                          11              161.      Plaintiff has paid interests and charges on the loans and therefore, has standing to
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32        a fc oo         12   bring forth these UCL claims. See Kwikset Corp. v. Superior Court (Benson)(Jan. 27, 2011,
         rn

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    a
                          13   SI 71 845)         Cal.4th
    O    ifl   d     oo
                     in
             3? oo        14              162.      Plaintiff is being threatened with loss of title to his properties and all income
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                          15   thereof, including      improvements made to the property, and made principal and interest payments
•
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         (N               16   on the loan. Plaintiff has been assessed increased costs and fees associated with the wrongful
O
    5                     17   foreclosure activities. Furthermore, Plaintiff is unable to modify the terms of loan because none ol
J
                          18   the Defendants have the legal authority to engage in loan modification negotiations.

                          19              163.     Plaintiff has incurred the burden to pay the costs of retaining at attorney to

                          20   investigate the activities of the defendant. Moreover, because Plaintiff has been unable to modify

                          21   the onerous terms of the loan, Plaintiffs' creditworthiness is ruined. Undoubtedly, other members

                          22   of the public, similarly have fallen victim to Defendants' deceptive schemes, are likely to be injured

                          23   as well.

                          24              164.     The harm to Plaintiff and to members of the general public outweighs the utility

                          25   (if any) of Defendants' policies and practices. Consequently, their policies and practices constitute

                          26   unlawful      business acts or practices within the meaning of Business & Professions Code§ 17200

                          27   et. seq. Moreover, the foregoing conduct promotes an incipient violation of a consumer law, or

                          28   violates the policy or spirit of such law or otherwise significantly threatens or harms competition.


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                             1             165.       Plaintiffs are therefore entitled to injunctive relief and attorney's fees
                                                                                                                                 as available
                             2    under Business & Professions Code§ 17200 et seq. and related sections.

                             3            166.        The acts and practices described in the preceding paragraphs
                                                                                                                   are unfair and
                             4    violate the Business & Professions Code because they constitut
                                                                                                 e violations of all the statutes as

                             5    detailed herein.

                             6            167.       WHEREFORE, Plaintiff prays for judgment as detailed below.

                             7                          EIGHTH CAUSE OF ACTION: VIOLATION HBOR

                             8                                     (WELLS FARGO, CLEAR RECON)

                             9            168.     Plaintiff incorporates herein the allegations made in the precedin
 C                                                                                                                    g paragraphs,
 s                       10       inclusive, as though fully set forth herein.
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 Si O                    11               169.     Plaintiff alleges Unit # 2305 is his primary US residence and therefore
            T—'t
                                                                                                                          , is covered
ad 'I S ®                12       by the California Homeowner Bill of Rights for his primary residenc
                                                                                                      e.

 g | u £                 13               170.     Plaintiff alleges that Wells Fargo, as the servicer, and Clear Recon,
                                                                                                                         as the trustee,
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                        14
                   oo             had a legal duty to ensure that Plaintiff had been contacted to explore
M-l    0                                                                                                  alternatives to foreclosure
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OS     «    S3
                   H    15       prior to recording the NOD.
       £    CO


« a                     16               171.      Plaintiff alleges that Wells Fargo made no telephone call or sent a
o                                                                                                                      letter to discuss
5                       17       alternatives and the declaration as attached to the NOD is false,
rt                                                                                                 in that it states contact was
hJ
                        18       attempted.

                        19               172.      Plaintiff alleges at the time of the NOD, Wells Fargo also had
                                                                                                                  a duty to notify
                        20       Plaintiff of his right to receive a copy of the Note, assignments and
                                                                                                       accounting, prior to recording
                        21       the NOD but failed to provide this notice in violation of Civil Code
                                                                                                      § 2924.55(B).
                        22               173.     Plaintiff alleges that Wells Fargo and Clear Recon are required
                                                                                                                  to rely upon
                        23       competent and reliable evidence before recording any instruments
                                                                                                  in the land records, but that in
                        24       violation of Civil Code § 2924.17, have failed to do so.

                        25               174.     Plaintiff alleges that Wells Fargo, as the servicer, was required
                                                                                                                    to identify the
                        26       specific reasons for the denial, and if in fact, discrepancies were
                                                                                                     identified, correct those
                        27       discrepancies.    On February 22, 2019 Plaintiff notified Wells Fargo ithad the wrong
                                                                                                                       income
                        28       amount for the modification and requested verification and explana
                                                                                                    tion of why it was refusing to


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                             1    consider over $10,000 in Plaintiffs income. Wells Fargo told Plaintiff it didn't have to explain its

                         2        errors, change the errors, or provide any further details as to the underwriting analysis and

                         3       determination of denying the loan modification. This attitude and denial by Wells Fargo is in

                         4       violation of the spirit of the law, and HBOR in which it is in fact, required to provide the NPV

                         5       values but has refused to provide the pertinent details to Plaintiff.

                         6                175.     Plaintiff alleges that during the time that the application was completed Wells

                         7       Fargo had a duty to suspend the trustee sale but instead simply postponed it, continuing to threaten

                         8       Plaintiff with a foreclosure while his modification application was being reviewed. This is dual

                         9       tracking and in violation of HBOR. Further, Wells Fargo acts were deceptive in that the
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 a                      10       representatives told Plaintiff the sale was being cancelled and/or suspended; which was untrue.
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 X
 Qi    o
 fi    O                11       The sale was postponed and continued to the following month.
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J      ,t!   [0   oo
I       5 N       DO    12
"      ,5 o       N                       1 76.    Plaintiff alleges these are material breaches of the HBOR and that he is entitled to
       ijj   as   oo
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                        13       injunctive relief, as well as attorney fees and legal costs for having to bring these claims against

es           "O
                  If)
                        14       Wells Fargo and Clear Recon.
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                  H                      177.     WHEREFORE, Plaintiff prays for judgment as detailed below.
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$ 3                     16                   NINTH CAUSE OF ACTION: GOOD FAITH AND FAIR DEALING
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5                       17                                     (DOE DEFENDANTS, WELLS FARGO)
hJ
                        18               178.     Plaintiff incorporates herein the allegations made in the preceding paragraphs,

                        19       inclusive, as though fully set forth herein.

                        20               179.        Plaintiff alleges Wells Fargo as the agent, and Doe Defendants, have breached

                        21       the covenant of good faith and fair dealing with Plaintiff by refusing to deal with Plaintiff honestly,

                        22       fairly or in good faith.

                        23               1 80.      Omission of material terms of the Note;

                        24               181.       Increase of the principal balance and refusal to provide an accounting of the

                        25       increase;

                        26               182.       Adding unauthorized and unsubstantiated charges to increase the amounts due;

                        27               183.       Violating the deed of trust by obfuscating and concealing the new creditor;

                        28               1 84.      Refusing to consider the modification in good faith by considering all of Plaintiffs


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                             1      income and refusing to state why his full incom
                                                                                   e is not being considered;

                             2                 185.       Claiming to cancel and suspend the truste
                                                                                                    e sale when in fact, it was simply
                             3     postponed for 30 days.

                             4                 186.       Refusing to comply with RESPA in provi
                                                                                                ding accurate and proper responses as
                             5     required so that Plaintiff could have a fair
                                                                                and accurate understanding of the charges
                                                                                                                          made on the
                             6     loan.

                             7                187.        As a result of these acts, Plaintiff has been
                                                                                                        deprived of fully understanding his
                            8      rights and the financial status of the loan
                                                                               in order to seek other alternatives to restru
                                                                                                                            cturing the
   e
                            9      loan.

   6                    10                    188.       As a result of these acts, Plaintiff has been
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                                                                                                       experienced additional stress in trying
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 £ 3                    11        to resolve the loan issues while being threat
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                                                                                ened with the foreclosure.
 !E -g K So             12
 ^ ^ S X                                   1 89.         WHEREFORE Plaintiff prays for judgement
                                                                                                 as detailed below.

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                                                                             PRAYER FOR RELIEF
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               5 S      14                    Wherefore, Plaintiff prays for judgment again
                                                                                            st the Defendants and each of them, jointly
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                   H    15        and severally, as follows:
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                        16                1)           For a declaration of the rights and duties
o                                                                                                 of the parties as set forth above;
£                       17                2)          A credit of any interest charged on intere
 ns                                                                                              st which was included in the principal
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                       18         balance and that said interest put into the
                                                                              principal be removed from the principal,
                                                                                                                       and no further
                       19         interest charges on that interest.

                       20                 3)          For an order cancelling the Substitutions of
                                                                                                   Trustee, Notices of Default and Notices
                       21        of Trustee Sale;

                       22                4)           For an order the business practices
                                                                                          of Defendants are unfair and deceptive,

                       23        enjoining Defendants from continuing with
                                                                           the business practices;
                       24                5)           For a declaration that Defendants are estop
                                                                                                  ped from continuing any further acts
                       25        with the intent to deprive Plaintiff of posse
                                                                               ssion of the property.

                       26                6)           For an order demanding Defendants rescin
                                                                                               d the Notice of Default and an order
                       27        enjoining Defendants from recording any
                                                                         other Notice of Default until such time that
                                                                                                                      Defendants
                       28        cure all material violations of the contract
                                                                              as detailed above;


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                             1           7)       For Injunctive Relief that enjoins Defendants from any further acts until all material

                             2   violations are cured and all improper fees are removed from Plaintiffs account;

                             3           8) For attorney fees and legal costs for compelling Plaintiff to seek judicial assistance in

                             4   compelling Defendants to comply with the law;

                             5           9)      For statutory, special, general and punitive damages;

                         6               10)     For treble damages or statutory damages of $50,000;

                         7               11)     Injunctive Relief pursuant to Cal. Bus. & Prof. Code §17200, Cal Civil Code § 3396

                         8       and Civ. Code of Proc. § 526, Civ. Code § 2924.12

                         9               12)     Attorney fees and costs, including those allowed by 2924.12, 2605 (f) and Cal Civ.
  e
  «s
 B                      10       Code §§1788.17 and 1788.30 and any other provisions of law.
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                        11               13)     Such other further and different relief as the Court deems just and equitable,
£ *          T—I

a i r g                 12       including interest at the legal rate.
£ £ s a
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                        13                                                      LAW OFFICE OF RONALD H. FRESHMAN
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IXJ    "vO                       Dated: May 2, 2019

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 <y    > CO
• IH   CN                                                                       Ronald H. Freshman, Esq.
£
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  a                     16                                                      Attorney for Plaintiff,
                                                                                KWADWO HWEN SO ASARE-ANTWI
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                                                                        VERIFICATION
                            1

                        2
                                        I am the attorney for KWADWO HWENSO ASARE-ANTWI, Plaintiff in the above-

                        ^       captioned matter. Such party is absent from the county of where such attorney has his offices,
                        4       and I make this verification for and on behalf of Plaintiff for that reason. I am informed and
                        5       believe and, on that ground, allege that the matters stated in the foregoing document are true.
                        6               I declare under penalty of perjury under the laws of the State of California that the

                        7       foregoing is true and correct. Executed on May 2, 2019 at San Diego, California.

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                                  EXHIBIT 1
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 120 of 169 Page ID
                                   #:540
                                                                                       Law Office
                                                                      Ronald H. Freshman, Esq.


                                                                    222 West 6th Street, Suite 400
                                                                     San Pedro, California 90731
                                                                              Office 858.756.8288
                                                                                Fax 858.964.1728
                                                                          rhf@freshmanlaw.com
     February 22, 2019




     Wells Fargo Home Mortgage
     P.O. Box 10335
     Des Moines, IA 50306-0335




     RE:
     Kwadwo Asare-Antwi- QUALIFIED WRITTEN REQUEST


            WF Loan # 0484755871; Property:        12668 Chapman Ave., # 2305
                                                   Garden Grove, Ca. 92840
            WF Loan 0484580675; Property:          25463 Chipman Hill Crt.,
                                                   Moreno Valley, Ca. 92555
            WF Loan 0484774849; Property:          1 2668 Chapman Avenue, #2405
                                                   Garden Grove, Ca. 92840


     To Whom It May Concern,

     This is a Qualified Written Request pursuant to RESPA, 12 U.S.C. § 2605 et. seq., in which

     my client has both questions about the balances as stated on the above loans, and

     fees/charges that are unsubstantiated or authorized. My authorization to inquiry on behalf of

     my client, Mr. Asare-Antwi ("Client') is attached herein.




            For Loan ending in 4849. please provide the following information on the loan from

     the time period of January 1, 2014 to CURRENT DATE:

            1.   A complete accounting of each payment that was an underpayment on the loan

                 for principal and/or interest, resulting in a balance being transferred to the

                 principal balance of the loan.   Please provide the balance of the loan as of

                 December 31, 2018 and as of the current date.

            2.   The interest rate assessed for each monthly payment. Include the date of the rate

                 change.

                                                   1
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 121 of 169 Page ID
                                   #:541
                                                                                            Law Office
                                                                          Ronald H. Freshman, Esq.


                                                                        222 West 6th Street, Suite 400
                                                                         San Pedro, California 90731
                                                                                   Office 858.756.8288
                                                                                      Fax 858.964.1728
                                                                               rhf@freshmanla w. com
           3.   Please provide each date the borrower was noticed of the rate change.

           4.   The order in which each payment amount was credited to the monies due.

                Specifically, identify      the order in which the payment is credited to interest,

                principal, taxes, insurance or other fees and/or charges.         Identify each amount

                credited per category, per payment.

           5.   Identify the identity of the owner of the loan, the address of the owner, and

                provide the date on which this owner became the owner.

          6.    Provide evidence of notice to the borrower of the purchase of his debt by the

                entity identified in # 4.

          7.    On the mortgage statement please provide evidence of each of the following

                charges as assessed pursuant to YOUR statements.

                   a.   Identify each late payment assessed, the amount of the late payment

                        assessed and for which payment the late payment was assessed.

                   b.   Identify with specificity each "other charge", the date of its assessment,

                        and a clear description of what the charge is for. If the charge is the result

                        of a 3Td party invoice, provide evidence of that invoice.

                   c.   On August 20, 2018 the statement states advances are being made for

                        attorney fees and costs. State the vendor to whom these fees or costs were

                        paid, provide evidence of the invoice upon which you incurred the costs,

                        and provide the authorization for YOU to assess attorney fees or costs.

                        Please be advised that if you are relying upon the deed of trust, identify

                        the specific clause that allows your right to assess these fees and costs,

                        without a court order.        The total amount stated on this statement is

                        $1,644.25.    Please note the borrower disputes the right of you to assess

                        these fees.




                                                       2
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 122 of 169 Page ID
                                   #:542
                                                                                      Law Office
                                                                    Ronald H. Freshman, Esq.


                                                                  222 West 6th Street, Suite 400
                                                                   San Pedro, California 90731
                                                                            Office 858.756.8288
                                                                               Fax 858.964.1728
                                                                        rhf@freshmanlaw. com




                 d.   On January 30, 2019 the statement states advances are being made for

                      attorney fees and costs.     State the vendor to whom these fees or costs

                      were paid, provide evidence of the invoice upon which you incurred the

                      costs, and provide the authorization for YOU to assess attorney fees or

                      costs. Please be advised that if you are relying upon the deed of trust,

                      identify the specific clause that allows your right to assess these fees and

                      costs, without a court order. The total amount stated on this statement is

                      $2,043.23.    Please note the borrower disputes the right of you to assess

                      these fees.

                e.    Provide a complete accounting of the escrow for this loan.

                f.    Provide evidence of any and all insurance premiums you have assessed

                      against the loan. Include the identification of the insurance company,

                      policy number, and evidence of the invoice for each insurance charge you

                      have assessed.

                g.    Provide an accounting of all deferred interest, the date incurred, the

                      interest rate charge assessed, the increase in principal balance and

                      demonstrate that future interest payments did or did not assess interest on

                      the deferred interest.

                h.    On 9/15/2016 you assessed a $25.00 "return fee". Provide evidence of

                      that fee and the basis of that fee.

                i.    You filed a Notice of Default, stating that as of August          17, 2018

                      borrower was in default of $16,684.45. Provide a complete accounting of

                      all fees and charges which comprise the amount stated in the Notice of

                      Default. Borrower disputes he was in arrears by this amount and herein


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 123 of 169 Page ID
                                   #:543
                                                                                      Law Office
                                                                     Ronald H. Freshman, Esq.


                                                                    222 West 6th Street, Suite 400
                                                                    San Pedro, California 90731
                                                                             Office 858.756.8288
                                                                                Fax 858.964.1728
                                                                          rhf@freshmanlaw.com




                j.   states that this amount appears to include improper fees of at least

                     $1,644.50, improper late fees, improper telephone fees,

                k.   Please identify where in the Note, or deed of trust, the payment options

                     YOU offer on the statements, is reflected in the contracts and agreed

                     upon by borrower.      Borrower disputes the payment option terms are

                     identified or agreed upon and therefor, disputes said options were done in

                     properly.

                1.   On March 28, 2016, April 1 1 and 13, 2016, May 1, 2016, May 13, 2016,

                     June 2, 2016, June 6, 2016, July 29, 2016 YOU assessed telephone fees

                     in the amount of $12.00 to $20.00.     Demonstrate where in the statement

                     or in any notice, of Borrower's consent to be charged any fee for payment

                     by phone. Further, please identify all telephone payment fees assessed

                     against the loan, identify each payment made by this telephone payment

                     and the date it was credited to the account.

                m. On June 6, 2016 you "reversed" two payments with different amounts for

                     principal, interest, and escrow; further, you state there is an unapplied

                     amount of $2,746.13.    Explain this discrepancy and when and how the

                     "unapplied amount" was applied to the account, and manner in which it

                     was applied.




                                                4
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 124 of 169 Page ID
                                   #:544
                                                                                              Law Office
                                                                            Ronald H. Freshman, Esq.


                                                                          222 West 6th Street, Suite 400
                                                                           San Pedro, California 90731
                                                                                    Office 858.756.8288
                                                                                       Fax 858.964.1728
                                                                                rhf@freshmanlaw. com
           For Loan ending in 0675. please provide the following information on the loan from

     the time period of January 1, 2014 to CURRENT DATE:

            1.   A complete accounting of each payment that was an underpayment on the loan

                 for principal and/or interest, resulting in a balance being transferred to the

                 principal balance of the loan.         Please provide the balance of the loan as of

                 December 31, 2018 and as of the current date.

           2.    The interest rate assessed for each monthly payment. Include the date of the rate

                 change.

           3.    Please provide each date the borrower was noticed of the rate change.

           4.    The order in which each payment amount was credited to the monies due.

                 Specifically, identify      the order in which the payment is credited to interest,

                 principal, taxes, insurance or other fees and/or charges.         Identify each amount

                 credited per category, per payment.

           5.    Identify the identity of the owner of the loan, the address of the owner, and

                 provide the date on which this owner became the owner.

           6.    Provide evidence of notice to the borrower of the purchase of his debt by the

                 entity identified in # 4.

           7.    On the mortgage statement please provide evidence of each of the following

                 charges as assessed pursuant to YOUR statements.

                     a.   Identify each late payment assessed, the amount of the late payment

                          assessed and for which payment the late payment was assessed.

                    b.    Identify with specificity each "other charge", the date of its assessment,

                          and a clear description of what the charge is for. If the charge is the result

                          of a 3rd party invoice, provide evidence of that invoice.

                    c.    The September and October 2018 statements state advances are being

                          made for attorney fees and costs. State the vendor to whom these fees or


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 125 of 169 Page ID
                                   #:545
                                                                                      Law Office
                                                                      Ronald H. Freshman, Esq.


                                                                  222 West 6th Street, Suite 400
                                                                   San Pedro, California 90731
                                                                             Office 858.756.8288
                                                                               Fax 858.964.1728
                                                                         rhf@freshmanlaw.com


                      costs were paid, provide evidence of the invoice upon which you incurred

                      the costs, and provide the authorization for YOU to assess attorney fees

                      or costs. Please be advised that if you are relying upon the deed of trust,

                      identify the specific clause that allows your right to assess these fees and

                     costs, without a court order. The total amount stated on this statement is

                      $1,281.75 and $37.40, respectfully. Please note the borrower disputes the

                     right of you to assess these fees and demands the right to validate the

                     amounts being assessed.

                d.    Provide a complete accounting of the escrow for this loan.

                e.   Provide evidence of any and all insurance premiums you have assessed

                     against the loan. Include the identification of the insurance company,

                     policy number, and evidence of the invoice for each insurance charge you

                     have assessed. Specifically, the statements shows an amount of $2,734.09

                     being assess, with the name "FARMERS" in the side. Provide the basis

                     of purchasing "hazard" insurance.

                f.   Provide an accounting of all deferred interest, the date incurred, the

                     interest rate charge assessed, the    increase    in principal balance and

                     demonstrate that future interest payments did or did not assess interest on

                     the deferred interest.

                g.   You filed a Notice of Default, stating that as of July 24, 2018 borrower

                     was in default of $25,402.81. Provide a complete accounting of all fees

                     and charges which comprise the amount stated in the Notice of Default.

                     Borrower disputes he was in arrears by this amount and herein states that

                     this amount appears to include improper late fees and charges, inflated

                     insurance fees.


                                                6
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 126 of 169 Page ID
                                   #:546
                                                                                           Law Office
                                                                         Ronald H. Freshman, Esq.


                                                                       222 West 6th Street, Suite 400
                                                                        San Pedro, California 90731
                                                                                 Office 858.756.8288
                                                                                    Fax 858.964.1728
                                                                             rhf@freshmanlaw.com




                     h.    Please identify where in the Note, or deed of trust, the payment options

                           YOU offer on the statements, is reflected in the contracts and agreed

                           upon by borrower.     Borrower disputes the payment option terms are

                           identified or agreed upon and therefor, disputes said options were done

                           properly.

                     i.    Please provide all statements YOU sent to borrower for the time period

                           from inception of the loan to current date. Electronic delivery is fine, and

                           preferred. (See below),

                    j.     Please identify all telephone payment fees assessed against the loan.

                           Identify the payment made by telephone and the date it was applied to the

                           account.




           For Loan ending in 5871. please provide the following information on the loan from

     the time period of January 1, 2014 to CURRENT DATE:

            1.   A complete accounting of each payment that was an underpayment on the loan

                 for principal and/or interest, resulting in a balance being transferred to the

                 principal balance of the loan.      Please provide the balance of the loan as of

                 December 3 1 , 201 8 and as of the current date.

           2.    The interest rate assessed for each monthly payment. Include the date of the rate

                 change.

           3.    Please provide each date the borrower was noticed of the rate change.

           4.    The order in which each payment amount was credited to the monies due.

                 Specifically, identify   the order in which the payment is credited to interest,




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 127 of 169 Page ID
                                   #:547
                                                                                          Law Office
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                                                                     222 West 6th Street, Suite 400
                                                                      San Pedro, California 90731
                                                                                Office 858.756.8288
                                                                                    Fax 858.964.1728
                                                                            rhf@freshmanlaw. com




                principal, taxes, insurance or other fees and/or charges.      Identify each amount

                credited per category, per payment.

           5.   Identify the identity of the owner of the loan, the address of the owner, and

                provide the date on which this owner became the owner.

          6.    Provide evidence of notice to the borrower of the purchase of his debt by the

                entity identified in # 4.

          7.    On the mortgage statement please provide evidence of each of the following

                charges as assessed pursuant to YOUR statements.

                   a.   Identify each late payment assessed, the amount of the late payment

                        assessed and for which payment the late payment was assessed.

                   b.   Identify with specificity each "other charge", the date of its assessment,

                        and a clear description of what the charge is for. If the charge is the result

                        of a 3rd party invoice, provide evidence of that invoice.

                   c.   On the August, 2019, September 2018, and January 2019 the statement

                        states advances are being made for attorney fees and costs. State the

                        vendor to whom these fees or costs were paid, provide evidence of the

                        invoice upon which you incurred the costs, and provide the authorization

                        for YOU to assess attorney fees or costs. Please be advised that if you are

                        relying upon the deed of trust, identify the specific clause that allows

                        your right to assess these fees and costs, without a court order. The total

                        amount stated on the statements are $625.00, $1,119.61, and $147.02.

                        Please note the borrower disputes the right of you to assess these fees.

                   d.   Provide a complete accounting of the escrow for this loan.




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                                   #:548
                                                                                       Law Office
                                                                     Ronald H. Freshman, Esq.


                                                                   222 West 6th Street, Suite 400
                                                                    San Pedro, California 90731
                                                                              Office 858.756.8288
                                                                                  Fax 858.964.1728
                                                                          rhf@freshmanlaw.com


                 e.   Provide evidence of any and all insurance premiums you have assessed

                      against the loan. Include the identification of the insurance company,

                      policy number, and evidence of the invoice for each insurance charge you

                      have assessed.

                f.    Provide an accounting of all deferred interest, the date incurred, the

                      interest rate charge assessed, the increase       in principal   balance and

                      demonstrate that future interest payments did or did not assess interest on

                      the deferred interest.

                g.    You apparently assessed and then waived a return fee of $125.00. Please

                      identify the basis of that fee, and why it is for $125.00

                h.    You filed a Notice of Default, stating that as of July 30,2018 borrower

                      was in default of $19,472.82. Provide a complete accounting of all fees

                      and charges which comprise the amount stated in the Notice of Default.
                                                                                                     I
                i.    Please identify where in the Note, or deed of trust, the payment options

                      YOU offer on the statements, is reflected in the contracts and agreed

                      upon by borrower.        Borrower disputes the payment option terms are

                      identified or agreed upon and therefor, disputes said options were done

                      properly.

                j.    Demonstrate where in the statement or in any notice, of Borrower's

                      consent to be charged any fee for payment by phone. Further, please

                      identify all telephone payment fees assessed against the loan.        Please

                      identify which payment was made by the telephone and the date the

                      payment was credited to the account.




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                                   #:549

                                                                                           Law Office
                                                                          Ronald H. Freshman, Esq.


                                                                        222 West 6th Street, Suite 400
                                                                         San Pedro, California 90731
                                                                                  Office 858.756.8288
                                                                                     Fax 858.964.1728
                                                                               rhf@freshmanlaw.com


                     k.   On June 6, 2016 you "reversed" two payments with different amounts for

                          principal, interest, and escrow; further, you state there is an unapplied

                          amount of $2,746.13.       Explain this discrepancy and when and how the

                          "unapplied amount" was applied to the account, and manner in which it

                          was applied.



            Please provide a Beneficiary Statement with payoff amount for each of the above

     identified loans. Further, please provide a correct and true copy of each NOTE
                                                                                    in its current
     state, and with any assignments or transfers of the loan or deed of trust. Please
                                                                                       note under
     California Civil Code § 2943(b)(1) you are required to produce this Note,
                                                                               with any
     modifications made to the Note, within 21 days of this demand, along with the
                                                                                   beneficiary
     statement.

            Please   direct   all   questions   to   my    Sr.   Paralegal,   Kimberly   Cromwell   at
     ksc@freshmanlaw.com. or she may be reached at 510.290.8928; additionally,
                                                                               I can be
     reached at rhf@freshmanlaw.com or at 858.756.8288.           My mailing address is identified in
     the above header.



    Regards,




    Ronald H. Freshman,
    Attorney for Kwadwo Asare-Antwi



    Encl. Authorization
    CC: Kwadwo Asare-Antwi




                                                      10
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                                   #:550




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                                  EXHIBIT 2
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 131 of 169 Page ID
                                   #:551



         WORLD SAVINGS BANK, FSB




                                         FIXED RATE MORTGAGE NOTE
                                                    PICK-A-PAYMENTKm LOAN



               THIS NOTE CONTAINS PROVISIONS ALLOWING SOU CHANGES IN MY MONTHLY PAYMENT AND MY UNPAID
               PRINCIPAL BALANCE. MY MONTHLY PAYMENT INCREASES AND MY PRINCIPAL BALANCE INCREASES
                                                                                                  ARE
               LIMITED. THIS NOTE IS SECURED SY A SECURITY INSTRUMENT OP THE SAME DATE.




         LOAN NUMBER 0047714688                                                             DATE Novembot 20, 2007

                                                                                                                                             ;
         BORROWERfS) KWADWQ HWENSO ASARE-ANTWI, AN UNMARRIED MAN somedmes
                                                                          caltealtomwer
         and sometime* sjrrhfav railed T or 'me "




         PROPERTY ADDRESS 12668 CHAPMAN AVE UNIT 230S, GARDEN GROVE, CA 92840.4021




         1.    BORROWER S PROMISE TO PAY


               toretom Jo, a loan thai I hay* renamed, (promise to pay U S $308,000.00 . caned 'PrtB«peCpfi» eitarasl, and any ottwr
         charges meurrttS dating the wrase or toe loan, to tot orasi ol toe Lender The Under is WORLD SAVINGS BANK,
                                                                                                                    FSB,
         4 FEDERAL SAVINGS BANK, ITS successors mom assignees, or anyone So Whom to® Note:» transferred
                                                                                                                                             ;




              a. interest

               Interest will be charged en unpaid Principal raw toe ton amount of porapai baa raw paid i w« pay
                                                                                                                iw«r»« at toe yearly mis
         0(8.260% Intereal will toe charged on toe basia of a twelve month yea; and a thirty day month




                Ttw interest rato www by to* feetan 2 is to® rate I w# pay tNatfi fewtorto and alter any defects detoWwdim Section 7{$) or
         tot* Note




                                                                                       CHI$4qq m."^rQ»Q^Ai
                                                                                      By.
                                                                                         KWKWEavst




         SD253A (MOSOIMJ       fmt PPOSdSW))         FIXED PrcKULPAYMEW HOTS                     CA
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                                                                                                         L     LgNPEft'SUSE ONLY
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 132 of 169 Page ID
                                   #:552


                                                                                                                                                    !

                                                                                                                              60417X4688


         9.   PAYMENTS

              [A!   Tune and Place of Payments
              I will pay Prtnctpal and interest by matong payments every month


              I will make my tnonWy payment# on foe 1st Pay of each month oegmmg op January 1, 2008. 1 wili make these payments
       every month uhbi i have, paid it) el! the Principal and interest, end («) any other charges assented below that I may owe under this Mole,
       and pn) any dangae (hit may: he due under the Security Inahumert If, on December 1, 2037, I still owe amounls under this
       Mote, I wit pay those amounts in tut! on that date, which recalled the "Maturity Date *




              I Wl make my monthly payments « 1601 HARRISON STREET, OAKLAND, CALIFORNIA 9461 2 oral a afferent
       Sate if recused by notice from the Lender


              <B1   Amount of My tnHsal Monthly Payments

              Each of my initial monthly payments wit be m the amount of U S 1 1 ,362.40 lb® amount wilt chaos# s» described in Section*
       3(6) and 3(D) below My initial monthly payment amount was selected by me torn* range of tmltal payment amounts approved by
        Lander and may not be euffasntla pay the. entire amount of internal accruing on the unpaid Principal Batanee




              (C|   Payment Change Dates

             My montMy payment mil change as retpred by Section 3(D) baiowbegtnmng en the 1st day of January, 2669 and en that
        day eveiy 12th month fhereslter una the 121st month, which wtlfbe ibe thai payment change Each of these deles is ceiled a
        "Peyment Chang* Date * % monthly payment Wfl also change at any tone Seciion 3(F) or 3(G) below rettffiraB ma in pay a dltferanl
        amount




              I will pay the amount of my new mpnshiy payment each mouth beginning or) each Payment Change Date and as provided in
        Secdon 3(F) or 3(G) below



              ID)   calculation of Payment Change*
              Subject to sections 3(F) and 3(G), on the Peyment Change Date my monthly peyment may be changed to an amount sufficient id
        pay the unpaid principal balance together with Interest, fiertetfig any defarred interest as OascnbaC In Section 3(E) below, by the
        Mtlunty Date However. the amount by which my payment con be Iticreaeed wilt not be more Ibsrn 7-1/2% ct the then easting Ppneipaj
        and interest payment This 7-1/2% tmitattoti n called the "Payment Cap * The Lender will perform this Payment Change eofeulaiion at
        least 80 but not more then 80 deys before the Payment Change Date




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          sosntfeMMM)            jeospooMwa                    RXEB ptOWUPAVMEW NOTE                                                         c&
                                                                          P»S»2
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 133 of 169 Page ID
                                   #:553



                                                                                                                                  80477M6B8


               (E> Deferred interest: Additions to My linpatd Principe!
               From Hme to time. my monthly payments iraf l* insufflate nt to pay toe tetet ernowf of monthly interest that M «w If this
         occurs, the amount or interest tost m not paid each month, relied "Deterred Interest." wit he added to my Principal end wis accrue
         mteresl si the Same rate se the Pnnetpai

                (F)   Umit on My Unpaid Principal; Increased Monthly Payment

               My»tot»top»t«to«»(tMlanee6eftW»%er»iteeBd<Z5% at the Principal! originally borrowed, caftad "Principal Balance Cap " If,
         ae a tew# el toe addition of deferred interest to .toy unpaid principal ratine*, the Principal Balance Cap totalwn would he
         exceeded cn the date that toy monthly payment w due, t W» instead pay a new monthly payment fiatodtostanding Sections 3(C)
         and 3(0) ewvo, I vnll pay a new monthly payment which re equal to an amount that wilt ha iufftaeni to repay my then unpaid
         principal balance m lull on the Maturity Date toffeifier with interest, m substenlially equal payments


                (Q)    Final Payment Change

                On ihe loth Payment Change Date my monlhiy payment will h* calculated ssresrered to SpeliOfi KB                         except thM
         toe Payment Cap tatolion Will not apply



                |H(   Notice ot Payment Changes
              The tender pan deliver or mad to me a notice of any changes in ton amount of my monthly payment, celled 'Payment Change
         Note*," he lore each Payment Change Date

           4,   FAILURE TO MAKE ADJUSTMENTS

                tf tor any reason Lender toils to make an adjustment to the payment amount as Oescribed « this Note, regardless of any
         notice requirement, I agree tost Ureter may, upon discovery or such (a,lure, then make toe ad|ustments
                                                                                                                ea if they had Seen made
         on time I also epree not to how Lender responsible tor any damigesto me which may result from Landers failure
                                                                                                                         to make the
         adiualmenr and to let the Lander, et tte opfsw, artsy any excess Bowes which t may have paid to partial prepayment
                                                                                                                            of unpaid
         Principal

           8,   BORROWER'S RIGHT TQ PREPAY

              I liave the right to make payments of Principal at any time before they are due. A payment of
         Principal before ft is due is catted a "Prepayment", When I make a Prepayment, I will tell the
         Lender In writing that l am doing so. The Lender may require that any partial Prepayments be
         made on the date my regularty scheduled payments are due, if I make a partial Prepayment, there
         will be no changes in the due dates or amount Of my regularly scheduled payments unless the
         Lender agrees to those changes W writing. 1 may pay deferred interest on this Note at any tinta
         without charge and such payment will not be considered a "Prepayment" of Prtncipal, During the
         first 3 years of the toan term if I make one or more Prepayments that, in the aggregate, exceed
         55,000 In any calendar month, I must pay a prepayment charge equal to 2% of the amount such
         Prepayments exceed $5,000 In that calender month. After the first 3 years of the loan term, I may
         make a full or partial Prepayment without paying any prepayment charge,




           «• MAXIMUM LOAN CHARGES
                » » law, winch applies te thto ban #rtd which seta maximum loin dwies, is Unity interpreted so that (he interest
                                                                                                                                         or other
         test! charges soilebted or to he colleclea to connection with this town exceed the pemittgrt Sswte, toer, (>) atrf such toan
                                                                                                                                      chars* Uwil
         Pe reduced feyrw amount ewpiMqi te reAiialiteclisrge to the permitted tent, and (a) any aUmeelnady relteeted
                                                                                                                      from pre «Mi
         exceeded permitted ImiteWS be refunded to me The Lander may choose to mstte tetorefaW by reducing toe Principe'
                                                                                                                         I owe under
         this Note or by making a dree! payment to me If a refund reduces Prtneip*!. toe teducsjcm vn«
                                                                                                       ce (mated sa a partis'. Prepayment



           7.   BORROWERS FAILURE TO PAY AS REQUIRED
                (A)   Late Charges for Overdue Payments

                if tb$ lerwter has noi received the fui! afrujunl of any tnonihiy payment by the «ftb of 1 0 tateftdar bays
                                                                                                                            attar the date ttas bba,
         I w« pay A late chime »> fhe Uhder The amount « toe charge wi be 6.00*4 of my overdue payment of Phncipsignd
                                                                                                                      interest I
         wet pay to» lata enarge Promptly pa only onee on each late payment



         SMfBC <WS-0!M)         (cat saoawn-48                   FIXED PieKUUPAYMKT NOtt                                                        CA
                                                                           P»jv»
Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 134 of 169 Page ID
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                (B)   mum
                1 *i(l be in default if (i) ! do not pay IN Ml amount or each monthly payment on (tie date it to doe,
                                                                                                                      or fit) t fad to perform any of
          my promises or agreements urtcter Bus Note or the Security Instrument or {*) any
                                                                                           statement made m my appifcation for this loan
          WW matanagy terse or misleading or if any statement « my appteaton for this loan was
                                                                                                materially false or mlstadmB by raaeon of
          my omutNort otcettam litis, of tw) 1 Nye made any other statement to Lender to eonrBoflort with
                                                                                                          this loan that is materia 8y taise or



                (C)   Notice of Default
               H I am m default. the Lender may send me a written notice, caM "Notice of OefauS," toffing
                                                                                                                 m* thaiif i do not pay the
          overdue amounr by a certain data, IN Lender may require me » pay immediately the amount
                                                                                                        of Principal wbidt ha* not baen paid
          and a# IN interest that 1 owe on that amount, put* any other amount* at® urafer the Seautty instrument


                IP)   No Waiver by Lender
               Even if, at a time whan I aw m default the Lander doss not rerjuite me to pay immediately
                                                                                                         m Ml a* described Shove, the
          Lender volt shit have the right to do so if I am In defeat! at a later time



                (E| Payment of Lender's Costa and Eapertsas
                Be Lender w(( have the flght to be paid hash by «e (Or at! of da costs and expenses tri enforcing
                                                                                                                  this Note to tN ertent not
          prohibited by applicatte law TTtoae eepensof may atdUde, lor esanfat. reawnaWe attorney*
                                                                                                   fees and court costs

          B,    GIVING OP NOTtCES

                Unless applicable law reouires a different irartwdi any iwtica that must ba grven to ma under this
                                                                                                                   Note wjff be given by
          detiwtnngii or by rmjIinB'Ebyfttf dawdtatlbi- wa many Bortpweraf 2S463 CHtPW/MJ HILL CT» MORENO
                                                                                                          VAU.EY,
          CA 82553-7157 , or at a stogie attemabve addraaa it t give die lender notice of my alternative address
                                                                                                                 i may grve notice to
          lender of a change snay address to writing or by estog Lender** Oaswmer service telephone
                                                                                                    number provided an my biffing
          ataternant . t may designate only an* rneilinseddfeiw at * tens tarflNSwiton purpose*


               Except as permitted above tor change* of address, any notice that must be given to far Lander
                                                                                                               under thts Nfrte w* be gwan
          by matfthg # by tal class Wil to the tender at the address stated irt Section 3{A> above or
                                                                                                      at a dfiereht address if I em given a
          note of that different address



          S.    OBLIGATIONS OF PERSONS UNDER THIS NOTE
                If mora Ban oris parson signs this Note, each person » Miy sod personally obligated to map
                                                                                                            a* of tee ptwraaes made to tea
          Note. melusing the premiss to pay the toft amount owed Arty person who totes over
                                                                                              those ob%a«oN Is also oMgatad to teap all
          of the promtses made m this Note The tender way enforce its nghfs under this Note e game!
                                                                                                      each pefsan mttviduafly of agamst ait
          oi us together This means that any on* ot us may be yeouhed to p»y a# of tN
                                                                                      amounts cited under this Note



          io.   waivers
                f and any other pemon who has ohfigafams under this Note watvp the rights of presentment,
                                                                                                          net** of dishonor, notice of
          aeoateration, and pretest "Presentmsnt" means the right to nepuwe the Lender to demand
                                                                                                     payment Of amounts due -Nsbsa of
          Behonm* meerw the ughi to repute I he Lender to grve nonce to ether person diet arttOunte
                                                                                                    due have not bean pud.



          It,   SECURED NOTE - ACCELERATION

                in addition to the protections given to the tender undaniiia Note, the Security instrument
                                                                                                           dated ihe same date as this Note
          gives the Lender security against which it may proceed ff ! do not tamp the promises which f made w
                                                                                                              this Noll That Security
          instrumew describes how end under what wkSsBssss s may be resfarwl to mate
                                                                                     sshiwtdisto.paymant « tun of ell amounts i owe
          Wider this Note and induces the following Paragraph 26:


                AGREEMENTS ABOUT LENDER'S RIGHTS IF THE PROPERTV 18 SOLO OR TRANSFERRED


                Acceleration of Payment of Sums Seemed, Lehdar nay, at te option, rarpt* rmmMtit*
                                                                                                  payment m Mi Of e« Sum*
                Stewed by this Security Instrument tf all or any part of the Property, or if any flght tn the Property,
                                                                                                                        is sold oi transferreo
                wWiort Landars prior written permission Lander also nay, at taapftea, require immediate
                                                                                                                payment in fat it Borrower is
                not a raturki Person and a bam Dm! interest tn Borrower »* pilit or transfanad wjihotlt
                                                                                                                      Lender's P'tor written
                permission However. Lendei shall not require immediate payment in Mi it itas a promoted
                                                                                                        by Federal Law in effect on
                the itete of the Security Inslromem



                tf Lender eaerosesttoojdtenlo nttjuw jmrftediate faymerrt to M Lendbrwiitgive ma notice
                                                                                                        of accafemtton tf i fait to
                pay ait Sums Secured by this Secwty tnstmmew immediataty. Lender may then or ttwaelter
                                                                                                            myote any remedies
                permitted Cy Bus Security Instrument without father notice to or demand on me




          SDZ53Bj3t»5btM)            IBOO (SHlMR-4)!                 5XED PfCK-A-PAyMENT NOTE                                                    CK
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           «     GOVERNING LAW; SEVERABILITY
                 tin* Note shall be governed by end construed under federal tew end Metal rules and regulations including those
          for fedsnhy chartered earwigs mebfeOoas, called "Federal uw." In the event that any of die terms ot provisions
                                                                                                                         of Hps Nate
          am interpreted or construed by a court of competent (urtsdNbon to be vend, mvetd of unenforceable, such decision
                                                                                                                           shall affect only
          tboee provisions an construed or interpreted and shall not affect the remaining provisions of tlw Note



           », CLERICAL ERRORS

                 tn the event the tedder at arty tent discovers that thts Note or the Secuniy Instrument or any other document related !o this
          loan, called eolteetweiy die "Loan poowrvents," eonjsme sn error which was caused by a clerical mislaka, calculation
                                                                                                                               error,
          oompuier error, printing error or eswtar error, t ijree, upon notice bom ihs Lender, to reeseeujs any
                                                                                                                Loan Documents that are
          neeseasry to oorreet any such errsrjs) end I also agree that I Witt not hold the Ulster responsible for aw damage to ma which
                                                                                                                                        may
          resuit torn apyoWhwot


           14,   LOST, STOLEN OR MUTILATED DOCUMENTS

                Many olttw loan Documents are tost, stdleti, mutilated or destroyed and the Lender delivers to me an mdemNBcatoh m my
          <»«'. «gn»(S by the Lender, then t Witt sign snd deliucrto the Lender a Lsan Document identical it foiw and content which wd! have
          the effect of the original for ait purposes




                         THIS SPACE INTENTIONALLY LEFT BLANK; SIGNATURE PAGE FOLLOWS



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                                                                                  0047714688
                                              SIGNATURE PAGE

          NOTICE TO BORROWeR(S):

          BY SIGNING THIS NOTE YOU AGREE TO PAY A PREPAYMENT CHARGE IN CERTAIN
          CIRCUMSTANCES. PLEASE CAREFULLY READ WIS ENTIRE NOTE (INCLUDING THE
          PREPAYMENT PROVISION) BEFORE YOU SIGN IT.



                            WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED




                            (PLEASE SIGN YOUR NAME EXACTLY AS IT APPEARS BELOW)



                                               borrowers;:




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                                                              (Seel)

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   26                             EXHIBIT 3
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                                         #:558


                                                                      Loan Information Report
     Loan Number:
                                                 708-0484755871
                                                                                           Created:                                   02/27/2019
     Primary Borrower:                           KWADWO HWENSO ASARE-
                                                 ANTWI


                                          Pimmf Addms ._L         _
                                1 2668 CHAPMAN AVE UNIT 2305
                                                                                                  Js&i              - :,'i i
                                                                                                                        FO BOX 10402
                                PARPEN PROVE, OA 92840-4021
                                                                                                                 MORENO VALLEY, CA 92S52-0402

                            Z3ZZZZZZZZ                        soa
                                                                      -            1

     Loan Date
                                                            1 1/20/2007                   Occupancy                                    INVESTMENT PROPERTY (NON-
     Loan Purpose                                                                                                                           OV/NER OCCUPIED)
                                                            PURCHASE                      Type of Loan
     Loan Amount                                                                                                                       CONVENTIONAL WITHOUT PM1
                                                            $308,000.00                   Hen Type
  Current Interest Rate                                                                                                                        FIRST MORTGAGE
                                                             8-25000%                     Owner/Assignee
  Tern                                                                                                                                     WELLS FARQO BANK NA
                                                           360 MONTHS                     Loan Acquired
  Unpaid first Principal Balance                                                                                                                    10/01/2013
                                                           £321,927.64                    Assumption Date
  Additional Unpaid Principal Balance                                                                                                                    N/A
                                                              $0.00                       Military Status
 Maturity Date                                                                                                                                           N/A
                                                            03/01/2038
 Late Charge Amount
                                                             £137.40
                           m          '   ' "




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                                                                                   ~~ Z ~
                                                            04/01/2018                   Restricted Escrow Balance
 Scheduled Payment Amount
                                                            £3,336.89                                                                                MM
                                                                                         Projected Interest Due
      Subsidy or Other Interest Credit
                                                              $0.00
                                                                                                                                                     jrn
                                                                                         interest Short
      Principal and Interest                                                                                                                          N/A
                                                            S2J4SM                       Interest Only
      Escrow                                                                                                                                          NO
                                                             $588.85                     Prepayment Penalty
      Optional Products                                                                                                                               NO
                                                              50.00                      Ante Draft
                                                                                                                                                      NO
                                                                                         Payment Freouency
                      rj
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 Next Interest Rate Change
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                                                           10/28/2037                    Margin
                                                                                                                                                                 _




 Next Payment Change                                                                                                                                 N/A
                                                           Ql/Ol/2038                    Index
Maximum Interest Rate                                                                                                                                N/A
                                                              N/A


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                                                  LOAN DENIED WORKOUT,
Current Status
                                                BORROWER HAS APPEALED AN D
                                                  APPEAL BEING REVIEWED
Complete Loss Mitigation Package                                                                                                           KARL SCHROEDER
                                                                                       Single Point of Contact (SPOC):
Received                                                     YES                                                                       877-458-8417 EXT 1335427246
                                                                                                                                                   (OFFICE)
Loss Mitigation Option Offered
                                                     NO OPTION OFFERED


                           iiatto/i                                                                      i
Number of Days Past Dae
                                                           332 DAYS
                                                                                   —Is
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                                                                                                             la 7 ^1^'r!                                         StSS
                                                                                      Bankruptcy Filed Date
Foreclosure Status                                                                                                                                   N/A
                                                             N/A                      Bankruptcy Type
Foreclosure Referred On                                                                                                                              N/A
                                                             N/A                      Bankruptcy Status
Sale Pate Scheduled                                                                                                                                 N/A
                                                             N/A


                                                                          Credit Reporting History
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                                  EXHIBIT 4
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                                   #:561
       WACHOVIA MORTGAGE, FSB



                                                                                                                                 ©(uifj)fS)\w
                                         FIXED RATE MORTGAGE NOTE
                                                   PlCK-A-PAYMENTsm LOAN



             THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES !N MY MONTHLY PAYMENT ARC MY UNPAID
              PRINCIPAL BALANCE. MY MONTHLY PAYMENT INCREASES AND MY PRINCIPAL BALANCE INCREASES ARE
              LIMITED THIS NOTE IS SECURED BY A SECURITY INSTRUMENT CM THE SAME DATE.



       LOAN NUMBER 0047886207                                                                   date' December 21, 200T


       BORROWER(S) KWADWO H A6ARE4NTW1, A SINGLE MAN                                        swrafflmes ailed -Bmrnwar* and Mm*!,™*
        stmpNwMrpf*irw*                                                      '




       PROPERTY ADDRESS 12888 CHAPMAN AVE# 2406, GARDEN GROVE, CA 928404021




        1.    BORROWER'S PROMISE TO PAY


              »r» raturo tot a twin Out I lava recwiW. I promise to pay U S $282,780.00 , called "PrtoUpaJ," plus Interest. am) any othar
        charges Incurred durtog the spuree eftta kwn, to are wear of Ihe Under The Ursffar is WACHOVIA MORTGAGE, FSB,
        A FEDERAL SAVINGS BANK, ITS SUCCESSORS ANDIOR assignees, or anyone to whom this Note la Irsrotsrmd.




             J. INTEREST

              totaraai «# fce charged on unpaid Principal una1 toe to# amount or Principal hat been ptU I wtl pay Internal attoa yearly rata
        of 8 SS0% intereas willba ehafjed on toe baatsola twelve month yaerarsd a (tony Say month



               The Interest rata required by tola Section 2 n toe rate I: will pay belh before and after any tfeBulf i

        this Nate




        SD2S3A CZ008.0M)       [AM (lOOE-OSS))          FIXED PICfWLPAYMENT NOTE
                                                                   Papal                                       i         LENDER'S USB ONLY
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         12    GOVERNING LAW; SEVERABILITY
               This Nat* shall be governed by end construed under federal lew end federal rules and emulation* Including
                                                                                                                         those
         for federally cluttered savings Instttutiona, eatted federal Law * In the went that any of Bw MiTOe or
                                                                                                                provtaten* of this Note
        ate Interpreted or constryad by a Court of competent lurisdlctlon to be void, InvaUdor twenferoeable, eueh decision ahel
                                                                                                                                 effect only
        those provisions so construed or Interpreted and dan not effect tee renatetng provtetohs of tela Note


         «.    CLERICAL errors
               In tee event the Lender at any time discovers that this Note or tee Security Instrument or any other document related
                                                                                                                                     to tele
        teen, cased ceHMtMty tec "Loan Document*," comains en error which wee caused by * Clertssl
                                                                                                                   mistake, calculation error,
        computer error, printing error w similar error, 1 egret. upon notice torn the Lender, » rwsxecute
                                                                                                               eny Loan Documents test ere
        rues scary te oorrsct arty such errorfs) and I also agree teat t wW net hold tec lender responsible lor eny
                                                                                                                    damage to we which may
        result tram any euch error


         1«.   LOST. STOLEN OR MUTILATED DOCUMENTS
               If any of tee Loan Documents are lost, stolen, mutilated or destroyed end tee Lender deltvw* tame
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        fevor. algited by the tender, then I est aign and defNet to toe Under a Lean Document tdertol In term and centent
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 146 of 169 Page ID
                                   #:566
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         NOTICE TO BORROWER(S)-

         BY SIGNING THIS NOTE YOU AGREE TO PAY A PREPAYMENT CHARGE IN CERTAIN
         CIRCUMSTANCES. PLEASE CAREFULLY READ THIS ENTIRE NOTE (INCLUDING THE
         PREPAYMENT PROVISION) BEFORE YOU SIGN IT.


                      WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED




                      (PLEASE SIGN YOUR NAME EXACTLY AS IT APPEARS BELOW)



                                           BORROWERS);




                                                            (Seal)


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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 147 of 169 Page ID
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    26                            EXHIBIT 5
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 Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 148 of 169 Page ID
                                    #:568


                                                                     Loan Information Report
   1-oan Number:
                                                    708-0484774849                           Created:
  Primary Borrower;                                                                                                                    02/26/2019
                                                    KWAPWO H ASARE-ANTW1



                                   >~Z i
                           12668 CHAPMAN AVE UNIT 2405                                                                                                                       mm
                                                                                                                                 PO BOX 10402
                           GARDEN PROVE. CA 92840-4021
                                                                                                                  MORENO VALLEY. CA 925S2-0402


  Loan Date                                                                                                                                                                  j
                                                                12/21/2007                  Occupancy                                   INVESTMENT PROPERTY (NON-
  Loan Purpose                                                                                                                                  OWNER OCCUPIED)
                                                               PURCHASE                     Type of Loan
  Loan Amount                                                                                                                           CONVENTIONAL. WITHOUT PM1
                                                               S282.750.00                  Lien Type
  Current Interest Rate                                                                                                                     FIRSTMORTGAGE
                                                                8,5SQ00%                    Owner/Assignee
  Term                                                                                                                                     WELLS FARGO BANK NA
                                                             360 MONTHS                     Loan Acquired
  Unpaid First Principal Balance                                                                                                                     10/01/2013
                                                               $302,413.19                 Assumption Date
 Additional Unpaid Principal Balanc                                                                                                                    N/A
                                    e
                                                                                            Military Status
 Maturity Pate                                                                                                                                         N/A
                                                                04/15/2038
 Late Charge Amount
                                                                 SB1.S0



 Due Pate                                                                                                                                                  Ill
                                                               03/15/2018                  Restricted Escrow Balance
 Scheduled Payment Amount                                                                                                                             S0.00
                                                                $3.086,39                  Projected Interest Due
   Subsidy or Other Interest Credit                                                                                                                    N/A
                                                                  $0.00                    Interest Short
   Principal and Interest                                                                                                                              N/A
                                                                $2.630.03                  interest Only
   Escrow                                                                                                                                              NO
                                                                5456.36                    Prepayment Penalty
   Optional Products                                                                                                                                   NO
                                                                 $0,00                     Auto Draft
                                                                                                                                                       NO ,
                                                                                           Payment Frequency
                                                                                                                                                    MONTHLY

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Nest Interest Rate Change
                                                               12/12/2037
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Nest Payment Change                                                                                                                                   N/A
                                                               02/15/2038                 Index
Maximum interest Rate                                                                                                                                 N/A
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                                                     LOAN DENIED WORKOUT,
Current Status
                                                   BORROWER HAS APPEALED AND
                                                     APPEAL BEING REVIEWED
Complete Lou Mitigation packag                                                                                                                  LEONOR MILLER
                              e                                                           Single Point of Contact (SPGC):
Received             .                                           YES                                                                    877-458-84 17 BXT 1335520318
                                                                                                                                                  (OFFICE)
Loss Mitigation Option Offered
                                                       NO OPTION OFFERED

MS                                                                             Wj




Number of Days Past Pue
                                                             348 DAYS                     Bankruptcy Filed Date
Foreclosure Status                                                                                                                                   N/A
Foreclosure Referral On
                                                                m.                        Bankruptcy Type
                                                                                                                                                     N/A
                                                                 N/A                      Bankruptcy Status
Sale Date Scheduled                                                                                                                                  N/A
                                                                 N/A



                                                                          Credit Reporting History

              02/12/2019

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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 150 of 169 Page ID
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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 151 of 169 Page ID
                                   #:571
   «   i                                                           Recorded in Official Records, Orange County
                                                                   Hugh Nguyen, Clerk-Recorder


                                                                     $R0010524707$
                                                                      *   $   R   0   0   1   0524707$*

 Recording requested by:                                              2018000464597 1:43 pm 12/12/18
 Quality Loan Service Corp.                                         37 405 N34        3
                                                                    0.00 0.00 0.00 0.00 6.00 0.00 0.000.0075.00 3.00
 When recorded mail to:
 Quality Loan Service Corporation
 2763 Camino Del Rio South
 San Diego, CA 92108




 TS No. CA-18-834091-BF                                                       SPACE ABOVE THIS LINE FOR RECORDER'S USE

 Order No.: 8740373



                                   NOTICE OF TRUSTEE'S SALE

  NOTE: THERE IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT ATTACHED TO THE
            COPY PROVIDED TO THE MORTGAGOR OR TRUSTOR (Pursuant to Cal. Civ. Code 2923.3)


                               &uiAHh & %i¥ e*wi sm s.% nn
              NOTA: SE ADJUNTA UN RESUMEN DE LA INFORMACION DE ESTE DOCUMENTO
           TALA: MAYROONG BUODNG IMPORMASYON SA DOKUMENTONG ITONA NAKALAK1P
  LUXJ Y: K.EM THEO DAY LA BAN TR1NH BAY TOM LU'QC VE THONG TIN TRONG TAI LIEU NAY

 YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED 12/21/2007.  UNLESS YOU TAKE
 ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF YOU NEED
 AN EXPLANATION OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD
 CONTACT A LAWYER.


 A public auction sale to the highest bidder for cash, cashier's check drawn on a state or national bank, check drawn
 by state or federal credit union, or a check drawn by a state or federal savings and loan association, or savings
 association, or savings bank specified in Section 5 1 02 to the Financial Code and authorized to do business in this
 state, will be held by duly appointed trustee. The sale will be made, but without covenant or warranty, expressed or
 implied, regarding title, possession, or encumbrances, to pay the remaining principal sum of the note(s) secured by
 the Deed of Trust, with interest and late charges thereon, as provided in the note(s), advances, under the terms of the
 Deed of Trust, interest thereon, fees, charges and expenses of the Trustee for the total amount (at the time of the
 initial publication of the Notice of Sale) reasonably estimated to be set forth below. The amount may be greater on
 the day of sale.


 BENEFICIARY MAY ELECT TO BID LESS THAN THE TOTAL AMOUNT DUE.


 Trustors):          KWADWO H ASARE-ANTWI, A SINGLE MAN
 Recorded:           1/7/2008 as Instrument No. 2008000006838 of Official Records in the office of the
                     Recorder of ORANGE County, California;


 Date of Sale:       1/9/201 9 at 1 :30PM
 Place of Sale:      At the North front entrance to the County Courthouse located at 700 Civic Center Drive
                  West, Santa Ana, CA 92701
 Amount of unpaid balance and other charges: $341,688.27
 The purported property address is:         1 2668 CHAPMAN AVE, GARDEN GROVE, CA 92840-4021
 Assessor's Parcel No.: 936-192-1 1
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                                   #:573

  TS No.: CA-1 8-834091 -BF



  Legal Description: Please be advised that the legal description set forth on the Deed of Trust is in error. The
  legal description of the property secured by the Deed or Trust is more properly set forth and made part
                                                                                                               of
  Exhibit "A" as attached hereto.
  NOTICE TO POTENTIAL BIDDERS: If you are considering bidding on this property lien, you should
 understand that there are risks involved in bidding at a trustee auction. You will be bidding on a lien, not on the
 property itself. Placing the highest bid at a trustee auction does not automatically entitle you to free and clear
 ownership of the property. You should also be aware that the lien being auctioned off may be a junior lien. If you
 are the highest bidder at the auction, you are or may be responsible for paying off all liens senior to the lien being
 auctioned off, before you can receive clear title to the property. You are encouraged to investigate the existence,
 priority, and size of outstanding liens that may exist on this property by contacting die county recorder's office or a
 title insurance company, either of which may charge you a fee for this information. If you consult either of these
 resources, you should be aware that the same lender may hold more than one mortgage or deed of trust on the
 property.


 NOTICE TO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one or more
 times by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the California Civil Code. The
 law requires that information about trustee sale postponements be made available to you and to the public, as a
 courtesy to those not present at the sale. If you wish to leam whether your sale date has been postponed, and, if
 applicable, the rescheduled time and date for the sale of this property, you may call 916-939-0772 for information
 regarding the trustee's sale or visit this Internet Web site http://www.qualityloan.com, using the file number
 assigned to this foreclosure by the Trustee: CA-18-834091-BF. Information about postponements that are very short
 in duration or that occur close in time to the scheduled sale may not immediately be reflected in the telephone
 information or on the Internet Web site. The best way to verify postponement information is to attend the scheduled
 sale.


 The undersigned Trustee disclaims any liability for any incorrectness of the property address or other common
 designation, if any, shown herein. If no street address or other common designation is shown, directions to the
 location of the property may be obtained by sending a written request to the beneficiary within 10 days of the date of
 first publication of this Notice of Sale.


 If the sale is set aside for any reason, including if the Trustee is unable to convey title, the Purchaser at the sale shall
 be entitled only to a return of the monies paid to the Trustee. This shall be the Purchaser's sole and exclusive
 remedy.    The purchaser shall have no further recourse against the Trustor, the Trustee, the Beneficiary, the
 Beneficiary's Agent, or the Beneficiary's Attorney.

 If you have previously been discharged through bankruptcy, you may have been released of personal liability for
 this loan in which case this letter is intended to exercise the note holders right's against the real property only.


 QUALITY MAY BE CONSIDERED A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND
 ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.


 Date: lJ.jn                                        Quality Loan Service Corporation
                                                    2763 Camino Del Rio South
                                                    San Diego, CA 92108
                                                    619-645-7711 For NON SALE information only
                                                    Sale Line: 916-939-0772
                                                    Or Login to: http://www.qualityloan.com
                                                    Reii         :nt Line: (866) 645-J7CT Ext 5318



                                                    Quality   Lhqnjiervicl       >rp.   by:   Ronald   Alonzo,   Assistant
                                                    Secretary
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                                   #:574

   TS No.: CA-I 8-834091 -BF




                                                  Exhibit "A"
       The Land referred to n this Guarantee h situated in the State of Ccfjfomia, County of ORANGE.
       OF GARDEN GROVE and is described as foftows:                                                  CITY

       A CONDOMINIUM COMPRISED OF:
       PARCEL 1:

       AN UNDIVIDED FEE SIMPLE INTEREST AS A TENANT IN COMMON IN AND TO THE
                                                                            COMMON AREA
       WITHIN THE PHASE 2 MODULE EQUAL TO THEXEOPXOCAL OF THE NUMBER OF RESIDENTIAL
       LOCATED THE PHASE 2 MODULE, AS SHOWN ON THE CONDOMINIUM              UNITS
                                                               PLAN FOR. CHAPMAN
       COMMONS.  RECORDED IN THE OFFICE OF THE COUNTY RECORDER OF COUNTY
                                                                            OF ORANGE,
       CALIFORNIA. ON FEBRUARY 1V200TAS DOCUMENT NO. 2007-9M37 CCONDOMINIUM
                                                                               PLANT. WHICH
       IS LOCAimUUHIN LOT 1 OF fRACT NO. 10732. IN THE CITY GARDEN GROVE, COUNTY OF 01RANGE,
       STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF. FILED IN THE OFFICE
       RECORDER OP ORANGE COUNTY, APRIL 11 2006, IN BOOK S79 AT PAGBCQ
                                                                          OF    THE COUNTY
                                                                       33 TO 355 ("MAP"). ALL
       DEFINED TERMS USED HEREIN SHALL HAVE THE MEANINGS SET FORTH
                                                                   IN THE -DEOLARATT ON
       REFERENCED BELOW AND THE CONDOMINIUM PLAN.

       PARCEL2:

       RESIDENTIAL UNIT NO. 2405, AS SHOWN AND DESCRIBED ON THE CONDOMINIUM
                                                                            PLAN.
       PARCELS:

       AN EXCLUSIVE EASEMENT   OVER THE PORTION OF THE COMMON AREA DESIGNATED IN THE
       CONDOMINIUM PLAN AS BEING APPURTENANT TO THE RESIDENTIAL UNIT
                                                                     DESCRIBED ABOVE
       PARCEL 4:


       NON-EXCLUSIVE, APPURTENANT EASEMENTS IN AND TO 0) THE COMMON
                                                                        AREA IN OTHER MODULES
       IN THE PROJECT. AND fll) THE ASSOCIATION PROPERTY SHOWN IN THE CONDOMINIUM
                                                                                   PLAN AND IN
       OTHER. PHASES OF THE PROJECT, FOR USE THEREOF PURSUANT TO THE
                                                                         TERMS OF THE
       DECLARATION. SUBJECT TO ANY EXCLUSIVE USE EASEMENT AREAS AND OTHER
                                                                          RESERVATIONS
       SET FORTH [N THE DECLARATION. SUCH EASEMENTS SHALL BECOME EFFECTIVE
                                                                             AS TO A PHASE
       SUBSEQUENT TO THE PHASE IN WHICH THE CONDOMINIUM IS LOCATED UPON
                                                                         0) RECORDATION OF
       A SUPPLEMENTARY DECLARATION DECLARING SUCH PHASE TO BE SUBJECT
                                                                        TO THE DECLARATION
       OR RECORDATION OF A SEPARATE DECLARATION OF RESTRICTIONS WHICH
                                                                      REQUIRES THE OWNERS
       WITHIN SUCH PHASE TO BE MEMBERS OF THE ASSOCIATION, AND OR) CONVEYANCE
                                                                               OF THE FIRST
       CONDOMINIUM IN THE RESPECTIVE PHASE. OR AS MORE FULLY SET FORTH
       THE COMMON                                                      IN THE DECLARATION.
                      AREA AND ASSOdATIONTOJPERTY REFERRED TO HEREIN AS TO EACH
                                                                                SUCH PHASE
       SHALL BE SHOWN AND DESCRIBED ON THE CONDOMINIUM PLAN COVERING
                                                                           SUCH PHASE,
       RECORDED IN THE OFFICE OF THE COUNTY RECORDER OF COUNTY OF ORANGE,
                                                                            CALIFORNIA,
       EXCEPTING THEREFROM ANY PORTION THEREOF WHICH MAY BE DESIGNATED
                                                                       AS AN EXCLUSIVE
       USE EASEMENT AREA.

      EXCEPTING THEREFROM THE EASEMENT AND OTHER RIGHTS RESERVED IN FAVOR
      THE DECLARATION FOR MARKETING AND DEVELOPMENT. INCLUDING,               OF GRANTOR IN
                                                                        WITHOUT LIMITATION
      SUBJECT TO ALL EXCLUSIVE USE EASEMENT AREAS, THE RIGHT OF
                                                                      GRANTOR TO MAINTAIN
      MARKETING UNITS IN THE CONDOMINIUMS OWNED BY GRANTOR, AS WELL
                                                                            AS THE RK3IT OF
      ACCESS, INGRESS. AND EGRESS FOR VISITORS TO THE SALES OFFICE AND
                                                                       MARKETING UNITS AND
      THE RIGHT TO MAINTAIN SIGNS OR OTHER MARKETING MATERIALS
                                                               WITHIN THE COMMON AREA


      OR ASSOCIATION PROPERTY OF THE PROJECT.

      FURTHER EXCEPTING THEREFROM, AN EASEMENT FOR INGRESS AND EGRESS,
                                                                          IN, ON, OVER,
      THROUGH AND ACROSS THE COMMON AREA ANDiOR ASSOCIATION PROPERTY
                                                                     TO PERMIT  GRANTOR
      TO INSTALL IMPROVEMENTS THEREON. THE GRANTOR FURTHER RESERVES
                                                                    THE RIGHT TO PREVENT
      ACCESS OVER PORTIONS OF COMMON AREA AND/OR ASSOCIATION PROPERTY
      CONSTRUCTION FENCE OR OTHER BARRIER THEREON PRIOR TO COMPLETION
                                                                      BY      PLACING A
                                                                      OF CONSTRUCTION OF
      ALL IMPROVEMENTS WITHIN THE PROJECT. HOWEVER, NO SUCH BARRIER
                                                                    SHALL PREVENT INGRESS
      OR EGRESS BY GRANTEE TO AND FROM HIS OR HER RESIDENTIAL UNIT.

      FURTHER EXCEPTING FROM PARCELS 1, 2 AND 3 ABOVE, ALL EASEMENTS
                                                                        DESCRIBED IN THE
      DECLARATION, THE CONDOMINIUM PLAN, THE MAP. AND ALL OTHER EASEMENTS
                                                                          OF RECORD.

      PARCELS:

      A NON-EXCLUSIVE EASEMENT FOR VEHICU
      OVER THROUGH AND ACROSS THE RO          AY MODULE LOCATED WITHIN LOT 1 OF
      ABOVE-REFERENCED MAP. AS SHOWN ON THE CONDOMINIUM PLAN.THE
                                                                          REAL PROPERTY
      CONVEYED IN THIS GRANT DEED ("PROPERTY") IS CONVEYED TOGETHER WITH
                                                                         A MEMBERSHIP IN
      THE CHAPMAN COMMONS HOMEOWNERS ASSOCIATION ("ASSOCIATION")
                                                                   AND ACCEPTED SUBJECT
      TO THAT CERTAIN DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS
                                                                             OF CHAPMAN
      COMMONS RECORDED IN THE OFFICE RECORDS OF THE COUNTY
                                                           RECORDER OF COUNTY OF
      ORANGE, CALIFORNIA ON FEBRUARY 13.2007 AS DOCUMENT NO. 2007-9343S AND ANY
                                                                                AMENDMENTS
      THERETO NOW OF RECORD OR WHICH WILL BE OF RECORD PRIOR TO THE RECORDATION
                                                                                    OF THIS
      GRANT  DEED ("DECLARATION-) WHICH ARE INCORPORATED HEREIN BY REFERENCE TO
                                                                                THIS GRANT
      DEED WITH THE SAME EFFECT AS THOUGH FULLY SET FORTH HEREIN. AS
                                                                       MORE PARTICULARLY
      DESCRIBED IN THE DECLARATION. THE PROPERTY IS CONVEYED SUBJECT
                                                                     TO SUCH EASEMENTS IN
      FAVOR. OF THE ASSOCIATION      AS ARE NECESSARY TO PERFORM THE DUTIES AND OBLIGATIONS OF
      THE ASSOCIATION AND CERTAIN EASEMENTS RESERVED BY GRANTOR
                                                                GRANTEE, IN ACCEPTING
      THIS GRANT DEED AND THE CONVEYANCE HEREUNDER DOES HEREBY
                                                               AGREE, JOINTLY AND
      SEVERALLY, FOR THE BENEFIT OF THE ASSOCIATION AND EACH AND EVERY
                                                                       ONE OF THE OTHER
      MEMBERS OF THE ASSOCIATION, THAT GRANTEE WILL PROMPTLY, FULLY
                                                                        AND FAITHFULLY
      COMPLY WITH AND CONFORM TO THE DECLARATION AND THE ARTICLES OF INCORPORATION
      BYLAWS OF THE ASSOCIATION AND THE RULES AND ARCHITECTURAL GUIDELINES
                                                                                   AND
                                                                           REFERENCED IN
      THE DECLARATION. St PARTICULAR*GRANTEE DOES HEREBY AGREE, JOINTLY
                                                                         AND SEVERALLY,
      PROMPTLY TO PAY IN FULL ANY DUES, FEES OR ASSESSMENTS LEVIED BY THE ASSOCIATION
      THE MEMBERSHIP                                                                  ON
                         CONVEYED HEREBY. THE OBLIGATIONS OF GRANTEE HEREIN SET FORTH SHALL
      BE COVENANTS RUNNING WITH THE PROPERTY IT BEING UNDERSTOOD
                                                                 THAT SAID MEMBERSHIP IN
      THE ASSOCIATION AND THE OBLIGATIONS THEREOF, WILL AUTOMATICALL
                                                                     Y PASS TO GRANTEE'S
      SUCCESSOR IN TITLE IN THE PROPERTY OR OTHERWISE, AND SHALL BE BINDING
      GRANTEES ABOVE NAMED, THEIR HEIRS. DEVISEES, EXECUTORS, ADMINISTRATOR
                                                                            UPON THE
                                                                            S, SUCCESSORS
      AND ASSIGNS.
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                                       #:575

       Trustee Sale Number: CA-1 8-834091 -BF


                                           NOTICE OF SALE
                                     SUMMARY OF KEY INFORMATION


The attached notice of sale was sent to KWADWO H ASARE-ANTWI, A SINGLE MAN, in relation to
12668 CHAPMAN AVE, GARDEN GROVE, CA 92840-4021.

YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED 12/21/2007. UNLESS YOU TAKE
ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE.


IF YOU NEED AN EXPLANATION OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU
SHOULD CONTACT A LAWYER.


The total amount due in the notice of sale is $341,688.27. Your property is scheduled to be sold on
1/9/2019 at 1:30PM At the North front entrance to the County Courthouse located at 700 Civic Center
Drive West, Santa Ana, CA 92701 .

However, the sale date shown on the attached notice of sale may be postponed one or more times by
the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the California Civil Code.
The law requires that information about trustee sale postponements be made available to you and to
the public, as a courtesy to those not present at the sale. If you wish to learn whether your sale date
has been postponed, and, if applicable, the rescheduled time and date for the sale of this property,
you may call 916-939-0772 or visit this Internet Web site address http://www.qualityloan.com using
the file number assigned to this case CA-18-834091-BF. Information about postponements that are
very short in duration or that occur close in time to the scheduled sale may not immediately be
reflected   in the telephone information or on the Internet Web site.         The   best way to verify
postponement information is to attend the scheduled sale.

If you would like additional copies of this summary, you may obtain them by calling 619-645-7711.




       Civil Code Section 2923.3(d)(2) (Revised 3/28/13)
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                                   #:576




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Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 157 of 169 Page ID
                                   #:577

  Trustee Sale Number: CA-1 8-83409 1-BF




                         12668 CHAPMAN AVE, GARDEN GROVE, CA 92840-4021
                                   OTr 1                                    )

                          KWADWO H ASARE-ANTWI, A SINGLE MAN,
                           m&Avm

  4m Deed of Trust » 12/21/2007 ELgiMM,
                                                                (0JW)

  mmmmnmimrmmm , sjta&tMjiM&ttmtim.


                                              >mmm        tm.

                                $341,688.27,


                             1/9/2019 1:30PM
                                   (w*0»?pi^ra)

  tb WHillS At the North front entrance to the County Courthouse located at 700 Civic
 Center Drive West, Santa Ana, CA 92701,
                                            (WtFffcB)

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 #a. s&a, ma, mm                                        mm-m
 1®.                                                            7 mimmm t±m 0
 51 , j&lr ( jniiffl )                                       916-939-0772



 StSPMftfiffliil:        http://www.qualityloan.com ,



  CA-1 8-834091 -BF
       mi*   $9i)




                              gijA, tmnrwmm              619-645-7711,
                                                                (mis«)




 Notice of Sale-Chinese (Revised 3/28/13)
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                                    #:578

 Ifmstee Sale Number: CA-1 8-83409 1-BF


                                                    H^ SJI

                                                 ^-9.




             &¥£!          Sife      KWADWO H ASARE-ANTWI, A SINGLE MAN oi|7i|

 ^\Q\. Olfe.

                                          (WtfSXi-gS)

   12668 CHAPMAN AVE, GARDEN GROVE, CA 92840-4021 o\\                          5?jL|Ck (*H¥ WO|^

xiss 5Et m                  M£*Fb ¥&m\ cm gg)



            flSFc-      12/21/2007                  Deed of Trust sKH|AH

                          (m §Ai Sb x-l&S)

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yiiAffil-     &*UJA|£.




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            ?|S|-°|           1/9/2019 1:30PM

                                     (0H4 <SJxh SJ AIZJ")

oil At the North front entrance to the County Courthouse located at 700 Civic Center Drive

West, Santa Ana, CA 92701 oH|AH n||zj-£|7|£ <UQo\ *j-§=| g,'^L|cK

      (am S"£)

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Sol-Alb 3¥,           916-939-0772S Sft^AWU £Eb S!|AK>|m

 (4=5W DHZfcHl btt SM 2.H-H S8RSS.)

http://www.qualityloan.com        # &bsH ¥ A|-s|| uHS H|-fcJ b
Notice of Sale - Korean (Revised 3/28/13)
 .




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                                        #:579

     Trustee Sale Number: CA-1 8-83409 1-BF


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 ¥ fiaf/dfil ¥7FS2J               ffltfAfe S¥,   619-645-7711 (2)3. S»sfA|0

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Notice of Sale - Korean (Revised 3/28/13)
   Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 160 of 169 Page ID
                                      #:580

        Trustee Sale Number: CA-1 8-834091 -BF


                                                 AVISO DE VENTA
                                 RESUMEN DE LA INFORMAClON CLAVE

        El aviso de venta adjunto se envio a KWADWO H ASARE-ANTWI,
                                                                   A SINGLE MAN
 (Fideicomitente), en relation con 12668 CHAPMAN AVE, GARDEN GROVE,
                                                                                       CA 92840-4021
 (description de la propiedad que garantiza la hipoteca o escritura de fideicom
                                                                                iso en mora).

        USTED    HA INCUMPLIDO          LOS TERMINOS       DE   UNA DEED OF TRUST (escritura de
fideicomiso o hipoteca) DE FECHA          12/21/2007.   SI NO TOMA MED I DAS PARA PROTEGER SU
 PROPIEDAD, PODRA SER VENDIDO EN UNA SUBASTA POBLICA.

       SI USTED NECESITA QUE LE EXPLIQUEN LA NATURALEZA DEL
                                                            PROCEDIMIENTO EN
SU CONTRA, DEBE CONSULTAR A UN ABOGADO.

       El importe total adeudado correspondiente al aviso de venta es $341 ,688.27.


      La subasta de la propiedad se ha programado para el dla 1/9/2019 1:30PM
                                                                              (fecha y hora de la
subasta) At the North front entrance to the County Courthouse located
                                                                       at 700 Civic Center Drive
West, Santa Ana, CA 92701 (lugar de la subasta).


       No obstante, conforme al Articulo 2924g del Codigo Civil de California
                                                                             , la fecha de la subasta
que figura en el aviso adjunto podra ser postergada una o mas veces por
                                                                            el acreedor hipotecario, el
beneficiario, el fideicomisario o un tribunal. La ley exige que, como cortesia
                                                                               para quienes no hayan
asistido a la subasta, la information sobre las postergaciones solicitada
                                                                          s por el fideicomisario se
ponga a disposition suya y del publico en general.      Si desea saber si la subasta de su propiedad se
ha postergado, y, en tal caso, la nueva fecha propuesta para la subasta
                                                                              de esta propiedad, puede
llamar al telefono 916-939-0772 {numero de telefono para obtener informat
                                                                                ion sobre la subasta del
fideicomisario) o visitar el sitio web http://www.qualitvloan.com (directio
                                                                            n del sitio web para obtener
information sobre la subasta de la propiedad), usando el nOmero de
                                                                          registro asignado a este caso
CA-1 8-834091 -BF (numero de registro del caso).


      Es posible que la information sobre las postergaciones por plazos
                                                                         muy breves o decididas
muy proximo a la fecha programada para la subasta no figuren en la
                                                                   information que se ofrece por
telefono o en el sitio web. La mejor forma de verificar la information sobre
                                                                             las postergaciones es
asistir a la subasta que se ha programado.


       Si desea recibir copias adicionales de este resumen, puede llamar al telefono
                                                                                     619-645-7711
(ingresar numero de telefono).




      Notice of Sale-Spanish (Revised 3/28/13)
SBSli,.,,..
              Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 161 of 169 Page ID
                                                 #:581

                 Trustee Sale Number: CA-1 8-834091 -BF


                                              PABATID NG PAGBEBENTA
                                        BUOD NG PANGUNAHING IMPORMASYON

                 Ang nakakalip na notice of sale (pabatid ng
                                                                pagbebenta) ay ipinadala kay KWADWO H
         ASARE-ANTWI, A SINGLE MAN (Nagkakatiw
                                                        ala), bilang kaugnayan sa 12668 CHAPMAN
         GARDEN GROVE, CA 92840-4021 (paglalarawa                                                       AVE,
                                                          n sa ari-arian na nagtitibay sa isinangla o deed
         trust o papeles ng panagot sa utang, na hindi nabay                                               of
                                                             aran.)

               IKAW AY HINDI NAKABAYAD SA ILALIM NG DEED
                                                             OF TRUST (deed of trust o papeles ng
         panagot sa utang o isinangla) NA MAY PETS
                                                   A NA 12/21/2007 . MALI BAN KUNG KAYO
         KUMILOS UPANG MAPROTEKTAHAN ANG INYON                                                AY
                                                       G ARI-ARIAN, MAAARI ITONG IBENTA SA
         ISANG PAMPUBLIKONG PAGBEBENTA.


              KUNG KINAKAILANGAN NINYO NG PAGPAPAL
                                                    IWANAG SA KALIKASAN NG PAGLILITIS
         LABAN SA INYO, KAILANGAN NINYONG MAKIP
                                               AG-UGNAYAN SA ISANG ABOGADO.

               Ang kabuuang halaga na dapat bayaran sa
                                                       notice of sale (pabatid ng pagbebenta) ay
         $341,688.27.


              Ang inyong ari-arian ay nakatakdang mabe
                                                            nta sa 1/9/2019 1:30PM (petsa at oras ng
        pagbebenta) At the North front entrance to the
                                                       County Courthouse located at 700 Civic Cente
                                                                                                    r Drive
        West, Santa Ana, CA 92701 (lugar ng bentahan).


                Gayunman, ang petsa ng pagbebenta na ipinap
                                                               akita sa nakalakip na notice of sale (pabatid ng
        pagbebenta) ay maaaring maantala ng isa o mas
                                                             marami pang beses ng nagkaloob ng isinangla,
        benepisyaryo, pinagkatiwalaan, o ng korte,
                                                      alinsunod sa Seksyon 2924g ng Kodigong
                                                                                                       Sibil ng
        California. Hinihiling ng batas na ang impornasyon
                                                             tungkol sa mga pagpaantala sa pagbebenta ng
        pinagkatiwalaan ay handang maibigay sa inyo
                                                      at sa publiko, bilang isang kagandahang-loob doon
                                                                                                             sa
        mga hindi makakadalo sa bentahan. Kung nais
                                                          ninyong lubos pang matutunan kung naantala
        inyong petsa sa pagbebenta, at kung naaangkop,                                                      ang
                                                           ang natakda muli na oras at petsa sa bentahan
        ari-ari
              an, maaari kayong tumawag sa 916-939-07
                                                                                                             ng
                                                           72 (ang numero ng telepono para makakuha
       impormasyon hinggil sa pagbebenta ng pinagk                                                           ng
                                                     atiwalaan) o bumisita dito sa Internet Web site
                                                                                                       address
       http://www.aualitvloan.com (Ang Internet websi
                                                      te address para makakuha ng impormasyon hinggi
                                                                                                           l sa
       pagbebenta ng ari-arian na ito) gamit ang numer
                                                        o ng file na itinalaga sa kasong ito CA-1 8-834091
       (nume                                                                                               -BF
               ro ng file ng kaso). Impormasyon tungkol sa mga
                                                               pagpaaantala sa loob ng maikling panah
                                                                                              on o
       maaaring maganap kalapit ng itinakdang pagbe
                                                     benta ay maaaring hindi kaagad masaad
       impormasyon mula sa telepono o sa Internet                                               sa
                                                  Web site.   Ang pinakamainam na paraan upang
       mapatotohanan ang impormasyon sa pagpaaanta
                                                   la ng petsa ay ang pagdalo sa nakatakdang
                                                                                             petsa
       ng bentahan.


               Kung nais ninyo ng karagdagang mga kopya ng
                                                            buod na ito, maaari ninyong makuha ang mga
       ito sa pamamagitna ng pagtawag sa 619-645-77
                                                     11 (ilagay ang numero ng telepono).




               Notice of Sale - Tagalog (Revised 3/28/13)
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                                          #:582

                Trustee Sale Number: CA-1 8-834091 -BF


                                                THONG BAO BAN
                                  BAN TRiNH BAY tOm Li/ac V£ THONG TIN CHlNH

             Thong bao rao ban kern theo dirge gtri tai cho KWADWO H ASARE
                                                                           -ANTWI, A SINGLE MAN, (Ben liy thac)

    lien quanden

    12668 CHAPMAN AVE, GARDEN GROVE, CA 92840-40
                                                 21 (Mo ta can nha the chap cho khoan vay the chap mua nha
    hoac khe udc uy thac b| vi pham)


             QUY VI VI PHAM QUY BJNH GHI THEO DEED OF TRUST (khi uac
                                                                     uy thac ho$c hgp ddng vay thi chap
    mua nha)




    NGAY 12/21/2007. TRU' KH1 QUY Vj CO HANH B0NG BAO V$ CAN
                                                             NHA CUA QUY VJ, CAN
            (ngay)


    NHA CO THE B{ BAN CONG KHAI.

            NEU QUY VI CAN LClI GlAl THICH VE TINH CHAT CUA THU TQC
                                                                    CHONG LAI QUY V[, QUY V] NEN
    LIEN LAC VCJI MQT LUAT SU'.

            Toan bo s6 tidn phai tra trong thong bao ban la $341,688.27.
                                                                         (toan bo so tien phai tra)

            Can nha cua quy vj dirge du kien se ban vao 1/9/2019 1 :30PM
                                                                         (ngay va gia rao ban)

   tai At the North front entrance to the County Courthouse located
                                                                    at 700 Civic Center Drive West, Santa Ana, CA 92701
   (dja diem ban)


           Tuy nhien, ngay ban ghi trong thong bao ban kem theo co the
                                                                       bj tri hoin m6t hoac nhieu lan boi ben chovay thS
   chip, ngubi thy hircrng, ngirdi dirge uy quyln, ho$c tda an, chiSu theo Muc
                                                                               2924g cua Bo Luyt Dan Su California. Luat
   phap quy djnh thong tin ve ede trirbng hgp    tri hoan ban nha cua ben dirge uy quyen phai dugc cung cap cho
                                                                                                                  quy vi va
   cong chung, de cap nhyt cho nhirng ngirdi khong c6 mat tyi bu6i rao ban.
                                                                               N6u quy vj muon bilt ngay rao ban cua quy vj
   co bj tri ho3n hay khong, va, n6u thich hgp, ngay gia mcri cho viec rao ban
                                                                               can nha nay, quy vj co thl goi

   916-939-0772
   (so dien thoai de biet thong tin ve viyc rao ban cua ben dugc uy
                                                                    thac)

   hoac tai dia chi Internet nay http://www.aualitvloan.com (dia
                                                                 chi Internet de biet thong tin vS vifc giao ban cSn nha do)

   dya tren ma so ho sa dugc in djnh cho vu nay CA-1 8-83409 1 -BF. Thong tin
                                                                              (ma so h6 sa)
   ve cac truang hgp tri hoan rat ngan hoSc xay ra ngay sat ngay rao ban
                                                                         du kien co thi khong dugc phan anh ngay trong
  thong tin cung cap qua di6n thoai hodc tren Internet. Cach tot
                                                                 nhat de xac minh thong tin tri hoan la tham du buoi rao ban
  da in djnh.

           Neu quy vj muon co them ban sao cua tai li?u trinh bay torn luge
                                                                            nay, vui long goi s6 6 1 9-645-77 1 1
    (so dien thoai)




Notice of Sale - Vietnamese (Rev 4-18-13)
'east;
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                                                 #:583

         Quality Loan Service Corp.




                                          71969002337104596389
         Return Mail Processing
         2763 Camino Del Rio S., 1st FL
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         KWADWO H ASARE-ANTWI
         PO BOX 10402,
         MORENO VALLEY, CA 92552-0402




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                                   #:584



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                                 EXHIBIT 7
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                                   #:585



                                                                                          Law Office
                                                                       Ronald H. Freshman, Esq.


                                                                          222 West 6th Street, Suite 400
                                                                           San Pedro, California 90731
                                                                                   Office 858.756.8288
                                                                                      Fax 858.964.1728
                                                                                rhf@freshmanlaw. com
     April 15,2019


     VIA FACSIMILE AND OVERNIGHT MAIL


     Quality Loan Service Corporation
     411 Ivy Street
     San Diego, CA 92101




               RE:    Trustee Sale Number CA-18-834091-BF
               Property Address: 12668 CHAPMAN AVE, GARDEN GROVE, CA
                                                                     92840-4021


                                           CEASE AND DESIST




    Please note that Mr. KWADWO H ASARE-ANTWI has two propertie
                                                                              s at 12668
    CHAPMAN AVE, GARDEN GROVE, CA 92840-4021 . Your Notice
                                                                               of Default and
    Notice of Trustee Sale fails to identify the Unit Number, further it relies
                                                                                upon a deed of trust
     in which you acknowledge has an incorrect legal description. (Exhibit
                                                                           1 and 2)

    This is a void Notice of Trustee Sale under Civil Code § 2924f(b)(l) which
                                                                                 requires that you
    provide a description of the property, which necessarily includes and
                                                                           requires identification
    of the unit being sold. Therefore, we must demand that you cease and
                                                                               desist from going
    forward for the trustee sale that is currently set for April 22, 2019.




     Please provide confirmation no later than close of business on Tuesday,
                                                                             April 16, 2019 that
    you are:



        1)   Cancelling the trustee sale
        2)     Rescinding the defective Notice of Trustee Sale




                                       (continued on next page)



                                                    1
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     Failure to acknowledge and agree to the above actions will result in our client seeking an
     injunction against you and Wells Fargo, and we will see attorney fees and costs for your
     failure to abide by Civil Code § 2924.




     Regards,

     LAW OFFICE OF RONALD H. FRESHMAN




     Ronald H. Freshman
     Attorney for KWADWO H ASARE-ANTWI



     Cc: 3rd Party Authorization




                                                2
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                                        #:587

                                      LAW OFFICES OF
                                    RONALD H. FRESHMAN
                                                 ATTORNEYS AT LAW
                                             222 West 6th Street, Suite 400
                                             San Pedro, California 90731
                                                 858-756-8288 office
                                                858-964-1728 facsimile
                                               Facsimile 206.424.0744
                                             Email kjie@i;ri-;smnl\nla\v.com




January 2, 2019




     Re:          AUTHORIZATION




     I , ASARE-ANTWI KWADWO HWENSO, authorize Ronald H. Freshman and his paralegals, Kimberly

     Cromwell and Alexis Fisher, to receive any and all information, as well as discuss my loans, Notes and

     Deeds of Trust and servicing or modification of these loans, for the real properties at the following

     addresses:



           12668 CHAPMAN AVE UNIT 2305 GARDEN GROVE, C A 92840-4038 ("Property #1")                             .
                  Original Loan Number: 0047714688 ( yj ^ -WaJ) 0 U- % ^                        $T           I )
           12668 CHAPMAN AVE UNIT 2405 GARDEN GROVE,^CA 92840-4038 ("Property # 2")
                  Original Loan Number: 0047866207                             0                     (_j   iW
         25463 CHIPMAN HILL CT MORENO VALLEY, CA 92553-7137 ("Property #3")
                  Original Loan Number: 0046315776 £ yv/eV^                    6     % *-/• 5 $ 0 0 ^J
     This includes requesting information and/or discussions with the appropriate parties.



     The last four digits of my tax id is: 0141 but is often referenced as a ssn with the number 9999.




                                              Very truly yours,




©I                  \i -
      •ate
                                              ASARE-ANTWI KWADWO HWENSO




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 5/2/2019
       Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 168 of 169 Page ID
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     LAW OFFICES OF RO                                   Tracking #: 544680
                      NALD H. FRESHMAN                                      116
     MELISSA ALVARE
                    Z                                                                                                      CPS
    222 WEST 6TH STR
                     EET, SUITE 400
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Step 1: Use the "Pr                        additional shipment
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TERMS AND COND
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By giving us your shi
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limited to; limits of                            agree to all of the
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                                     Case 8:19-cv-00887-JVS-KES Document 15 Filed 06/13/19 Page 169 of 169 Page ID
                                                                        #:589


                                                           1                                        CERTIFICATE OF SERVICE
                                                           2
                                                                    I, the undersigned, declare that I am over the age of 18 and am not a party to
                                                           3 this action. I am employed in the City of Pasadena, California; my business
                                                             address is Anglin, Flewelling, Rasmussen, Campbell & Trytten LLP, 301 N. Lake
                                                           4 Ave, Suite 1100 Pasadena, CA 91101-4158
                                                           5             On the date below, I served a copy of the foregoing document entitled:
                                                           6             DEFENDANT WELLS FARGO’S NOTICE OF MOTION AND
                                                                          MOTION TO DISMISS FIRST AMENDED COMPLAINT;
                                                           7                MEMORANDUM OF POINTS AND AUTHORITIES
A NGLIN F LEWELLING R ASMUSSEN C AMPBELL & T RYTTEN LLP




                                                           8 on the interested parties in said case as follows:
                                                           9                      Served Electronically Via the Court’s CM/ECF System
                                                          10                Attorneys for Plaintiff:                     Attorneys for Clear Recon Corp.:
                                                          11              Ronald H. Freshman                                  Fred T. Winters. Esq.
                                                                   Law Offices ofthRonald H. Freshman                         Casper J. Rankin, Esq.
                                                          12          222 west 6 Street. Suite 400                           ALDRIDGE PITE, LLP
                                                                         San Pedro, CA 90731                               4375 Jutland Drive, Suite 200
                                                          13                                                                     P.O. Box 17935
                                                                              Tel: (858) 756-8288                             San Diego, CA 92177
                                                          14                  Fax: (858) 964-1728                              Tel: (858) 750-7600
                                                                                                                              Fax: (858) 412-2657
                                                          15         Email: ronfreshman@gmail.com
                                                                        mna@freshmanlaw.com                              Email: fwinters@aldrigepite.com
                                                          16                                                                crankin@aldrigepite.com
                                                          17
                                                                    I declare under penalty of perjury under the laws of the United States of
                                                          18 America that the foregoing is true and correct. I declare that I am employed in
                                                             the office of a member of the Bar of this Court, at whose direction the service
                                                          19 was made. This declaration is executed in Pasadena, California on June 13,
                                                             2019.
                                                          20
                                                          21                        Carol Leach                                   /s/ Carol Leach
                                                          22                    (Type or Print Name)                          (Signature of Declarant)

                                                          23
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                                                               94000/HR1574/02313860-3 {94000/HR1574/02313860-3 }                           8:19-CV-00887-JVS-KES
                                                                                                                    26                         PROOF OF SERVICE
